             Case 1:18-cv-01422-PLF Document 1 Filed 06/15/18 Page 1 of 210




                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA


GARY J. BYRNE/ GJB, LLC                                             RICO COMPLAINT
c/o P.O. Box 119
Morton, Pennsylvania 19070

(Actual home address withheld due to death threats and related danger to Plaintiff from
Enterprise Defendants, Surrogates, Participants and Others – such address can be provided to the
District Court under seal)

      Plaintiff,

      v.

THE CLINTON FOUNDATION a/k/a Bill, Hillary & Chelsea Clinton Foundation
1200 President Clinton Avenue
Little Rock, Arkansas 72201

      Via:    Corporation Service Company
              1090 Vermont Ave., N.W.
              Washington, D.C. 20005

THE CLINTON GLOBAL INITIATIVE
1200 President Clinton Avenue
Little Rock, Arkansas 72201

      Via:    John Tisdale (Registered Agent)
              200 West Capitol, Suite 2300
              Little Rock, Arkansas 72201

1271 6th Avenue
New York, NY 10020

THE CLINTON GUISTRA ENTERPRISE PARTNERSHIP
c/o Frank Giustra
1502 San Ysidro Drive
Beverly Hills, California 90210

MEDIA MATTERS FOR AMERICA
455 Massachusetts Avenue, N.W.
             Case 1:18-cv-01422-PLF Document 1 Filed 06/15/18 Page 2 of 210




Suite 600
Washington, D.C. 20001

      Via:    David Brock
              455 Massachusetts Avenue, N.W.
              Suite 600
              Washington, D.C. 20001

CORRECT THE RECORD
455 Massachusetts Avenue, N.W.
Suite 660
Washington, D.C. 20001

      Via:    C T Corporation System
              1015 15th Street, N.W.
              Suite 1000
              Washington, D.C. 20005

AMERICAN BRIDGE 21st CENTURY
455 Massachusetts Avenue, N.W.
Suite 600
Washington, D.C. 20001

      Via:    C T Corporation System
              1015 15th Street, N.W.
              Suite 1000
              Washington, D.C. 20005


CITIZENS FOR RESPONSIBILITY AND ETHICS IN WASHINGTON (CREW)
455 Massachusetts Avenue, N.W.
6th Floor
Washington, D.C. 20001

      Via:    C T Corporation System
              1015 15th Street, N.W.
              Suite 1000
              Washington, D.C. 20005


SHAREBLUE
c/o David Brock
2130 Cathedral Avenue, N.W.

                                               2
           Case 1:18-cv-01422-PLF Document 1 Filed 06/15/18 Page 3 of 210




Washington, D.C. 20008

&

Corporation Trust Company
Registered Agent for True Blue Media, LLC
Corporation Trust Center
1209 Orange Street
Wilmington, Delaware 19801


DAVID BROCK
2130 Cathedral Avenue, N.W.
Washington, D.C. 20008

WILLIAM JEFFERSON CLINTON
15 Old House Lane
Chappaqua, New York 10514

HILLARY RODHAM CLINTON
15 Old House Lane
Chappaqua, New York 10514

&

3067 Whitehaven Street, N.W.
Washington, D.C. 20008

GEORGE SOROS
178 Cantitoe Street
Katonah, NY 10536

JOHN PODESTA
3743 Brandywine Street, N.W.
Washington, D.C. 20016

JONATHAN WACKROW
44 Stavola Road
Middletown, New Jersey 07748

JAN GILOOLY
51 Clarken Drive
West Orange, New Jersey 07052

                                            3
            Case 1:18-cv-01422-PLF Document 1 Filed 06/15/18 Page 4 of 210




&

3613 Gleneagle Drive
Southport, North Carolina 28461

and

NUMEROUS UNKNOWN NAMED

       Defendants.
                                                            JURY TRIAL DEMANDED




                                         “Viva re resistance”
                                   Unknown Named FBI Attorney
                             _____________________________________

      LISA PAGE: “[Trump’s] not ever going to
          become President, right? Right?!
      PETER STRZOK: “No. No he won’t. We’ll
                   stop it.”
Text Message exchange between Enterprise surrogate paramours Lisa Page (Counsel to FBI Deputy Director
McCabe) and Peter Strzok (Lead Counterintelligence Officer Targeting Trump – Operation Crossfire Hurricane
              and Predicate Investigation, Including 2016 Presidential Contest/Transition)



      LISA PAGE: “YOU’RE MEANT TO PROTECT THE COUNTRY
                 FROM THAT MENACE [TRUMP]”
        PETER STRZOK: “I CAN PROTECT OUR COUNTRY…”

                                                    4
             Case 1:18-cv-01422-PLF Document 1 Filed 06/15/18 Page 5 of 210




                     BACKGROUND AND RICO CASE STATEMENT

       Through many attempts with the extraordinary Office of the Clerk of this honorable Court,

undersigned counsel has not been assured whether a RICO Case Statement is required – as it would be

in many federal district courts across the United States. Out of an abundance of caution, and in order to

assist the Court after being assured that a RICO Case Statement is never prohibited, this Complaint (and

analogous follow-on Complaints) will be proceeded by such a Case Statement.

       As will be referenced below, allegations contained within this RICO Case Statement and RICO

Complaint are based upon good faith information and belief.

       For the past decade in which relevant predicate acts were corruptly carried out by the named

defendants as “payback” for Plaintiff Gary Byrne’s role in the Clinton impeachment and his status as a

“Clinton enemy” (for his temerity in telling the truth concerning obstruction of justice and gross abuse

of power), along with their corrupt surrogates and collaborators (referenced individually and collectively

as the “Enterprise”), David Brock and William and Hillary Clinton have been synonymous with criminal

behavior, malicious baseless attacks (using mainly the illicit and vicious defamatory tactics against

perceived political enemies (like Officer Gary Byrne, the Plaintiff here) of those willing to compensate

participants like Brock) – and coordinating by mail and wire to violate myriad Federal and State laws in

the exploitation of Enterprise nonprofit entities they use for purely partisan purposes. This Enterprise

has taken such attacks to an unprecedented and chilling new level – involving illegal domestic human

and electronic surveillance, and tradecraft such as “lures” run at Byrne in order to obstruct the Hillary

Clinton e-mail and Clinton Foundation Investigations by the agencies of the Obama government, all

against private citizens in order to assist Hillary Clinton become the 45th President of the United States,

destroy Gary Byrne, and enrich themselves. According to investigations of the United States Congress,

and as anticipated to emerge from numerous ongoing government investigations, Hillary Clinton and


                                                     5
             Case 1:18-cv-01422-PLF Document 1 Filed 06/15/18 Page 6 of 210




certain other Enterprise named and unknown named, and high-level surrogates, colluded with Russian

intelligence (SVR and FSB) and a disgraced (and according to a referral from the United States Senate

Committee on the Judiciary, a putative criminal) former British intelligence officer (Christopher Steele)

to accomplish their illicit and unconstitutional objectives. These Enterprise defendants, surrogates and

participants have their opportunity to properly respond before a court they knowingly misled many times

using the most powerful counterintelligence tools available. Let them do so now.

       Ten years ago, defendant Brock’s malfeasance became more precisely organized in the

Enterprise, and thus fully weaponized, as he joined forces with former president William Jefferson

Clinton (“William Clinton” or “President Clinton”), Hillary Rodham Clinton and funder George Soros

(“Soros”), and at various stages of the illegal Enterprise, the other defendants named here. They, and

the Enterprise they formed to control the Democratic Party, took illicit advantage of a previously

inviolate structural arrangement (between all three branches of our government) codified in the Foreign

Intelligence Surveillance Act (“FISA”) by arranging for payment through smear merchants Fusion GPS

to the Russian SVR and FSB and British (former) agent Christopher Steele (“Steele”). To abolish their

enemies, in other words, the Enterprise defendants were willing to defy all legal and constitutional

dictates – including certain actors within the Obama Department of Justice ineffably misleading Article

III colleagues resident in this very Court. This is sedition, bordering on treason, and patently illegal.



Past as Prologue: Hillary Rodham Clinton Espionage
       As will be discussed throughout this RICO matter, Hillary Clinton and the Enterprise set up and

used an unsecure private email server (and perhaps more than one, but equally unsecure) to conceal

from Congress and the Article III Courts tens of thousands of e-mails. These emails, many of which

remain missing, obscured (and obscure) from all constitutional branches (thus obstructing justice in

myriad ways), and, more broadly, from the people of the United States who are not judges or elected

                                                      6
                Case 1:18-cv-01422-PLF Document 1 Filed 06/15/18 Page 7 of 210




officials, Enterprise wrongdoing since the time Hillary Clinton was Secretary of State. Of those emails

that have been recovered, they contain classified information that should never be on an unsecured

server because that presents (for many reasons), a danger to the national security of the United States.

As such, they can and must be charged as espionage under the clear language of the relevant statute(s).

But Enterprise surrogate James Comey (then-FBI Director) and Loretta Lynch (then-Attorney General)

did not so charge; instead, they devised a scheme to protect Hillary Clinton and the Enterprise – with the

intent that such scheme would help ensure the election of Hillary Clinton and with such victory would

ensure the Enterprise would persevere into perpetuity and that they (and other Enterprise principals,

surrogates and participants) would be richly rewarded. And no one would have ever known.

         At the time of this filing, numerous government investigations involving findings highly-similar

to the factual allegations and claims underlying this Complaint are ongoing at the United States

Department of Justice 1, at the FBI, within the DoJ Inspector General’s Office, and at least one United

States Attorney’s Office. The United States Congress is/are conducting several more, in both the House

and the Senate, and despite holdover Enterprise obstruction appears within its committee oversight

function to be making substantial progress regarding the very issues raised here. The evidence produced

by those investigations will spurn follow-on investigations and/or prosecutions with respect to the

Enterprise defendants and their surrogates and other participants as described herein. Corroborated

and/or new evidence from these (and possibly other) investigations, as they mature, can and must be

incorporated into this lawsuit at the appropriate time to reinforce its verisimilitude and inform this



1
  As of June of 2018, another major investigation (among several) of this seditious abuse by the Enterprise and individuals
named herein has been undertaken by the Department of Justice Inspector General, providing yet another avenue to satisfy
the standard of plausible evidence for this lawsuit, comcomitant with a parallel investigation relating to this and related
illegalities by Enterprise participants – undertaken at the instructions of the United States Attorney General and conducted by
the United States Attorney for the District of Utah as a predicate for the putative referral to a duly constituted grand jury and
the appointment of a(nother) Special Counsel. Also pending is the appointment and findings of a Special Counsel to
investigate and prosecute FISA abuse and Media Matters/Shareblue illicit partnership with Facebook to “weaponize” private
information in violation of U.S. law, as referenced in Exhibit “A”.

                                                                7
             Case 1:18-cv-01422-PLF Document 1 Filed 06/15/18 Page 8 of 210




district court as to its vital import. This Enterprise operational scheme involves far too significant of a

culture of corruption within its spacious mosaic – creating a pointillist portrait of the Enterprise culture

and why it must be remedied – for the Article III courts not to await all relevant input. Not to place too

fine of a point on this, but there was no branch within our constitutional structure that the Enterprise did

not abuse for their own political gain, destruction of those who oppose them, and (thus) their long-term

enrichment. Connecting the dots through obtaining additional corroborative evidence – such as putative

ongoing obstruction through opaque threats of investigating Congress – will not paint a pretty picture (to

say the very least), but is necessary and proper to placing a check on future Enterprise misconduct. And

notwithstanding RICO misconduct, there is wide-ranging agreement that the Hatch Act was used by

supporters of Hillary Clinton (including admissions by several, like McCabe, Strzok and Page) within

the federal enforcement agencies to help Hillary Clinton win.

       As noted in the Complaint herein, particularly egregious because it may sound in treason (among

many illegal and/or predicate acts) involved the Enterprise/Clinton bribery (“bribery” constituting a

federal offense both in giving and receiving), in which Hillary Clinton, inter alia, as statutory

representative on the lead agency for transfer of control of United States uranium to Russia (the

“Committee on Foreign Investment in the United States” or “CFIUS”), deceived President Obama when

she not only did not object to the uranium transaction during the CFIUS process, but intentionally did

not inform Obama that defendants Clinton Foundation and Clinton Global Initiative stood gain

financially through such Russian control. Nor did Secretary of State Hillary Clinton (or Attorney

General Eric Holder, also a member of CFIUS) inform President Obama that Russia would likely

convey the U.S. uranium, surreptitiously and in part, to end users Iran and North Korea – countries

which directly threaten the United States and its key allies in the Middle East.




                                                      8
             Case 1:18-cv-01422-PLF Document 1 Filed 06/15/18 Page 9 of 210




       While seditious in nature and correlated precisely with the Enterprise operational scheme, these

predicate and otherwise illegal acts, and those related to them, are hardly exclusive as the Enterprise

scheme, associated in fact in pursuit of a common purpose. See generally 18 U.S.C. § 1961. The

infiltration of the Democratic Party by the Enterprise malfeasants described herein was carried out in a

fashion similar to that which La Cosa Nostra gained control of legitimate entities in order to engage in a

criminal enterprise. While this honorable court needs no lengthy explanation of “racketeering”, it is

significant that a major political party has – through the misuse of the tax and nonprofit laws, the FISA

(and your colleagues) to surreptitiously surveil a political opponent’s campaign – been so deeply

infected with Enterprise wrongdoing that even primary opponents of Hillary Clinton were victims of the

long-term Enterprise scheme and common purpose to assure she was certified as the 45th President of

the United States.

       The parties to this litigation are set forth in the Complaint, below, and need not be repeated in

this Case Statement. The same applies for the Jurisdiction and Venue statement set out in the

Complaint.

       The numerous Factual Allegations will, as with Case Statements in other district courts, be

appropriately cross-referenced in the Case Statement here in narrative form.

       The Enterprise cancer that has metastasized within the Democratic Party is characterized by

strictly organized mass corruption and malfeasance. And setting aside for the moment the structural

destruction of the FISA process (primarily in this very court), the political mafioso has, by their own

admission and numerous investigative findings, conspired to defeat and then damage a duly-certified

President, and destroy the business and reputation of a former Secret Service officer who had the

unmitigated gall to write a book describing his first-hand experience with and observations of Hillary

and William Clinton. Plaintiff, as the evidence will show, has been destroyed by the Enterprise for



                                                     9
              Case 1:18-cv-01422-PLF Document 1 Filed 06/15/18 Page 10 of 210




simply recounting what he observed – this is rather odd, as Plaintiff sought to protect President William

Clinton from, among other things, the violent actions and outbursts of First Lady Hillary Clinton. For

this, Plaintiff was compelled by Independent Counsel Starr to testify as to the violence and the various

sexual encounters that President Clinton had with White House personnel and other paramours, in the

private quarters and other parts of the White House. Truth be told, Hillary Clinton could easily have

killed President Clinton when she threw heavy projectiles at his head. For this truth, and its role in the

impeachment of President Clinton, Plaintiff was placed on the Enterprise “hit” list.

         Like nothing we have ever seen, Enterprise principals and surrogates have now also been

plausibly shown to have – as part of the Enterprise scheme and directly related to the FISA abuse of this

very district court – conspired to infiltrate the presidential campaign of Donald Trump, Sr. with

seasoned and manipulative Human Confidential Sources (“HCS” or “HCSs”), and likely “lures” meant

to assist the Enterprise in its mission. This partisan use of counterintelligence tools against Plaintiff and

Donald Trump, Sr. and his campaign, as private citizens, amounts to serious wrongdoing with lasting

damage.

         Plaintiff Gary Byrne was targeted because he was often invited to address private groups,

including ones such as those calling themselves “Mothers for Trump” and “Women for Trump.” 2 The

HCSs, or “lures”, run at Plaintiff were men who sought information from Officer Byrne about the

Trump campaign that would later putatively be used to assemble a plausible (albeit entirely false)

amalgam of affidavits presented to, among others, the FISC federal judges, which would then

presumably provide a direct ability to supplement previously (and subsequently) obtained SIGINT with

entirely contrived HUMINT to favor Hillary for America and its various illicit affiliations. Upon further


2
  Officer Byrne appeared not only at these events, but at the Democratic and Republican National Conventions – where the
need for credentials likely precluded the soft pitches of “assistance” in retrieving “Hillary server” e-mails that contain(ed)
content related to defaming Byrne and, as a result, continuing the Enterprise surrogate (and defendant) obstruction of justice
with respect to espionage committed by Hillary Clinton under 18 U.S.C. § 793.

                                                              10
              Case 1:18-cv-01422-PLF Document 1 Filed 06/15/18 Page 11 of 210




introspection, the attempts to manipulate Byrne by Enterprise HCS surrogates involved references to any

knowledge Plaintiff had of e-mails destroyed from Hillary Clinton’s private servers (which was then

“wiped” using “Bleachbit”). This is turn appears virtually indistinguishable from the approach(es) by

the Enterprise to members of the Trump campaign. Two of the targets (George Papadopoulos and

Carter Page) were manipulated by American DoJ/FBI contract HCSs, with the shocking assistance of

Five Eyes allies Australia and the United Kingdom. A third, Michael Caputo, was pitched through an

intermediary cut-out by an Obama administration official (claiming to work with the NSA) offering

access to “Hillary-related emails.” Utilizing counterintelligence tradecraft, the Stefan Halper team ran at

Plaintiff nonetheless because they thought Byrne was on the Trump campaign (he was not) and

presumably believed Plaintiff presented a “threat” to Hillary Clinton because he had written a book

about the Clintons. 3 It is not simply plausible but incontrovertible that Brennan, Clapper and the FBI

attempted to defeat Trump and, failing that, entrap him using the tradecraft described above. In so

doing, they attempted to use Plaintiff Byrne to obstruct justice with respect to the Clinton Enterprise

private server malfeasance. Plaintiff was burned not only by tactical Enterprise defamation to deny the

truth, but by the Obama/Enterprise counterintelligence apparatus to obstruct justice and conspiracy

thereon. While Plaintiff was wary of the use of these techniques, they were used nonetheless by the

Enterprise.

        It is not difficult to discern what the Enterprise was attempting to do. As Halper and his team

excel at, they attempted to manipulate Byrne (while they thought he was with the Trump campaign), as

Halper was dispatched by Brennan, Comey and the Enterprise to manipulate for partisan purposes any




3
  A witness proposed to testify in this matter previously represented Watergate’s “Deep Throat” (Mark Felt) and will testify
that he has confirmed that Comey, McCabe, Brennan and Clapper enaged in spy tradecraft against U.S. citizens in an attempt
to “entrap” or “even frame” the 45th President. He will also testify that this matter is, in his opinion, far worse than
Watergate.


                                                            11
            Case 1:18-cv-01422-PLF Document 1 Filed 06/15/18 Page 12 of 210




suspected Trump “associate” or Enterprise “enemy.” But as Enterprise surrogate Clapper has conceded,

the reason for running HCSs at the Trump campaign was to determine if the FBI’s concerns about

Russian interference were justified - yet the FBI relied nearly entirely on opposition research paid for by

Democratic Enterprise nominee Hillary Clinton through Hillary for America counsel Marc Elias to

justify the FISA applications which misled this district court (the FISA application(s) that misled judges

of this honorable court assigned dual responsibilities to the FISC were thus sought for reasons unrelated

to Russian activities (as Halper and the other HCSs obtained nothing that could be utilized in a

counterintelligence warrant application). The sole reason for illicit use of HCSs and lures was to

achieve the ultimate goal of the Enterprise – to assist Hillary Clinton in winning the presidential election

of 2016. To be abundantly clear, any of the manipulated statements from Trump associates – drunken,

drugged or sober – were then embellished by the Enterprise to “corroborate” Clinton-funded falsehoods

in the Steele dossier and used to mislead the FISC, and to obstruct what should have been a “slam dunk”

case of 18 U.S.C. § 793 espionage against Hillary Clinton. The Enterprise – from the outset - placed

layer upon layer of obstruction to protect Hillary Clinton from this evident espionage committed by her

and Enterprise surrogates and participants, and misused counterintelligence authorities against a

competing campaign to further obstruct justice.

       As with the runs at Plaintiff Gary Byrne, the FBI “Domestic Investigations and Operations

Guide” outlaws the “otherwise illegal activity used against him. It is, after all, based upon no legal

predicate; to the contrary, the FBI and Brennan took an illegal run at Byrne for no other reason than

Officer Byrne was considered an enemy of HRC and the Enterprise, and was (wrongly) assumed to be

working for the Trump campaign. The honorable court might also take into account that Byrne was not

only an officer of the Secret Service, but an Air Force veteran and a TSA Air Marshal before he was

destroyed by the Enterprise.



                                                     12
             Case 1:18-cv-01422-PLF Document 1 Filed 06/15/18 Page 13 of 210




         Disturbing similarities exist between the Enterprise manipulation of Papadopoulos (and many

other Trump campaign officials/affiliates) and Plaintiff here, and in light of Brennan, Comey, Clapper,

Strzok, McCabe and numerous others knowing of the manipulative approaches exploiting tasked HCSs,

and their targets being led to believe that the focus of “helpful” discussions was/were the tens of

thousands of e-mails that Hillary Clinton deleted and wiped from her illicit server, e.g., Plaintiff was

informed that significant information about him was/is contained in the illegally deleted Clinton e-mails

(obstructing justice in each such e-mail targeting “enemy” Byrne). At the very least, this raises the

plausible inference that the same Enterprise principals and surrogates that targeted Plaintiff with the

most robust counterintelligence powers in existence also targeted the Trump campaign and the current

President when he was their disfavored candidate and a private United States citizen. Even Seymour

Hersh – perhaps the greatest investigative reporter in the world – has extrapolated that Enterprise

surrogates in the Obama DoJ/FBI attempted to defeat and now attempt to unduly damage President

Trump.

         Ironically, the illicit Clinton “wiping” of her unsecure server(s) was far more likely to impact

Plaintiff Byrne – the one person whom Hillary Clinton had waited nearly two decades to destroy and

thus the “enemy” much more likely to be included within the content of the private server e-mails –

rather than the gossipy, unprotected e-mail accounts of Clinton campaign officers like John Podesta

(who was highly critical of Hillary Clinton and her campaign manager Robby Mook, among numerous

others, but strangely avoided discussing Enterprise “political enemies” like Byrne).

         Brennan and the Enterprise also successfully manipulated Senator John McCain (in much the

same way as described above), knowing McCain was suffering from health problems that was later

diagnosed as brain cancer.




                                                      13
               Case 1:18-cv-01422-PLF Document 1 Filed 06/15/18 Page 14 of 210




         Halper, who led the team attempting to manipulate Plaintiff (who overheard the Enterprise team

HCS placing a cell phone call to “Stef” – assumed by Byrne at the time to be a woman), was also the

“bridge” between the Enterprise/Brennan illicit pre-Crossfire Hurricane investigation of private citizen

Donald J. Trump, Sr., which puts the lie to the Australian Alexander Downer manipulation of

Papadopoulos 4 serving as the initiation of the official Obama government clandestine reconnaissance of

political rival Trump, Sr. 5

         Perhaps most disturbing is that extrajudicial Enterprise collection against a Republican campaign

was conducted using our nation’s strongest national security powers – derived primarily from and

contingent upon the presidential powers of Barack Obama. FBI Enterprise surrogate Strzok must

explain in testimony, for instance, whether his prior written reference to “the White House running the

investigation” includes U.S. citizens being pitched by Enterprise HCSs – even when these private

citizens they had no official (or even unofficial) affiliation with the Trump campaign, but rather “posed

a threat” to Enterprise candidate Hillary Clinton and defendants, surrogates and participants named and

scrutinized herein. 6

         Enterprise FBI misconduct is instructive. Following Brennan’s lengthy attempt to undermine

Trump, the lead FBI counterintelligence officer working with the Enterprise against Trump and Byrne

engaged in the following text message exchanges with his paramour, Lisa Page, who also was the legal

counsel to FBI Deputy Director Andrew McCabe (who has been referred for prosecution):


4
 Another witness in this matter is the wife of Papadopolous, who will testify that her husband believed/believes (as does
Plaintiff) that the dangled HCS e-mails were those missing from the wiped Hillary Clinton private server containing content
concerning Byrne, and had nothing whatsoever to do with the alleged DNC “hack.” This presents yet additional criminal
exposure for the Enterprise, for obvious reasons, and for Perkins Coie LLP and the company Crowdstrike, among numerous
others.
5
 Trump associate Sam Clovis also was manipulated by the Halper team with the dangle of the “wiped” Clinton server e-
mails.
6
  Plaintiff will seek the assistance of the presiding district judge to procure the testimony of those career DoJ/FBI officials (at
the request of those officials) prepared to testify in depth, when compelled, against Enterprise principals and surrogates.

                                                                14
            Case 1:18-cv-01422-PLF Document 1 Filed 06/15/18 Page 15 of 210




       In these exchanges, the examples of bias are astounding for two senior officials who had just

spiked the Clinton email espionage investigation and, along with Attorney General Loretta Lynch and

her Deputy, Sally Yates, had spiked the Clinton Foundation corruption investigation, while instigating

an official investigation against the Trump campaign (Crossfire Hurricane), Strzok notes that “we can’t

take the risk” of Trump being elected or retained in office, and further noted that the FBI needed to

undermine Trump as an “insurance policy” as a hedge against any possible Trump victory in the 2016

presidential contest. If that were not shocking enough, just one week earlier than the “insurance policy”

text exchange, the following exchange had occurred between Page and Strzok, key officers and lawyers

conducting the Clinton e-mail investigation, the Clinton Foundation Investigation, the misleading of the

FISC, the pre-election surveillance and HCS misuse regarding Trump and Byrne, and Operation

Crossfire Hurricane:

Page: “[Trump’s not ever going to become president, right? Right?! (August 9, 2016)

Strzok: No. No he won’t. We’ll stop it.” This is proof of FBI/Enterprise sedition, as Strzok had just

spiked the Clinton e-mail investigations and McCabe, Yates and Lynch (along with Strzok) had spiked

the Clinton Foundation investigation. This seditious exchange was 9 days after Operation Crossfire

Hurricane started and 6 days before the “insurance policy” text.

       The inference to be drawn with respect to misuse of the FISC and HCSs is unspeakable and

appalling for the Enterprise, as those running these operations clearly and unequivocally sought to

prevent Donald J. Trump, Sr. from becoming the 45th President – and to run at Plaintiff (and numerous

others) with lures and the counterintelligence powers of the previous president. Never in the history of

this constitutional republic has anything this abhorrent (especially in light of FBI animus and bias

against a presidential candidate) occurred, and the ongoing (and new) investigations are just beginning




                                                    15
            Case 1:18-cv-01422-PLF Document 1 Filed 06/15/18 Page 16 of 210




to provide the unconscionable nature of Enterprise wrongdoing. This RICO matter must ingest all of the

Enterprise criminal wrongdoing before justice is truly done.

       This honorable court may also wish to contrast the Enterprise HCS (and related)

counterintelligence malfeasance with the FBI and DoJ during the tenue of Mueller, Holder, Lynch and

Comey, when an informant, now identified openly, actually infiltrated a Russian enterprise assisting in

the corruption surrounding Russian Federation attempts to control the U.S. (and global) market in lethal

uranium during President Obama’s first term. During that period, HCS information flowed to the

Mueller FBI as billions of dollars in nuclear fuel contracts were awarded to the Russians by the U.S.

along with the deceitful Committee on Foreign Investment in the United States (“CFIUS”) transfer of

control of a significant amount of U.S. uranium. The FBI HCS worked on a contractor platform

imbedded from 2008-2014 in Rosatom (the Russian state-controlled nuclear corporate entity), according

to the HCS – who will testify against the Enterprise in this litigation – and during that time frame

provided specific information to the FBI (and through them, the DNI, CIA and State Department)

concerning the grave danger to the U.S. posed by providing nuclear fuel and uranium assets to the

Russian Federation. Among the most grave would of course be the covert transfer of uranium by Russia

to Iran (admittedly complicit in the 9/11/2001 terrorist attacks against the U.S. homeland) and North

Korea (which has recently tested missile delivery systems capable of striking the U.S. homeland). The

Obama Justice and State Departments suppressed this information, including during the fraudulent

Uranium One covered transaction and the Obama “Iran Deal” (in which, among other deception

revealed by the Senate Permanent Subcommittee on Investigations, the Obama administration covertly

directly assisted Iran, through the grant of a specific license from the Obama Treasury Department,

utilize U.S. banks to convert $5.7 billion in Iranian assets after assuring Congress that Iran would never




                                                    16
            Case 1:18-cv-01422-PLF Document 1 Filed 06/15/18 Page 17 of 210




gain access to the U.S. financial system – and then lied to and otherwise obstructed Congress about what

it had done).

       This embedded HCS, at great risk to his life, also assisted Enterprise surrogate Rosenstein in

building a case in the Office of the United States Attorney for the District of Maryland against

corruption in the Russian uranium industry. This involved an extraordinary predicate for kickbacks,

money laundering and extortion against Rosatom (Russian) U.S. subsidiary Tenex/Tenem. This

evidence, with knowledge of and instruction from the Enterprise, was also concealed and watered down

by the responsible United States Attorney (Rosenstein), the FBI Directors (Mueller and Comey) and the

Attorneys General (Holder and Lynch). The same HCS has been interviewed by the FBI Little Rock

Field Office as part of an ongoing investigation of Enterprise defendants Clinton Foundation, CGI and

the various other tentacles of the Clinton Foundation alleged criminal wrongdoing. And as noted herein,

the questions posed in the Little Rock FBI probe have included the Clinton Foundation acceptance of

$3,000,000 per year in gratis services to CGI from U.S. advocacy firm APCO Worldwide in a direct

quid pro quo – with the expectation that the renumeration would be utilized to assist CGI and the

Clinton Foundation while major uranium decisions were pending before the Clinton State Department.

The $3 million in free services to CGI was to “assure the Obama administration made affirmative

decisions on everything from Uranium One to the U.S. – Russian Civilian Nuclear Cooperation Pact.”

       So, while the Enterprise defendants were protected by their surrogates for nearly a decade, some

of the same Enterprise surrogates “took a run” (dispatched HCSs) against Plaintiff and the presidential

campaign of Donald J. Trump, Sr. (all United States citizens). The common denominator as to “why” is

set forth herein and relates in whole or in part to the “threat” that each of these American targets posed

to Hillary Clinton and the Enterprise. Beyond illicit human intelligence gathering, the Enterprise

conducted surreptitious electronic surveillance both before and after misleading the FISC, destroyed tens



                                                     17
            Case 1:18-cv-01422-PLF Document 1 Filed 06/15/18 Page 18 of 210




of thousands of e-mails under subpoena and/or court order (including those involving Plaintiff), other

presidential contenders such as Bernie Sanders, and the overall “game plan” for conducting their

operational scheme – all the while running classified information through one or more private unsecure

servers and delivering classified information to multiple individuals not adequately cleared to receive it.

Plaintiff was deemed a particularized threat to the Enterprise, as he was deemed highly trustworthy and

sincere – the very attributes that the Enterprise could never convince the general populace were evinced

by Hillary Clinton.

       Plaintiff’s book, Crisis of Character, was promoted in early June of 2016 and released in late

June of that year. The Enterprise panicked, and Brock illicitly began defaming Plaintiff daily “FROM

THE DESK OF DAVID BROCK” using Media Matters and Correct the Record – with American

Bridge and Brock himself admittedly serving as the link to Hillary for America. Wackrow and Gilhooly

then appeared on CNN, both as paid “expert” panelists and on shows such as “Smerconish” and other

CNN television spots. Brock and the Enterprise, utilizing false opposition research, used his nonprofit,

“nonpartisan” entities and, in addition, did not report payments to Wackrow, Gilhooly and Gilhooly’s

nonprofit entity. The Enterprise defamation continued nonstop throughout the summer of 2016.

       Thus, at the apex of the most closely-contested presidential contest in the modern age, the FBI

collaborated with the CIA and ODNI, in a conspiracy with Hillary for America and the Enterprise and

using U.S. and foreign counterintelligence authorities to engage in illicit tradecraft targeted at the

unfavored political candidate and other perceived “enemies” of the Enterprise and Clinton, such as

Officer Byrne. And as difficult and painful as it is for this district court to acknowledge, they then

intentionally deceived the FISC utilizing presidential authorities illegally. In fact, they misled all three

branches of government and the Fourth Estate (the media here and in the United Kingdom, primarily).

Had Hillary Clinton prevailed in the Electoral College, little to none of this troubling malfeasance would



                                                     18
            Case 1:18-cv-01422-PLF Document 1 Filed 06/15/18 Page 19 of 210




have come to light as the Enterprise would have placed its surrogates into positions of continuing power,

and the Enterprise defendants would simply have continued their pattern of felonious conduct. As it

stands currently, the nonprofit defendants continue to fulfill the proscribed pledge they agreed upon and

aptly describe in “Exhibit A".

       Much will be revealed herein concerning Brock’s own admissions about Enterprise illicit use of

nonprofit entities, but the court should also keep in mind that the Enterprise – as conceded by Brock in

Exhibit “A” - also uses tactical defamatory tactics, as alleged herein, to obstruct justice and as part and

parcel of their numerous predicate acts used to gain illicit control of the Democratic Party. For instance,

what was at one time a tough but fair entity named CREW, including the inimitable Melanie Sloane, has

now become daily Twitter and CNN rants with Norman Eisen, Noah Bookbinder and Richard Painter

defaming without compunction - and engaging in vitriolic guesswork about matters of which they know

little to nothing. CREW has become a joke, with the mediocre Eisen and Painter (who now seeks a

United States Senate seat using free media given him by like-minded co-conspirators described in

“Exhibit A”) making defamatory attacks daily on social media and on CNN. Bookbinder himself has

committed CREW to #Resistance, and simply takes marching orders from Brock and the Enterprise,

with the funding of defendant George Soros. Their “Exhibit A” misuse of the nonprofit CREW results in

a felony penalty each day (sometimes several times per day), as it has done since soon after the 2016

presidential election was certified and Donald J. Trump, Sr. took the oath of office to become the 45th

President of the United States. And in what can only be described as comedic, these CREW individuals

offer their unexceptional services to Special Counsel Robert Mueller, who not surprisingly has declined

to work with them while at the same time Enterprise surrogate Mueller had agreed to work with the

misogynist former New York Attorney General Eric Schneiderman, who had apparently taken the lead,

working with Mueller, in denying the pardon power – and breaking the jaws of women who trusted him



                                                     19
            Case 1:18-cv-01422-PLF Document 1 Filed 06/15/18 Page 20 of 210




while routinely bumping cocaine and drinking alcohol to extreme excess. Each of these individuals

also, by instruction of the Enterprise, work full time at the seditious task of undermining their own

government while engaging in serial violation of United States statutory law, regulation, and much else.

       Enterprise illegal acts continue to this day, and numerous formal investigations proceed apace

with respect to these acts. The Enterprise and all of its many surrogates and participants seek revenge

and possess access to hundreds of millions of dollars to undermine the United States Government. The

Enterprise also continues the atrocious practice of paying off journalists to provide cover for their

wrongdoing, and as conceded the malefactor Enterprise surrogate Fusion GPS is involved with former

Feinstein SSCI staff in a $50 million scheme to assist the (continuing) Enterprise.

       In order to exact revenge against Plaintiff Gary Byrne, and beginning in the early summer of

2016 in defamatory postings “FROM THE DESK OF DAVID BROCK, Media Matters and Correct the

Record also remunerated defendants Gilhooly and Wackrow to defame Byrne on numerous media

outlets – primarily CNN. More broadly, the Enterprise defendants published for worldwide

consumption (via internet) numerous defamatory falsehoods in conjunction with Perkins Coie legal

guidance for their clients Hillary for America, Hillary Victory Fund, and Enterprise surrogates Brennan

and Clapper – with the intent to destroy the business and livelihood of Plaintiff and engage in massive

obstruction of justice with respect to, inter alia, Hillary and William Clinton sedition to enrich

themselves and reprisal against Plaintiff for his compelled role in the Clinton impeachment.

       President Carter’s Attorney General, Judge Griffin Bell, who prior to his passing was

interviewed at length by the undersigned concerning potential FISA abuse, would be shocked and

appalled to know that this honorable court (and several individual judges from this court) was/were

misled by the Enterprise defendants and surrogates in order to, inter alia, accomplish the operational

scheme intended to elect Hillary Clinton as the 45th President of the United States. For to be clear,



                                                     20
            Case 1:18-cv-01422-PLF Document 1 Filed 06/15/18 Page 21 of 210




Enterprise defendants and surrogates, with assistance from legal counsel for Hillary for America, Hillary

Victory Fund, Brock, the Democratic National Committee and Podesta, laundered DNC and Hillary for

America funds to an opposition research firm (and Enterprise surrogate) Fusion GPS (with the corrupt

assistance of Enterprise surrogate Rosenstein’s DoJ chief deputy, Bruce Ohr and Ohr’s spouse, Nellie,

working with Fusion GPS to ultimately delude this court), and extravagantly paid agent of a foreign

power and accused criminal Christopher Steele, Enterprise surrogates Sidney Blumenthal, Cody Shearer

and Jonathan Winer, and others to be named later, in a scheme which, as noted, was successful in

obtaining - through lying to one or more Article III judges here in the District of Columbia - a FISA

warrant from this honorable court (subsequently renewed several times). This Enterprise subterfuge was

carried out against private United States citizens whose common denominator was that they advised the

political opponent of the Enterprise, Hillary Clinton, in the 2016 presidential contest.

       Evidence of the seditious deception upon the FISC by Enterprise defendants and surrogates is set

forth in the report of the House Permanent Subcommittee on Intelligence, released on April 27, 2018,

which is consistent with the allegations and claims in the accompanying Complaint in the instant

litigation. Among other findings with regard to the misleading of the FISC by the Enterprise, Congress

concluded the “the dossier compiled by Christopher Steele formed an essential part of an application to

the FISC to obtain electronic surveillance on Carter Page.” The HPSCI also by inference found, with

relation to the Brennan – British GCHQ subversion, that the Obama FBI and DoJ ran parallel

counterintelligence investigations targeting the Trump campaign, yet never alerted the President, that

members of the Trump campaign were “assessed to potential counterintelligence concerns.” These

congressional findings are not dissimilar from the putative acts of espionage by Enterprise surrogate

Loretta Lynch, who according to Enterprise surrogate provided classified information to Enterprise

defendant John Podesta and then-DNC Chair Debbie Wasserman Shultz, in order to further the Brennan-



                                                     21
            Case 1:18-cv-01422-PLF Document 1 Filed 06/15/18 Page 22 of 210




Clapper conspiracy to obstruct justice and ultimately swing a United States presidential election in favor

of Hillary Clinton. Enterprise surrogates Comey and McCabe – currently slated to testify against one

another following expected indictments of both – have thus illegally abused the FISA electronic

surveillance process, the British-American intelligence sharing pact (along with Brennan and Clapper, as

part of the “Five Eyes” international SIGINT relationships among the United States, Great Britain,

Australia, New Zealand and Canada), and, amazingly, Congress has now revealed additional FISA and

related counterintelligence abuse involving human sources (HUMINT) planted inside the Trump

campaign.

       As this filing date approaches, the existence and acts of the above-noted and rather significant

Enterprise illegal operational scheme has been substantiated by Congress and various entities within the

Executive branch. The FBI, with the knowledge and approval of Enterprise surrogate Comey, failed to

inform Congress or any court (or anyone else outside of the Enterprise) that they were compensating a

human source(s) placed surreptitiously to gain access to members and affiliates of the Trump campaign.

One of the sources, it has been confirmed, has been long-known for affiliation with political “dirty

tricks” – most notably the theft of the “Top Secret” classified debate preparation materials of President

Carter in 1980 and their passage to Reagan campaign official William J. Casey (with the involvement of

Halper) – thus committing espionage and providing Governor Reagan a distinct advantage in a Carter-

Reagan presidential debate held on October 28, 1980.

       Also emerging, as referenced, is the Enterprise abuse of international SIGINT relationships

within Five Eyes to surveil the Trump campaign, transition, and early administration figures (all U.S.

citizens). It is likely – although at this time undetermined – whether this intelligence was used to further

mislead his honorable court. But Congress and the discovery process here can unearth answers that do

not require any threat to HUMINT or SIGINT relationships, or to any intelligence sources or methods.



                                                    22
            Case 1:18-cv-01422-PLF Document 1 Filed 06/15/18 Page 23 of 210




The Enterprise defendants and their surrogates and other participants must simply answer

straightforward questions, under oath, regarding whether this collusion took place. The U.S. and

international classification system cannot be a veil for illegal activity – both Congress and this Court

must have access to answers even if the FISC judges must demand them (alongside Congress). For if as

is now suspected that Enterprise surrogates Brennan and Clapper, on behalf the Enterprise quest to

assure Hillary Clinton the presidency, not only supported Brock and Clinton’s efforts against Plaintiff

but exchanged director-level information with the former Director of British GCHQ Robert Harrigan

(since resigned), resulting in Harrigan passing to Brennan and/or Clapper SIGINT communications

intercepts collected from RAF Menwith Hill and GCHG Bude (Cornwall) taps of undersea internet

cables, the United States courts and Congress (and the enforcement agencies) are facing not only an

extraordinary intelligence failure, but a massive criminal deprivation of privacy and obstruction the likes

of which we have never (and will likely never again) encountered, notwithstanding the weighty RICO

violations and defamation. This unprecedented criminal activity led Enterprise surrogate Brennan to

mislead the congressional “Gang of Eight”, Minority Leader Harry Reid in a private setting prior to

Reid’s imminent retirement which in turn resulted in Reid collaborating with Enterprise surrogate

Comey, who in turn colluded with Clapper in committing perjury before Congress (and possibly this

Court). The Enterprise, in conjunction with the illegally-obtained FISA orders subsuming previous

Trump campaign electronic mail, and possibly others, intentionally covered-up the Brennan-Hannington

subterfuge and assured that the FISC would infer (false) corroboration of its orders allowing

surreptitious surveillance (electronic and otherwise) of a political campaign disfavored by the Enterprise

– with knowledge aforethought by the relevant U.S. Intelligence Community Obama holdovers that the

resulting fabricated information was both paid for and laundered by the Hillary for America campaign

and cleverly (and criminally) disguised by Enterprise lawyer Elias.



                                                     23
            Case 1:18-cv-01422-PLF Document 1 Filed 06/15/18 Page 24 of 210




       Meanwhile, as noted, former British MI6 officer and Enterprise surrogate Steele conspired with

(among untold others) the discredited GCHQ head Hannington and Russian FSB/SVR in assembling

and presenting to this Court the specious “Steele Dossier” with the knowledge of, inter alia, Enterprise

surrogates Clapper and Obama National Security Advisor Susan Rice.

       As the Enterprise principals and surrogates sought to form a nefarious “collusion” narrative

between the Trump campaign and foreign actors by and though use of domestic and international

intelligence authorities, Enterprise surrogates within the Obama Department of Justice and FBI shuttered

validly predicated criminal investigations of Enterprise defendants Hillary Clinton and the Clinton

Foundation. These investigations into criminal wrongdoing were unduly closed by Enterprise surrogates

Lynch, her Deputy Attorney General Sally Q. Yates, and various malfeasants at the FBI including

Enterprise surrogates Comey, McCabe, with partisan participation from alleged paramours Peter Strzok

and Lisa Page, FBI General Counsel James Baker, and a handful of supporting sycophants reporting to

the wrongdoing DoJ and FBI most senior Enterprise surrogates, such as DoJ Fraud Division chief

Andrew Weissmann (later, beginning June 19, 2017, a managing prosecutor for Enterprise surrogate and

Special Counsel Robert S. Mueller). And just prior to the DoJ/FBI determination that they would not

pursue a case of clear-cut Enterprise espionage involving a private e-mail server used to communicate

classified information and hide other information from Congress and this Court, Enterprise surrogates

Lynch and William Clinton engaged in clandestine meeting on a Arizona tarmac at which time William

Clinton promised a quid pro quo to Lynch – in exchange for not charging Hillary Clinton with a crime

(and for dispatching with the Clinton Foundation investigation), Enterprise surrogate Lynch would be

nominated by “President Hillary Clinton” to the United States Supreme Court after being held over as

Attorney General of the United States. Concurrently, Enterprise surrogate Comey intentionally and




                                                   24
              Case 1:18-cv-01422-PLF Document 1 Filed 06/15/18 Page 25 of 210




severely mishandled both criminal investigations of Enterprise defendant Hillary Clinton and various

other surrogates and participants in the Enterprise operational scheme.

          Despite the Enterprise schemes, Hillary Clinton was defeated in the 2016 Electoral College. But

the Enterprise became further emboldened by the Soros pledges of virtually unlimited amounts of

money to Brock, CREW and other Enterprise defendants, surrogates and participants associated in fact

and willing (even enthusiastic) to undermine the Trump-led government. See generally Exhibit “A”,

hereto.

            Congress soon began unraveling the complex schemes of the Enterprise set forth here, and

those investigations and findings consistent with the factual allegations herein proceed apace. The more

that Congress and other investigatory entities reveal, the more that Enterprise surrogates Comey,

Rosenstein, and Mueller face professional and personal exposure for their roles in Enterprise predicate

acts and related wrongdoing. And all the while one must ask: “who would do these things simply to

elect a president who has for so many years, along with her husband, engaged in organized unlawful

behavior?” And as documents and testimony continue to emerge from Congress, the Courts and the

Executive, and otherwise surface to corroborate the factual allegations here, the highly disturbing

aspects of “using” the FISC for Enterprise means (and ends) is both despicable and without precedent in

our constitutional structure. It is, therefore, as a not inconsequential structural matter, a direct threat to

the only true check our government has upon the grave Executive excess displayed here.

          Enterprise surrogates Holder, Mueller and Rosenstein, as noted below, were oddly complicit in

the Hillary and William Clinton bribery scheme (along with the Clinton Foundation, the Clinton Global

Initiative, and of course the Clinton family graft), including but not limited to the extraordinary

transaction that to this day places our national security at risk – known most commonly as the “Uranium

One” covered transaction. Related to the transfer of control to Russia of U.S. lethal uranium is a matter



                                                      25
              Case 1:18-cv-01422-PLF Document 1 Filed 06/15/18 Page 26 of 210




involving Russian entity Rosatom (and its sub-entity, Tenem), and the corrupt behavior of Rosenstein

(the United States Attorney handling the criminal matter), Mueller (the FBI Director investigating the

criminal matter), and Holder (the Attorney General who also voted to approve the CFIUS Uranium One

covered transaction). Rosenstein uncharacteristically (and thus rather oddly), placed the Tenem

kickback/extortion matter into legal purgatory, from which it did not emerge until after the 2016

election.

        The Enterprise controlled CFIUS with Secretary Clinton as the lead agency representative at the

time that CFIUS agreed (without any objection from Secretary Clinton or Attorney General Holder) to

the transfer of control of approximately twenty per cent of U.S. uranium mining capacity to Russia’s

state-controlled energy conglomerate, Rosatom, in a quid pro quo to the Clinton defendants, their

Clinton Foundation, and the Clinton Global Initiative. Incredibly, at the time the Obama administration

approved the covered transfer, the administration was aware that Rosatom’s American subsidiary

(“Tenex”, a shortened version of JSC Techsnabexport, had an American arm called “Tenem USA”

based in Bethesda, Maryland) was engaged in a(nother) lucrative racketeering enterprise that had

already committed felony extortion, fraud, and money laundering.

        Led by Congressman Edward Markey (D-MA), a bipartisan movement emerged within Congress

to stop the 2010 transfer, to no avail, as the Enterprise and its surrogates concealed the seditious Clinton

defendant behavior, while simultaneously allowing the Tenex/Tenem USA racketeering enterprise to

continue. 7 In conjunction, this Enterprise defendant and surrogate behavior enriched Russian energy

oligarchs tied to the Kremlin, thus compromising the American persons (including the Clinton



7
 The Justice Department delayed four years rather than commencing a prosecution, in direct contravention of DoJ charging
guidelines. Among those who held these charging decisions in abeyance was the Fraud Division of the United States
Department of Justice – so as to keep from public scrutiny the connection between Enterprise activity with the Russian
Federation and the enforcement posture of the Holder/Lynch Department of Justice in furtherance of Enterprise objectives.
The case was quietly settled by Rosenstein’s former subordinates (after Rosenstein was confirmed as Deputy Attorney
General).

                                                            26
            Case 1:18-cv-01422-PLF Document 1 Filed 06/15/18 Page 27 of 210




defendants) who paid or received the bribes in these simultaneous schemes, and making certain persons

subject to subsequent extortion.

       In addition to Clinton defendant bribery with respect to Russia, within the period relevant to this

lawsuit other countries also profited from the Clinton influence after donating to the Clinton Foundation.

To name but a few, in the highly lucrative contracting of United States weapons, the following donated

to the Clinton Foundation and closed weapons deals soon thereafter: Kingdom of Saudi Arabia; State of

Kuwait; Government of Norway; United Kingdom Department for International Development; United

Arab Emirates; Sultanate of Oman; Republic of Ireland; Kingdom of Bahrain; Embassy of Algeria; State

of Qatar; Commonwealth of Australia; Kingdom of Morocco. Further examples of Enterprise bribery in

support of the Clinton/Enterprise defendants are set forth in the Complaint.

         In addition to the Enterprise defendant’s nonprofit abuse used to harm Plaintiff and further

undermine the government as set forth in Exhibit “A”, including but not limited to the defamation of

Byrne by the relevant Enterprise defendants (Brock, Media Matters, Correct the Record, Wackrow and

Gilhooly), Enterprise surrogates and participants have also associated themselves with the scheme to

target the current President. In so doing, the Enterprise employed the most powerful tools of

intelligence and law enforcement against U.S. citizens working for their political “enemies” – including

of course, the spurious instigation of investigations targeting these political adversaries.

       As noted in the Complaint, below, a high-level group of Obama national security and law

enforcement officials worked closely with and provided classified information to U.S. media, e.g., CNN

(Tapper), (in itself a criminal espionage offense as CNN personnel did not have adequate clearance) to

create a “news hook” by briefing, in early 2017, the President-elect on the “unverified and salacious”

allegations contained in the specious Steele dossier – which was not only financed by the Clinton

campaign but was also known to be “unverified” when the FISC was misled on the same findings earlier



                                                     27
              Case 1:18-cv-01422-PLF Document 1 Filed 06/15/18 Page 28 of 210




and a series of FISA orders against U.S. citizens were obtained thereon. 8 In a recent shocking

development, it was disclosed that the Senate Select Committee on Intelligence, by and through their

Director of Security James Wolfe, also leaked similar information to CNN and (MS)NBC to continue to

drive the former SSCI staff director narrative concerning “Trump Campaign Russian Collusion” (this

staff member is now engaged with defendant Soros as an Enterprise surrogate attempting to undermine

the government of the 45th President).

        Just to be entirely clear, the Enterprise came very close to turning the Democratic Party, and our

democracy more generally, over to a relatively small faction of criminal actors. Absent Article III

intervention, this country’s great constitutional experiment is at risk because future parties in power now

have a roadmap to the brand of malevolent wrongdoing that can ruin political enemies while enriching

the wrongdoer(s) and extending their power in perpetuity. Should any future President form their own

Enterprise, and the “shoe was/is on the other foot,” roughly half of the electorate would (and should) be

terrified that “enemies” i.e., them, would be targeted in much the same fashion – and they and their

families would be placed in great peril (financially and otherwise). Article III inaction will simply invite

similar bad behavior, thus threatening the rule of law and our constitutional structure.

        The defamation allegations against certain Enterprise defendants will be addressed more broadly

in the Complaint following appropriate retraction and hold demands, to the extent that they do not

otherwise overlap with Enterprise obstruction of justice utilizing defamation as an Enterprise tactic by

Media Matters, Correct the Record, American Bridge, David Brock, the Clintons, Soros, Shareblue and

Wackrow/Gilhooly.




8
 As mentioned, the Department of Justice, the United States Attorney for the District of Utah, the Department of Justice
Inspector General, and several committees of the Congress (and the possibility of the appointment of a second “Special
Counsel”) are investigating what is described and alleged as the Enterprise wrongdoing described herein – with the likely
outcome of more than one Grand Jury returning indictments against Enterprise defendants and surrogates for that (and
potentially additional) criminal behavior.

                                                             28
            Case 1:18-cv-01422-PLF Document 1 Filed 06/15/18 Page 29 of 210




                               THE RICO ENTERPRISE SYNDICATE

       The Enterprise, ultimately seeking the political fortune of Hillary Clinton but clearly in quest of

the accumulation of power through her, manipulated the highest levels of the Obama administration (and

Obama himself) with their thousands of criminal predicate acts and defamatory character assassination

of Plaintiff. Primarily the Clintons, Brock, and the extended Enterprise – according, inter alia, to

informants from within the Enterprise and abundant other witnesses who will give testimony at the trial

in this case – are a crime syndicate unlike any other the United States political arena has ever seen.

Through RICO, courts like this one can adequately address this syndicate, along with adjudicating

claims under pendant State defamation laws that focus upon a key Enterprise tactic - Enterprise tactical

destruction of its “enemies”. As well, criminal prosecution can discontinue their illicit schemes which

utilize their consiglieres from the highest levels of the Justice Department, FBI, Intelligence

Community, and surrogates and powerful collaborators which may include President Barack Obama, as

well as partisan nonprofit entities who/which daily violate our tax laws. For many within the Enterprise

trajectory, this is a likely outcome, but it does not adequately compensate Plaintiff and may not

eliminate the Enterprise.

       The Enterprise has gone so far as surreptitiously collecting communications from a disfavored

political campaign concerning the very Enterprise “Steele dossier” used to mislead the Foreign

Intelligence Surveillance Court discussed herein – which includes the Chief FISA Article III federal

judge from this honorable district court. To any judge reviewing this complaint, make no mistake. The

Enterprise has directly attacked the integrity and honor of the judiciary and this court in direct

furtherance of an attempt to make Hillary Clinton the 45th President and extinguish anyone like Officer

Byrne who might stand in her way. During discovery and trial in this case, information both known and

to be later ascertained will be made available establishing without doubt that the Enterprise is a



                                                     29
               Case 1:18-cv-01422-PLF Document 1 Filed 06/15/18 Page 30 of 210




dangerous, ongoing criminal consortium and association in fact – willing to abuse the very structure of

our constitutional government and commit any conceivable crime in order to obtain and retain power

and leverage over the Democratic Party, as well as its enemies, and drive revenue back to itself and its

principals in illicit self-dealing and bribery schemes to preserve this corruption permanently.

         This Enterprise has so corrupted the Democratic Party (in itself a nonprofit entity now in

continuous Enterprise violation of IRS dictates and myriad federal law 9) that there is little left of the

Democratic Party that is operating in compliance with U.S. law or that is not undermining the national

security and government of the United States. The Democratic Party is now, due to the Enterprise

criminal and constitutional misconduct, subject to, from within, the very epitome of graft and corruption

– as it has unduly utilized not only Obama administration intelligence authorities to surveil a political

opponent, but has engaged in betrayal of the United States by and through the Enterprise use of

Secretary Clinton’s ability (in exchange for bribes, moreover) to assure control of U.S. uranium by

Russia – which has resulted in Iran (a contributor to the murder of over 3000 Americans on 9/11/2001)

and North Korea being months away from creating chaos in the Middle East and the potential capability

of the North Koreans from striking the United States homeland with lethal nuclear weapons armed with

uranium enabled by Hillary Clinton in corrupt exchange (by way of receiving bribes) for hundreds of

millions of dollars benefitting the Enterprise, the Clinton family, and her political aspirations.

         Since early in this century, and roughly contemporaneous with the creation of the Clinton

Foundation (“Clinton Foundation” or “CF”), Brock and certain defendants – in particular Soros, the

Clinton Global Initiative (“CGI”) and, subsequently, the Clinton Giustra Enterprise Partnership




9
  As will be made apparent in subsequent RICO lawsuits in this venue with pendant claims, for example, under a Kansas
pendant statutory scheme - where organizations subject to and similarly in tension with civil RICO do business with other
nonprofit political parties in the United States - taxation of nonprofit entities and abusive, illegal tactics thereby go to the very
heart of contemporary RICO jurisprudence involving political corruption. As is the case with planned future matters of this
type, the sheer magnitude of wrongdoing in this case

                                                                 30
             Case 1:18-cv-01422-PLF Document 1 Filed 06/15/18 Page 31 of 210




(“CGEP”) – formed an illicit enterprise scheme (united with other defendants, and aided by multiple,

high-ranking U.S. government surrogates seeking higher office, influence and/or affluence) to terminate

their “enemies”, line their pockets and feather their nests by making Secretary Hillary Rodham Clinton

(“HRC”, “Secretary Clinton” or “Hillary Clinton”) the 44th, then 45th President of the United States. In

order to do so, they joined together to destroy anyone (such as Byrne, the revenge of which Clinton and

Brock planned for ten years amid myriad predicate acts) or anything that might stand in the path of

either of these (or countless other) corrupt goals, notwithstanding any supposed legitimate purpose of

their overall work – of which there appears to be little. Their weapons of destruction included (and

include) brutally defaming their enemies and intentionally causing grave injury to the business and

property interests of their “prey” – illicitly using nonprofit (and allegedly nonpartisan) entities to spread

their slurs in direct coordination with the political campaign(s) of a potential traitor, Hillary Clinton.

Defamatory tactics funded through illicit nonprofits - cunningly albeit illegally laundered through

dozens of equally partisan entities was (and is) one of defendants’ weapons of choice to destroy the

business, property and livelihood of any subjective threat (such as Byrne) posed to them. And it is vital

to consider that predicate acts included but were not limited to bribery (in support of sedition/treason),

extortion and, upon information and belief, murder for hire. Extraordinary even for the mafia, this is

utterly shocking for a former president, his nonprofit entities, and a Secretary of State spouse who would

(by design) become the Democratic Party nominee for president.

       There is virtually nothing that the Enterprise has done legally during the past decade –

knowingly and upon explicit instruction from William and Hillary Clinton and involving myriad and

intentional predicate acts and serial violation of the federal statutes and regulations governing the

Internal Revenue Service intending corruptly to interfere with those laws and thus further obstructing




                                                      31
            Case 1:18-cv-01422-PLF Document 1 Filed 06/15/18 Page 32 of 210




justice as set forth herein – thereby resulting in billions more in United States currency for which the

Enterprise participants are responsible for reimbursing the Treasury.

       This criminal Enterprise must be terminated, and made to compensate for their felonious and

seditious misconduct.

                                    ENTERPRISE CRIMINALITY

       The Enterprise engaged in sedition and innumerable other criminal wrongdoing – including but

not limited to thousands of predicate acts and violations of federal tax law. Enterprise subversion of the

United States Government continues to this day. The primary target of Enterprise corruption, other than

the eventual 45th President whom the Enterprise apparently attempted to “frame”, and the principal

victim of this corrupt Enterprise was former United States Secret Service Officer Gary Byrne (“Byrne”,

“Officer Byrne”, or “Gary Byrne”).

       Prior to the 2016 presidential election, Byrne wrote a nonfiction book entitled Crisis of

Character: A White House Secret Service Officer Discloses His Firsthand Experience with Hillary, Bill,

and How They Operate (“Crisis of Character” or “Crisis”), which recounted, among other things,

Byrne’s direct observations as a United States Secret Service Officer in constant close proximity to

then-President William Clinton and (then-First Lady of the United States) Hillary Clinton. These

experiences and direct observations included, but were not limited to, numerous and highly-disturbing

first-hand reflections of President Clinton and of Hillary Clinton prior to her becoming a United States

Senator -including Hillary Clinton physically battering the President of the United States. Byrne’s

compelled testimony before a Kenneth Starr Grand Jury – the first of its kind – was, due to its veracity

and proof of William Clinton’s perjury prior to the production of the Lewinsky “blue dress” (with

President Clinton’s semen congealed and encrusted at the waistline), instrumental in the impeachment of

President William Clinton. The Clintons, Brock, Podesta and the Enterprise have sworn vengeance ever



                                                    32
            Case 1:18-cv-01422-PLF Document 1 Filed 06/15/18 Page 33 of 210




since, and have sought payback against Byrne for twenty years while operating to elect Hillary Clinton

president – utilizing thousands of predicate acts and related defamatory tactics to destroy Byrne and his

business and, with Byrne out of the way, provide a path to a second Clinton presidency.

       Officer Byrne supervised the writing and publication of Crisis of Character (which implicated

the deficient integrity and scandalous acts of William and Hillary Clinton based upon firsthand

experience) and was then intentionally and brutally defamed and injured in his business by the

Enterprise, led by defendants Brock, Correct the Record, Media Matters, Hillary Clinton and the

recurrent dissemblers/defamers Gilhooly and Wackrow, among others – with extraordinary support by

the corrupt Nazi sympathizer George Soros, CGI and CGEP resources, American Bridge at the

instruction of “Hillary for America,” the presidential campaign of Hillary Clinton and their attorney

Marc Elias of Perkins Coie LLP (and certain colleagues at that law firm) – all utilizing archetypal

Enterprise illegitimate methods and with Enterprise unlawful collaboration and funding. Enterprise

surrogates revealed throughout this complaint, e.g., Robert Mueller (“Mueller”), Rod Rosenstein

(“Rosenstein”), Eric Holder (“Holder”), Loretta Lynch (“Lynch”), and James Comey (“Comey”),

through their deliberate actions and omissions as top officials in government misusing their official

position to seek a better one in a Hillary Clinton administration, became direct surrogates of the

Enterprise, further damaging Plaintiff. Their actions, such as the illegitimate grants of immunity to

protect Hillary Clinton, and those of Enterprise principals and numerous other surrogates, make this

conspiracy depraved and grave – perhaps greater than any government corruption in the history of

American politics.

       The Enterprise, in the 2016 U.S. presidential election year, focused their collaborative

defamation and related seditious, corrupt felonies like a laser as Crisis of Character quickly appeared as

Number 1 on the New York Times bestseller list for nonfiction where it remained until the well-rehearsed



                                                    33
            Case 1:18-cv-01422-PLF Document 1 Filed 06/15/18 Page 34 of 210




defamation and similar felonious tactics of the Enterprise achieved their intended purpose, i.e., to

devastate plaintiff’s business and similar property interests and cause irreparable injury to his reputation.

While this was occurring, Enterprise surrogates Mueller, Rosenstein, Holder and Lynch said and did

nothing about their past transgressions – as if they simply wanted Secretary Clinton to become president

and themselves to be nominated to and receive commissions to the highest positions in the Ms. Clinton’s

government. Comey and fellow Enterprise surrogates Andrew McCabe and Peter Strzok, and

Rosenstein Justice Department associates Bruce (and his wife, Nellie) Ohr, and Strzok paramour Lisa

Page, played a significant surreptitious political role and abused positions of trust in direct support of

Secretary Clinton and the Enterprise. This is so despite Comey’s position at the time as Director of the

Federal Bureau of Investigation (“FBI”), where he took the unprecedented step of privately and publicly

vindicating Hillary Clinton without adequate investigation, and despite clear evidence of her criminal

espionage and related crimes, while utilizing a false “dossier” (derived from collusion between Hillary

Clinton, Fusion GPS, high-ranking Obama Justice Department officials and the Russian SVR elite

intelligence units, and paid for by the Hillary Clinton presidential campaign) to, among other things,

justify surveillance of Secretary Clinton’s general election opponent. But the wrongdoing does not stop

there, as there is uncontroverted evidence that Article III federal judge (and Foreign Intelligence

Surveillance Court appointee) Rudolph Contreras has a close and continuing relationship with Enterprise

surrogate Peter Strzok which both men sought to conceal – thus directly involving the FISA Court in

anti-Trump targeting to some degree. This is utterly unprecedented, yet entirely consistent with the

modus operandi of the Enterprise surrogates, e.g., Strzok, revealed in this lawsuit.

       In an unprecedented display of fraud upon the FISC, Enterprise surrogates Peter Strzok and Lisa

Page of the FBI – with the encouragement of terminated FBI Deputy Director and Enterprise surrogate

Andrew McCabe – pressured and misinformed United States Department of Justice official Matthew



                                                     34
            Case 1:18-cv-01422-PLF Document 1 Filed 06/15/18 Page 35 of 210




Axelrod and his direct Justice Department superior Sally Q. Yates (then Deputy Attorney General of the

United States, who improperly attempted to shut down the ongoing DoJ corruption investigation of the

Clinton Foundation) into lying to the President of the United States, Barack Obama, and on September

12, 2016 (according to White House visitor logs), in a meeting with President Barack Obama, gaining

the approval of President Obama to in turn bless a shocking and seemingly inconceivable Enterprise act

– Enterprise surrogates knowingly and intentionally misleading one or more Article III federal life-

tenured judges on the FISC into granting Enterprise surrogates within the government, with

disinformation provided and financed by the Clinton campaign, Enterprise surreptitious access to the

private information belonging to at least one (and by extension, likely more) private United States

citizens affiliated with the presidential campaign of Donald J. Trump, Sr. Unless President Obama was

witting, the Enterprise intentionally deceived a president and at least one lifetime-tenured federal judge

– and as noted throughout has never hesitated to obstruct the constitutional oversight of (and thereby

withhold the truth from) the Congress of the United States. Structurally, the Enterprise could not have

engaged in a more systematic series of constitutional abuses.

       Enterprise surrogate Comey relied upon his sense of pious, piteous political ambition and the

corrupt cover provided by his FBI Deputy Director McCabe, who unethically refused to recuse from the

Clinton felony investigation and forged formal FBI “302” forms, and the top FBI counterintelligence

official and Enterprise consigliere and surrogate Peter Strzok (who illicitly structured and then provided

feedback to Comey, McCabe and others which was intended to exonerate Hillary Clinton from criminal

espionage charges akin to treason against her country despite line FBI agents recommending she be

charged with espionage). McCabe, in a statement issued upon his termination for cause, conceded that

the United States Department of Justice and Attorney General Loretta Lynch attempted to improperly




                                                    35
            Case 1:18-cv-01422-PLF Document 1 Filed 06/15/18 Page 36 of 210




close the espionage investigation of Hillary Clinton. Logically, and by extrapolation, this obstruction of

justice conspiracy would further the Enterprise operational scheme indefinitely.

       Again abusing the presidential power of President Obama, several of his direct subordinates –

some within the Executive Office of the President, e.g., Susan Rice, Denis McDonough, Ben Rhoades,

and some commissioned officers of the United States confirmed by the U.S. Senate, e.g., Samantha

Power - engaged in a conspiracy to violate the civil rights of and, with the approval of Acting Attorney

General Sally Q. Yates, to “unmask” (reveal and then leak to the media) the true identities of United

States citizens incidentally picked up on otherwise-approved electronic surveillance in order to obstruct

the administration of justice in ways these malfeasant actors knew to be highly illegal when they

intentionally leaked the names of United States citizens to “friendly” journalists (who upon securing the

publication, received cash bonuses and related payments from the partisans in control of, among others,

The Washington Post).

       This is a criminal scandal like no other in history – involving hundreds of thousands of predicate

acts as foundation for their racketeering operational scheme. Infiltrating the Democratic Party with the

power of the presidency and many within his Cabinet and control, this Enterprise illicitly violated the

taxation statutes to misuse nonprofit entities and thus enhance their corrupt grasp on power, terminate

those persons and institutions deemed a threat to them, e.g., plaintiff Gary J. Byrne and private citizen

and later President Donald J. Trump, Sr., and conducted themselves in such a fashion as to perpetuate

their malevolent Enterprise into perpetuity. The Enterprise participants and surrogates, and those

accomplices who support them, bring disrepute upon their country and severe legal jeopardy upon

themselves and the Democratic Party they have now devastated. The Enterprise is utterly corrupt and

contaminated and must be stopped for the sake of our nation. The Article III courts can, and will, excise

the cancer the Enterprise has caused the Democratic Party.



                                                    36
             Case 1:18-cv-01422-PLF Document 1 Filed 06/15/18 Page 37 of 210




       Having mastered the black arts of political dark money and the highly illegal misuse of

nonprofits and use of money laundering now proven as unreported to the Internal Revenue Service, and

the illegal, unconstitutional use of the Foreign Intelligence Surveillance Act (“FISA”) in broadly

defaming and destroying his vast list of enemies (especially Plaintiff in this matter), Brock and the

Enterprise raise immense and unregulated amounts of funds through dark contributions and then launder

it through a maze of nonprofit entities where they assure anonymity to donors. This laundered money is

used to pay intermediaries (such as Glenn Simpson at Fusion GPS) to, inter alia, bribe “journalists” at

the instruction of Hillary Clinton and former SSCI Staff Director Daniel Jones (who has been placed in

charge, by defendant George Soros, of a $40 million fund to undermine the Trump administration –

such as was done with the fake “Trump dossier” used by the Obama Justice Department to mislead

Article III judges and numerous other pro-Clinton bribery-enhanced pieces by dirty journalists. Through

this massive laundering of money, Brock (with the support of Enterprise surrogate Jones) enriches

himself and his close friends, feloniously obstructs justice utilizing myriad methods and conceding guilt

of hundreds of thousands of felony process crime counts, and improperly coordinates (with the

assistance of lawyers at Perkins Coie LLP) with political campaigns up to and including “Hillary for

America” (the campaign organization most closely affiliated with electing Secretary Clinton in the 2016

presidential cycle). Those associated with the Clinton Foundation, most notably CGI and CGEP,

combined with the Enterprise with the same illicit purpose, and have violated (and currently violate) the

law through their predicate acts, and otherwise, on hundreds of thousands of occasions. That is what

happened in this case, in order to destroy Officer Gary Byrne and others, and why these Enterprise co-

conspirators must be severely punished for the damages they have intentionally wrought, and why they

must be enjoined permanently from use of U.S. institutions (both domestic and foreign) to further their

criminal activities. For, as noted, this is among the most significant illicit enterprises in history. In their



                                                      37
            Case 1:18-cv-01422-PLF Document 1 Filed 06/15/18 Page 38 of 210




desperation to elect Hillary Clinton as president for over a decade, the Enterprise engaged in limitless

felony wrongdoing – predicate offenses and otherwise – that establish they are intentionally, absolutely

and entirely corrupt. And while she committed numerous other felonies, Hillary Clinton’s activities

were also in direct conflict with her oath of office to preserve and protect our Constitution – an

ignominious distinction shared by the nation’s former Attorney General and principal law enforcement

officer (other than the President), Judge Eric Holder – subjecting them both to sedition charges.

       Brock, Hillary Clinton and their Enterprise coterie, surrogates and collaborators are also serial

defamers who accomplish their objectives of destroying businesses, property interests and personal

reputations without compunction and with the accompaniment of the serial process crimes and more

serious offenses upon which RICO is predicated – defamatory and perjurious false statements and the

most grave RICO predicate acts being their weapon of choice – and seek as a result of this approach to

destroy those like Byrne who oppose the Enterprise polemic. Despite Brock’s and Clinton’s, and any

other Defendant’s responsibility under the U.S. Internal Revenue Code, i.e., the law, to conduct

nonprofit affairs in a nonpartisan manner, they never do. And their surrogates include sycophantic

officials and former officials like Holder, Mueller, Rosenstein, Lynch, Comey, McCabe, Page and

Strzok, who have been more than willing to, inter alia, obstruct justice, enable Enterprise bribery and

undermine national security in order to elect Hillary Clinton president, attempt to destabilize the

presidency of Donald Trump and subvert the U.S. government. The Enterprise obstruction of justice is

staggering in its breadth and depth – spread like a virus throughout no less than twenty distinct

categories of federal and state obstruction - involving obstruction of criminal investigations,

congressional investigations and oversight, and Article III inquiries.

       The Enterprise wrongdoing is shocking and beyond belief. This court – especially this court

where the FISC Chief Judge resides - should be the one to terminate it.



                                                    38
            Case 1:18-cv-01422-PLF Document 1 Filed 06/15/18 Page 39 of 210




       Brock, the Clintons, and the other Defendants which form the Enterprise are engaged by partisan

donors not simply because they distort the truth but because they are willing to do and say anything to

achieve their objectives (which includes destruction of businesses and personal reputations of those like

Gary Byrne, as well as obstruction of justice and similar process crimes, bribery, threats and suspected

murder for hire – all in the name of ingratiation to the wealthy progressives who lack the courage to “get

blood on their hands”, and an unrealized political prize of a Hillary Clinton presidency who has blamed

Byrne for William Clinton’s impeachment). Wholly consistent with Exhibit “A” hereto, Media Matters

has also undertaken a campaign of encouraging boycotts of the advertisers of “conservative” media – yet

another form of Enterprise operational scheme meant to defame and destroy the business of such

“conservative” media outlets and their individual hosts such as Laura Ingraham and Sean Hannity (two

“conservative” talk-show hosts who have among the highest ratings in their particular time slots).

       Ironically, when the “price was right” Brock mercilessly attacked the very individuals and beliefs

he now represents, on behalf of “conservative” persons of affluence. Brock then conveniently

experienced a “epiphany” when defendant George Soros and others of his means and dogmatic

inclination offered much of their accumulated wealth to progressive liberal causes designed to eliminate

those who dared get in their way. Brock and the Clintons abandoned any and all moral, ethical or legal

compass and simply followed the money in founding the Enterprise – illicitly enriching themselves and

violating law and regulation (in collusion with the Enterprise surrogates and apparatchiks) and in

attempting to make Hillary Clinton the 45th president (after failing to make her the 44th) and seek

vengeance against Byrne. In the process, Brock created and, along with William and Hillary Clinton,

has overseen a vast unlawful and homicidal Enterprise. This Enterprise is predicated in but certainly not

limited to the predicate acts alleged herein and furthered by their massive mail and wire fraud – and all

have unduly enriched themselves personally, often without the knowledge of their donors, and rarely



                                                    39
            Case 1:18-cv-01422-PLF Document 1 Filed 06/15/18 Page 40 of 210




with the awareness of the federal government (with the exception of Enterprise surrogates). Their

illegitimate success and that of the Enterprise – particularly over the past decade - has come at the

expense of the organizations they claim have a legitimate Internal Revenue Code and public policy

purpose. Brock, the Clintons and the Enterprise have exploited these organizations from within –

creating a cancer that has metastasized and threatens to extinguish not only the institutions that the

Enterprise has infiltrated but the Democratic Party (a nonprofit entity) and any legitimate donors (many

of whom have taken immense illegal tax deductions at the instruction of Brock and the Clintons). It is

this cancer that the nonpartisan Article III courts and a federal jury are called upon to excise.

       The “squaring of the (Enterprise) circle” constitutes perhaps its most nefarious acts. Having

identified an “enemy” like Plaintiff Gary Byrne to seek retribution against, Brock then launders money

off the books (and out of sight of the IRS) - through opposition research firms like Fusion GPS

(representing, among others, corrupt Kremlin kleptocrats) and Enterprise surrogate wrongdoers such as

Marc Elias (the lawyer representing Brock and his illicit entities, the Democratic National Committee,

Hillary for America, the Hillary Victory Fund), and numerous partisan “nonprofits” such as CREW, in

order to manipulate the attorney-client privilege and protect the nefarious activities of the Enterprise and

its known and unknown named participants – and proceeds to engage, inter alia, in bribing “journalists”

and former British agents like Christopher Steele. Such laundered money also is used to pay Enterprise

miscreants who intentionally mislead federal judges, in order to destroy “enemies” like Officer Gary

Byrne by and through the management of corrupt United States Justice Department National Security

Division lawyers carried over from the Obama-John Carlin era and Deputy Attorney General Rod

Rosenstein’s office lawyers (including leftist partisan Bruce Ohr, whose wife worked the Enterprise

scheme as a highly-paid Fusion GPS employee), who in turn and in conjunction with DoJ Enterprise

surrogates misled the Foreign Intelligence Surveillance Court (and thus Article III federal judges) into



                                                     40
            Case 1:18-cv-01422-PLF Document 1 Filed 06/15/18 Page 41 of 210




issuing orders to surreptitiously surveil political opponents of Enterprise principal and presidential

nominee Hillary Clinton (utilizing the much lower counterintelligence standard set forth in FISA for

“agents of a foreign power”). This has resulted in the most depraved civil liberties violations since FISA

was enacted in 1978 - all by Obama career Justice Department officials at the instructions of the

Enterprise and their surrogates. Regrettably, this laundering and utter corruption continues to this day,

as Fusion GPS and Brock (with support from Daniel Jones and Soros), upon information and belief,

takes profits filtered illicitly through Enterprise surrogate attorneys - and Fusion GPS, with the backing

of the Enterprise, continues on behalf of the Enterprise to gather and disseminate false information

against a duly-certified and sitting President. Upon information and belief, and as referenced in Exhibit

“A” hereto, defendants Media Matters and Shareblue utilized Facebook and other platforms to

“weaponize” the private information of U.S. citizens and destabilize the Trump administration –

an(other) illegal practice that by Brock’s admission will continue unabated.

       The Enterprise is dedicated to destroying the livelihoods, businesses and liberty of those who

“threaten” the very wrongdoing (and wrongdoers) that Brock and the Clintons seek to stifle through the

tactics of fear, intimidation, and demolition as self-styled (and well-compensated) “political

mercenaries” in some permutation of “#Resistance”. Their aim is personal and professional ruination of

those who do not share their political views, or those who in any way block their path to power, by any

mode or manner the Enterprise can use – predominantly illegal. Evidence is set forth herein with respect

to their myriad criminal schemes and their bribery of government officials.

       The Enterprise, in addition to the irreversible damage done to Plaintiff Gary Byrne in order to

corruptly enrich Brock and the Clintons and get Secretary Clinton elected president, readily concedes

that their participants now seek to destroy the 45th President of the United States and others in

government who are, as the Enterprise knows, constrained from adequately and fairly fighting back



                                                     41
             Case 1:18-cv-01422-PLF Document 1 Filed 06/15/18 Page 42 of 210




against citizens purporting merely (and falsely) to exercise “political speech and action”. As is

conceded by the Enterprise, they seek nothing less than undermining their own government. This

Enterprise also seeks to destroy religious leaders and faith-based groups to further the Enterprise

operational scheme, and has used a massive political “slush fund” to award allies with the forfeiture

proceeds from financial institutions shaken down by Enterprise surrogate Eric Holder.

        Brock and the Clintons imply that those who oppose them will lose their livelihood or even be

placed in grave physical danger – leading Democrats such as Donna Brazile to fear for their lives

(implying that the Clintons engage in murder for hire) were they to speak the truth and “cross the

Clintons” and their Enterprise.

        The Brock and Clinton entities oversee an organized illicit Enterprise meant to defeat at all costs

the legitimate 45th President and the current government, and the other “enemies” of the Enterprise.

Those like Office Byrne whose truthful writing in Crisis inadvertently undermined the illegal, long-term

goals of the Enterprise crime family, and after the Enterprise failed to elect Hillary Clinton and illicitly

enrich themselves while using every illegal tool at their disposal (sparing nothing and no one), the

Enterprise also turned to subornation of fraud by Enterprise surrogates in the upper management of the

Federal Bureau of Investigation – in particular Andy McCabe (a former Deputy Director, now

terminated from federal employment) and Peter Strzok (a former principal counterintelligence officer at

the FBI) in addition to scores of others at the upper echelon of the FBI and DoJ. Using these illegal

tools, the Enterprise visited upon the Plaintiff in this matter extreme distress and destruction of

livelihood, while, with the collaboration of Mueller, Rosenstein, Lynch, Holder and Comey, among

numerous other Enterprise surrogates and collaborators, betrayed their country and covered it up in

myriad ways – and will continue to do so if not prohibited and discontinued by the federal judiciary and

a jury of their peers.



                                                     42
             Case 1:18-cv-01422-PLF Document 1 Filed 06/15/18 Page 43 of 210




        This civil RICO cause of action seeks $1,000,000,000.00 (one billion dollars) on behalf of

plaintiff, and another $150,000,000 in state pendant defamation damages, and commands the

termination of the illicit activities of the Enterprise.

        When all is said and done, others damaged and destroyed by Brock and Clinton on behalf of the

Enterprise will join in supporting this lawsuit, and numerous Secret Service agents previously assigned

to Hillary Clinton will provide testimonial evidence of her wrongdoing. Witnesses against the

Enterprise will also include an extraordinary number of those who have worked for Brock’s entities, the

Clinton Foundation and its subparts, and countless others – including Enterprise donors who have been

deceived into lining the pocket of Enterprise principals and funding an ongoing criminal scheme. And

as heartbreaking as it may seem, as a fiduciary Chelsea Clinton must also give testimony against her

parents and CF, CGI, and CGEP.

        The ill-gotten gains of the Enterprise will be forfeited in the form of RICO treble damages, and

in addition, for their modus operandi defamatory tactics, trebled defamation damages for the clear and

unambiguous harm they have caused those damaged, i.e., based upon which shadow donor is paying

Brock and the Clintons, among others, in what can easily be depicted as an international (mafia)

operational scheme. As noted, many donor witnesses – many of whom have worked for or donated to

Brock’s Enterprise and that of the Clintons – have agreed to testify against them and corroborate

Plaintiff’s rendition of Enterprise malicious activities. Many more among those victimized will provide

corroborating declarations of Enterprise wrongdoing.

        Brock and the Clintons, and their respective entities, surrogates, and collaborators, form the

foundation for the largest illicit Enterprise in history – weightier even than all the mafia crime families

combined.

        Damages to be awarded should amount to no less than $1.15 billion.



                                                       43
            Case 1:18-cv-01422-PLF Document 1 Filed 06/15/18 Page 44 of 210




I.     JURISDICTION AND VENUE

       1.       This is a civil action brought against a criminal enterprise for numerous, far-reaching

violations of 18 U.S.C. §§1961 et seq. (“Racketeer Influenced and Corrupt Organizations Act” or

“RICO”), joined by pendant claims of defamation, an Enterprise weapon of choice and convenience,

codified in the State (Arkansas) where Enterprise principals have for more than a decade (and in

addition to the District of Columbia) derived and executed their operational scheme;

       2.       RICO addresses the corrupt abuse and misuse of organizations, entities, businesses,

institutions or even governments or government agencies, such that ostensibly legitimate

enterprises/entities actually operate for criminal purposes notwithstanding the entity’s legitimate purpose

– the enterprise at issue here has knowingly debilitated the once-credible Democratic Party;

       3.       This Court has subject matter jurisdiction over this case pursuant to 28 U.S.C. §1331, and

18 U.S.C. §1964, and in addition supplemental jurisdiction over certain inextricably intertwined claims

so related to claims in this action that they form part of the same case or controversy pursuant to 28

U.S.C. §1367;

       4.       Plaintiff has standing to bring this action because he has been directly affected and

victimized by the unlawful conduct complained of herein. His injuries are proximately related to the

illegal conduct of defendants, who have destroyed him, his family, his business, and his livelihood;

       5.       Venue is proper pursuant to 18 U.S.C. §1965 and 28 U.S.C. §1391(b) in that Defendants

either transact significant business here or reside here and are subject to personal jurisdiction in this

District. Further, much of the evidence of wrongdoing is located in and directly contiguous to this

District, and the pattern of racketeering was and is directed at and committed within the confines of the

District (which is the seat of the United States Government) – where the Enterprise scheme continues;

II.    PARTIES


                                                      44
            Case 1:18-cv-01422-PLF Document 1 Filed 06/15/18 Page 45 of 210




                                                 PLAINTIFF

       6.      Plaintiff Gary J. Byrne (“Byrne” or “Officer Byrne”) is a former officer of the United

States Secret Service who bore witness to the significant transgressions of President William Jefferson

Clinton and Hillary Rodham Clinton, and who has been cruelly injured in his business and personal

reputation by the Enterprise and its surrogates and collaborators due to his providing truthful testimony

and recounting wrongdoing in an equally truthful New York Times Number 1 nonfiction bestseller,

written by Byrne, entitled “Crisis of Character: A White House Secret Service Officer Discloses His

Firsthand Experience with Hillary, Bill, and How They Operate.” (“Crisis of Character” or “Crisis”);

                       THE ENTERPRISE AND CORRELATED DEFENDANTS

       7.      The Enterprise – a term used to refer to the defendants, their surrogates, and participants

in their illicit conduct - was, and is, a corrupt collection of organized culpable criminals (named or

unknown named) that/who gained control of the Democratic Party by and through a decade-long (if not

longer) series of schemes consistent with the illegal conduct identified in Federal law to counter

racketeers and fraudsters (and pendant State claims), who infiltrated a nonprofit institution (the

Democratic Party) and for more than a decade through a pattern of racketeering activity, also known as

long-term organized criminal conduct, violated, and continues to violate, myriad Federal and State laws

and, through their various and numerous corrupt schemes, proximately caused incurable damage to the

business interests of the Democratic Party and its numerous donors, and did the same to private citizens

such as former Secret Service Officer Gary John Byrne, the plaintiff in this case, and concededly

attempted to replicate, and did replicate, such wrongdoing with respect to citizen-candidate and then

President-elect (and now President) Donald John Trump, Sr., and his presidential campaign, and

endangered, and continues to gravely endanger, the national security of the United States through

espionage and related seditious acts;



                                                     45
             Case 1:18-cv-01422-PLF Document 1 Filed 06/15/18 Page 46 of 210




       8.      Defendant Media Matters for America (“Media Matters”) is a highly partisan, not for

profit organization, who along with defendant David Brock and Correct the Record, while committing

multiple felonies, and utilizing their mutual defamatory tactics, permanently injured Byrne in

conjunction with the RICO Enterprise;

       9.      Defendant David Brock (“Brock”), is and has been the creator of an elaborate series of

partisan “non-profit” entities which use as a primary tactic that which would otherwise constitute, and in

this case constituted, defamation with respect to Byrne and fatal injury to Byrne’s business, as Brock is

integral to the functioning of the RICO illicit enterprise at issue here. In collaboration with his many

partisan entities registered with the Internal Revenue Service as “non-profits” and presented as such to

his many unknowing (and knowing) donors, Brock has played a role for the RICO Enterprise by and

through American Bridge 21st Century Foundation, American Democracy Legal Fund, American

Independent Institute, defendant Citizens for Responsibility and Ethics in Washington (“CREW”),

Common Purpose Project, Franklin Education Forum, Franklin Forum, defendant Media Matters, Media

Matters Action Network, as well as Political Action Committees (“PACs), Super PACs, and Party

Committees such as defendant American Bridge 21st Century, defendant Correct the Record, Franklin

Forum, Priorities USA Action, American Priorities, and American Priorities 16 Joint Fundraising

Committee. Brock is the author of the leaked “Terminate Trump” dossier which is attached hereto as

Exhibit “A” and sets forth the plan for “nonprofit” (and supposedly nonpartisan) entities to coordinate

efforts to undermine and ultimately destroy the Trump presidency;

       10.     Defendant William Jefferson Clinton was the 42nd President of the United States, who has

knowingly and corruptly served as a principal in the Enterprise for the relevant statutory period, working

with all defendants toward a corrupt purpose to further the goals of the Enterprise, destroy Plaintiff, and

unduly enrich himself and his family through bribery and various other criminal schemes;



                                                    46
             Case 1:18-cv-01422-PLF Document 1 Filed 06/15/18 Page 47 of 210




       11.     Defendant Hillary Rodham Clinton is a former Secretary of State and United States

Senator (D-NY), as well as the nominee of the Democratic Party to become the 45th President of the

United States, who knowingly and corruptly served as a principal in the Enterprise and directed

numerous predicate (and related seditious) acts in order to further the goals of the Enterprise and unduly

enrich herself and her family;

       12.     Defendant Clinton Global Initiative (“CGI”) was established in 2005 by President

William Clinton to “convene global and emerging leaders”, and has consistently over the past decade –

including while Hillary Clinton was Secretary of State – provided a platform for domestic and

international graft, corruption, bribery, and treason/sedition against the United States;

       13.     Defendant Clinton Giustra Enterprise Partnership (“CGEP”) is a Clinton Foundation

“initiative” that describes itself as “pioneering an innovative approach to poverty alleviation”, but

which, through the involvement of William Clinton and Frank Giustra were principals in sustaining the

Enterprise through, among other things, bribery and provision of control of lethal uranium to enemies of

the United States, including but not limited to Russia;

       14.     Defendant George Soros (“Soros”) is a Hungarian-American investor and leftist

Democratic Party partisan who, beginning with the 2003-2004 election cycle (in which he donated

$23,581,000 to various tax-exempt “nonpartisan” groups in order to defeat President George W. Bush),

has supported the Enterprise in illicitly funneling and laundering hundreds of millions of dollars (with

some accounts in the billions) to undermine those with whom the Enterprise have directed its improper

operational schemes;

       15.     Defendant John Podesta is the former chairman of the 2016 Hillary Clinton presidential

campaign and principal wrongdoer in all aspects of Enterprise malfeasance, including facilitating illegal




                                                     47
             Case 1:18-cv-01422-PLF Document 1 Filed 06/15/18 Page 48 of 210




(and conceded) collusion between the Hillary Clinton presidential campaign and defendant Brock’s

Super PACs, with the assistance of his personal attorney Marc Elias of Perkins Coie LLP;

       16.     Defendant Correct the Record was a Super PAC founded by David Brock which was a

key to the Enterprise scheme, primarily publishing “FROM THE DESK OF DAVID BROCK”, to

defame and attempt to destroy the reputation of anyone, as he did plaintiff Gary Byrne, who exposed

what Brock and CTR considered even “unflattering” to Hillary Clinton, whose presidential campaign

and aspirations it supported and coordinated within a completely partisan and illegal manner;

       17.     Citizens for Responsibility and Ethics in Washington (“CREW”) is a wholly partisan

“ethics watchdog group”, as conceded in Exhibit “A” hereto, which illegally maintains a 501(c)(3)

status in its tax returns yet through platforms like Twitter and related social and traditional media, have

teamed with the Enterprise to serially defame, shirk (rather than attempt to uphold) ethical standards,

rules and laws, and file frivolous, unethical “complaints” intended only to harass and further a partisan

agenda buttressed by the Enterprise, and represents they are part of the #Resistance against the United

States Government;

       18.     Defendant Shareblue, as set forth in Exhibit “A”, is responsible to the Enterprise with

“taking back social media for the Democrats” - a charge that, without any pretense of nonpartisanship,

aims to “delegitimize Donald Trump’s presidency” and “arm Americans to fight” against the Trump

administration;

       19.     Defendant Jan Gilhooly at all times relevant to this action, including when he

intentionally and illegally defamed Plaintiff, was the president of a nonprofit organization known as the

Association of Former Agents of the United States Secret Service (“AFAUSSS”);




                                                     48
             Case 1:18-cv-01422-PLF Document 1 Filed 06/15/18 Page 49 of 210




       20.     Defendant Jonathan Wackrow is an Executive Director of the “Risk Assistance Network

+ Exchange (“RANE”) and a “CNN Law Enforcement Analyst” as well as, according to his RANE web

bio, a “regular commentator on security and risk management on other (unnamed) major news outlets”;

       21.     Numerous defendants remain unknown named, and based upon an increasing number of

corroborated informant testimony will be identified and proven to be participants in the vastly expanding

criminal Enterprise at issue in this lawsuit;



III.   FACTUAL ALLEGATIONS

       22.     As a terminal cancer eradicating the Democratic Party and illegally exploiting the

fractional works of Media Matters and the Clinton Foundation - and in concert with the mass corruption

affiliated with the Clinton Global Initiative - David Brock and William and Hillary Clinton have formed,

in conjunction with other defendants and collaborators/surrogates such as James Comey, Robert

Mueller, Eric Holder and Loretta Lynch, and others named herein (and unknown named), an illegitimate

Enterprise in violation of RICO, and executed innumerable predicate acts in addition to engaging in

unambiguous slander and libel (their tactical tool to carry out their criminal acts), with the intent to

commit these acts and to destroy plaintiff and, as conceded in Exhibit “A”, to damage and ultimately

abrogate the presidency of the 45th President of the United States and undermine the U.S. government;

       23.     Each and every factual allegation herein, which are brought upon information and belief,

relate(s) directly to the illegal (and successful) Enterprise undertaking to destroy the business and

livelihood of plaintiff Gary Byrne through their scheme utilizing defamation and government

counterintelligence abuses as principal tactics to carry out their criminal schemes;

       24.     Defendants Hillary and William Clinton, David Brock, their various illicit “nonprofits,”

and the Enterprise continue to defame and unduly accuse and undermine unnamed “Trump associates”


                                                     49
             Case 1:18-cv-01422-PLF Document 1 Filed 06/15/18 Page 50 of 210




for the sheer temerity in causing Hillary Clinton to lose the 2016 presidential contest – including in large

part blaming and defaming Officer Gary Byrne (as they blamed him for the impeachment of William

Clinton);

       25.     For several months between the summer of calendar year 2016 (when Crisis was

released) and the November 8th United States’ presidential election, an Enterprise vehicle, Correct the

Record, under the moniker “FROM THE DESK OF DAVID BROCK,” published on its site (where it

still resides for worldwide consumption) numerous clearly defamatory falsehoods coordinated illegally

with the Hillary Clinton for President campaign (“Hillary for America” or “HFA”), with the intent to

destroy the business and livelihood of plaintiff and obstruct justice with respect to felonies and sedition

committed by Hillary Clinton – and seek revenge against Byrne;

       26.     Enterprise defendants, individually and collectively and in collusion with Correct the

Record defamation and obstruction of justice, utilizing false vitriol emanating “FROM THE DESK OF

DAVID BROCK,” published, among other things and in concert with Fusion GPS and Marc Elias from

Perkins Coie LLP, and in illegal coordination with HFA, a broad series of defamatory statements,

represented as fact, directly attacking Plaintiff and his business interests, that a substantial and

respectable minority – and most likely an overwhelming majority – of the Plaintiff’s community would

consider defamatory;

       27.     The Enterprise, through its vehicle Correct the Record and enabling libel “FROM THE

DESK OF DAVID BROCK,” defamed Plaintiff by referring to Crisis as “recycled gossip,” “debunked

lies,” and “Trump-esque conspiracy theories”, when in fact Crisis was based upon first-hand

observation by a United States Secret Service Officer of President William Clinton and Hillary Clinton,

recounted under oath, and in fact fundamentally corroborated by William and Hillary Clinton;




                                                      50
               Case 1:18-cv-01422-PLF Document 1 Filed 06/15/18 Page 51 of 210




         28.      The Enterprise, including laundered payments used to pay for Gilhooly slander and

related obstruction of justice, colluded in the absolute falsehood that Byrne had “no direct access to the

First Family,” thus directly contradicting prior sworn testimony by not only Plaintiff, but also defendant

William Clinton, defendant Hillary Clinton, Clinton partisan confidante George Stephanopoulos,

William Clinton White House Chief of Staff Leon Panetta, and numerous others with direct knowledge -

and in particular included the relevant Enterprise defendants’ intentional false statements by wire,

through, inter alia, Correct the Record;

         29.      In addition to the Enterprise’s constant written repetition of slanderous statements about

Plaintiff by Gilhooly and Wackrow, 10 on both the website of Media Matters and Correct the Record,

“FROM THE DESK OF DAVID BROCK,” (therein drawing inferences relevant therefrom), and the

contradictory evidence shown by testimony of White House principals during the time Plaintiff was

stationed directly outside the Oval Office, Media Matters and Correct the Record libeled Byrne by

unambiguously and intentionally misstating that Byrne had not fully told the truth under oath during

earlier testimony which led to the impeachment of President William Clinton (the 42nd President of the

United States) along with the production of the blue dress of President Clinton’s paramour (and White

House intern) stained with the President’s semen – both of which led to the impeachment of President

Clinton and for which the Enterprise has sought reprisal for decades;




10
   Wackrow defamed Plaintiff on June 25th of 2016 on the CNN “Michael Smerconish” program, claiming it
“inconceiveable” that Plaintiff could have walked in on the President having sexual relations in the “Map Room”; claiming
on the same program that there is “a character issue” with Plaintiff (simply for telling the truth). Wackrow in late June also
informed “Inside Edition,” the the Plaintiff’s book is “purely a tell-all, salacious, opportunistic … storytelling. It isn’t based
in fact at all.” Each of Wackrow’s statements were utterly false and defamatory. Similarly, Gilhooly in late June of 2016
(appearing on CNN on numerous occasions), said he “questioned the veracity of [Plantiff’s] book” and also stated that Byrne
had “an underlying motive” involving “politics and profit.” Again, this is defamation per se, much like Wackrow. Gilhooly
also caused a nonprofit group he led, the Association of Former Agents [of the] United States Secret Service (AFAUSSS) to
libel Byrne by issuing a statement with the same defamation per se, which was repeated rountinely by Brock, Correct the
Record, Media Matters and American Bridge in the run up to the national conventions, presidential debates and presidential
contest in early November of 2016.

                                                               51
             Case 1:18-cv-01422-PLF Document 1 Filed 06/15/18 Page 52 of 210




       30.     In concert with, and upon information and belief, after being indirectly remunerated by

the Enterprise participants, defendants Gilhooly and Wackrow directly questioned Plaintiff’s veracity

and slandered him on a cable television network (Cable News Network (CNN) on numerous occasions,

and The Michael Smerconish Show), directly stating and otherwise inferring that Plaintiff was a

criminal, knowing their statements were untrue and inconsistent with those of, among others, defendants

William and Hillary Clinton – and further obstructing justice with respect to Hillary Clinton’s attempts

to conceal Enterprise planning to damage Plaintiff contained in (private Clinton server) e-mails that had

been destroyed while under congressional subpoena and in the context of an FBI investigation;

       31.     Like Media Matters and Correct the Record, Wackrow and Gilhooly were personally

served with retraction demands by the undersigned, as well as cease and desist and litigation hold letters

- thus subjecting them, like the Enterprise participants, to punitive damages under relevant State

pendant defamation statutes, to which they did not respond or comply with;

       32.     Wackrow’s slander, and that of Gilhooly, as noted, was completely false yet repeated as

fact in Correct the Record, “FROM THE DESK OF DAVID BROCK”, and direct adverse inferences

concerning the defamation of Byrne are drawn thereby;

       33.     The Enterprise, through the vehicle Correct the Record and “FROM THE DESK OF

DAVID BROCK”, also colluded in claiming that the New York Times stated as fact that Byrne’s

“juiciest anecdotes [within Crisis] are just a rehash of old rumors,” while referring to Crisis as

“SUMMER FICTION” – again intentionally ignoring that Byrne’s observations were based upon first-

hand knowledge/observation previously agreed upon by both other participants in the Enterprise,

including defendants William and Hillary Clinton, and numerous others;

       34.     Unreservedly contradicting Brock and his illicit entities’ defamation, as well as the

slander of paid prevaricators Gilhooly and Wackrow, the Clintons themselves (defendants William and



                                                     52
             Case 1:18-cv-01422-PLF Document 1 Filed 06/15/18 Page 53 of 210




Hillary) have conceded that Plaintiff Gary Byrne was “the last barrier before anyone saw Bill Clinton;”

even easily accessed You Tube footage and photographic evidence available with a simple Google

search shows Officer Byrne’s fixed position directly adjacent to President William Clinton for many

years could have been reviewed by Wackrow and Gilhooly prior to slandering Plaintiff on CNN, and by

Media Matters and Correct the Record before libeling Officer Byrne;

       35.     Byrne’s claims in Crisis were true, making contrary intentional dissembling by the

Enterprise, and those they paid to publish and state utter falsehoods, defamatory and necessitating

punitive damages;

       36.     Byrne’s young children and extended family were cruelly made aware of the wholly false

publications and statements made about him, as were professional colleagues and friends, making the

defamation against Byrne particularly malicious and subject to punitive damages;

       37.     The Enterprise defendants’ falsehoods are directly contradicted by William Clinton’s

most senior staff prior to, during and following the impeachment of the 42nd President of the United

States – as well as being directly contradicted by sworn statements of Enterprise defendants William and

Hillary Clinton and those among the Clinton coterie who are credible such as then-Chief of Staff Leon

Panetta;

       38.     Despite Plaintiff’s unambiguous and immediate written retraction demands to Brock and

his defendant entities, including Media Matters, Correct the Record, as well as Gilhooly and Wackrow,

none of the Enterprise defendants’ false and defamatory statements have been retracted or withdrawn in

any manner – nor even responded to as they were obligated to do;

       39.     Defendant Gilhooly, among multiple other things and after being paid to defame Byrne,

claimed falsely that Byrne had an “underlying motive” in writing Crisis and that Byrne was not fully




                                                   53
             Case 1:18-cv-01422-PLF Document 1 Filed 06/15/18 Page 54 of 210




truthful before the Starr grand jury – which constitutes slander per se in every jurisdiction and furthers

the obstruction of justice intended by the Enterprise;

       40.     Defendants Gilhooly and Wackrow were paid to slander Officer Byrne, and did not pay

federal or state taxes thereon, having accepted laundered money to conspire in a scheme against Byrne

whose truthful and multiple corroborated testimony before the Starr grand jury led to the impeachment

of President William Clinton;

       41.     Gilhooly concedes that he defamed Byrne by “calling [him] a liar” – yet refused to retract

his false defamatory statements regarding Byrne for which he was compensated by the Enterprise and

did not pay federal or state taxes thereon – nor did the nonprofit institution which Gilhooly headed, the

Association of Former Agents of the United States Secret Service (“AFAUSSS”), which benefited

financially from Gilhooly’s slanderous appearances on CNN, and which also refused to retract their

vitriolic slurs (through a press release) against Officer Byrne;

       42.     The Enterprise defendants clumsily contradict themselves routinely, as William Clinton

himself admitted that Monica Lewinsky (and countless others, such as Eleanor Mondale) performed

fellatio on him for long periods of time (contrary to the short periods of time that William Clinton swore

under oath he spent with his lovers) – sometimes while he was conducting official, classified

government business – and that Byrne interrupted their trysts as he was obligated to do out of concern

for protecting the President;

       43.     Byrne was compelled by Independent Counsel Starr to truthfully testify, which he did,

not only to observing the violent outbursts of Hillary Clinton (against a sitting President), but also to the

per se sexual harassment of the President in having subordinates (like intern Lewinsky) perform

repeated and humiliating fellatio acts such as “edging” upon President William Clinton in or around the

White House Oval Office;



                                                     54
             Case 1:18-cv-01422-PLF Document 1 Filed 06/15/18 Page 55 of 210




       44.     The Enterprise Defendants colluded deceptively and in vengeance by referring to Byrne’s

credibility as “suspect”, based upon a wholly false narrative that Byrne “contradicts sworn testimony” –

thus further defaming him despite the concessions under oath by William Clinton;

       45.     A White House steward, according to testimony before the grand jury and recounted in

Crisis, and resulting in the impeachment of President William Clinton, on multiple occasions removed

President Clinton’s semen-stained towels from the Oval Office and surrounding furniture and carpets

after Clinton sexually harassed subordinates and coerced them to perform sexual acts with him;

       46.     Byrne and other Secret Service personnel witnessed, in the White House, President

Clinton engaging in sexual relations with journalist Eleanor Mondale and with other individuals whom

the officers testified were women other than Hillary Clinton, and who his “security detail” did not

attempt to protect from potential rape;

       47.     The Enterprise also colluded to defame and destroy Byrne, with Correct the Record,

FROM THE DESK OF DAVID BROCK disputing that Hillary Clinton attempted to mame President

Clinton by throwing a heavy object at his head at close range and striking the President in the eye with

another heavy object – thus attempting to mame (or possibly kill) the 42nd president of the United States;

       48.     President Clinton’s Secret Service detail was often out of proximity to President Clinton

when Hillary Clinton attacked President William Clinton, or when William Clinton sexually molested

younger women subordinates– directly contrary to the intentionally false defamatory statements of

Gilhooly and Wackrow while “guests” on CNN, which false defamatory statements were placed on the

Correct the Record website and described as fact “FROM THE DESK OF DAVID BROCK”;

       49.     The Enterprise colluded to again defame Byrne by covering up his recounting of repeated

assaults and battering of our then-President reported by Byrne and testified to under oath before a duly

constituted grand jury by Independent Counsel Kenneth Starr - any one of which would have resulted in



                                                    55
             Case 1:18-cv-01422-PLF Document 1 Filed 06/15/18 Page 56 of 210




a lengthy prison term for Hillary Clinton (who as “First Lady” enjoyed no privilege for assaulting,

battering and/or attempting to maim or kill her husband, the President, or members of the Secret Service,

or anyone else);

       50.      The Enterprise claimed, through Brock and Correct the Record FROM THE DESK OF

DAVID BROCK, that Byrne had “ulterior motives” and that Officer Byrne “delved into falsities [many

times confirmed] that read like the ‘daydreams of a low-ranking employee’” – these statements by

Brock and Correct the Record were unambiguously false, utterly defamatory, intended to obstruct

justice in light of Hillary Clinton’s espionage violations, and highly damaging to Plaintiff Gary Byrne in

his business;

       51.      What of course the Enterprise collusion fails to acknowledge is that hundreds of Secret

Service agents, and Arkansas state troopers prior to that, have helped William Clinton “run women” and

others have simply become disgusted and quit – such as when Hillary Clinton was heard telling her aide

Huma Abedin that candidate Barack Obama was a “lying lazy thoughtless man”;

       52.      The Enterprise defendants similarly colluded to defame and discredit Byrne when

Correct the Record claimed Byrne lied, in Crisis, about Hillary Clinton assaulting and battering Secret

Service by throwing heavy objects at their heads in an attempt to injure or kill them in violation of

federal law – 23 Secret Service witnesses are available to testify to either witnessing or being struck by

Hillary Clinton’s projectiles;

       53.      In yet another clearly defamatory (and coordinated) Enterprise personal attack, through

Correct the Record, FROM THE DESK OF DAVID BROCK, it was stated that “facts seem to be

optional for Gary Byrne” – despite President Clinton being impeached for perjury based upon these

exact “optional facts”, to which William Clinton has subsequently admitted;




                                                    56
                Case 1:18-cv-01422-PLF Document 1 Filed 06/15/18 Page 57 of 210




          54.     Enterprise Defendants Brock and the Clintons (William and Hillary) have systematically

and continuously, within the past ten years at the very least, conducted along with other Enterprise

principals and surrogates a corrupt enterprise in violation of RICO, and such acts are continuing in

nature;

          55.     As a result of the Enterprise defamation, Plaintiff’s business was deeply damaged and

sale(s) of his non-fiction New York Times (Number 1) best-selling book Crisis was/were harmed in an

amount greater than fifty million dollars ($50,000,000);

          56.     Enterprise illicit activities satisfy Arkansas law underlying punitive treble damages for

defamation (allowing treble damages for defamation), and also necessitate that treble damages be

awarded for violation of the federal RICO statute;

          57.     Enterprise “SuperPACs” illegally coordinating with and illicitly supporting the

unsuccessful presidential bid of Hillary Clinton spent in excess of $192 million in the 2016 election

cycle alone to undermine Gary Byrne and other Clinton “enemies”, much of which was spent in illegal

coordination with, among and between Hillary for America (Hillary Clinton’s presidential campaign),

Hillary Clinton, Brock, Media Matters, Correct the Record and related Brock entities, in order to seek

vengeance against and smear Officer Gary Byrne and others whose truth-telling threatened the

Enterprise long-term objective of electing Hillary Clinton as the 45th President of the United States;

          58.     In preparation for the 2016 federal election cycle, the Enterprise and Brock made no

secret of being wholly partisan in running a steady stream of opposition research (primarily false) and

defamation through defendant American Bridge and providing per se defamatory information on/against

prominent Republicans and Officer Byrne, to the pro-Hillary Clinton Super PAC “Priorities USA”, and

(illegally) to “Hillary for America” – in addition to the defamatory publication of information against




                                                       57
                Case 1:18-cv-01422-PLF Document 1 Filed 06/15/18 Page 58 of 210




Plaintiff described herein and in furtherance of Enterprise obstruction of the Clinton private server

investigation(s), both by wire and mail;

          59.     In October of 2016, a group known as “Wikileaks” published American Bridge’s

“summary of accomplishments” during the 2016 campaign up to and including that date, revealing

entirely partisan illegal operations directly involving Brock and the Enterprise providing false,

defamatory information to “mainstream news outlets”, including extraordinary false attacks against

Officer Gary Byrne, as well as the plethora of left-leaning websites – prominent examples of the wholly

partisan Brock boasting of those media being “sold” included CNN, The Hill, and Roll Call (all of whom

subsequently cooperated with Brock in not only this illicit activity but unwittingly in Enterprise FISA

abuse);

          60.     Brock and his primary but certainly not only defamatory vehicle of choice, Correct the

Record, FROM THE DESK OF DAVID BROCK, defamed Plaintiff and caused significant damage

and material harm to his reputation and business, and have recently illicitly underwritten the services of

Citizens for Responsibility and Ethics in Washington (“CREW”), a previously nonpartisan entity but

which is now entirely (and illegally) partisan – and which is illicitly paid by Brock (based upon Soros

funding) as part of the #Resistance – and their mission is to destroy those like Plaintiff, and the

presidency of the 45th President, through unethical, partisan litigation and related tactics;

          61.     Defendants David Brock, American Bridge, CREW and Shareblue have openly conceded

their illicit role in this attempt to damage the Trump presidency, using tactics employed to cause injury

to the business of Plaintiff, see Exhibit “A” hereto - in an illegal attempt by the aforementioned to raise

money from defendant Soros and named unknown illicit funders and others who seek to undermine the

U.S. government, such as former SSCI staff director Daniel Jones and his Soros funding;




                                                     58
              Case 1:18-cv-01422-PLF Document 1 Filed 06/15/18 Page 59 of 210




        62.     In addition to the illicit Soros funding vehicle set forth in Exhibit “A”, Soros also was

involved (at the insistence of Enterprise principals Brock and Hillary Clinton) in driving funding to the

Hillary Clinton presidential campaign for the purpose of funding the fake dossier compiled by disgraced

British agent Christopher Steele utilized by Enterprise principals and surrogates to mislead Article III

FISA judges in a successful attempt to surveil the political campaign of Donald J. Trump – Soros also

funded the Winter 2106 use of Joseph Mifsud by Obama CIA Director John Brennan to lay the

foundation for misleading the FISC;

        63.     Adam Waldman, an American attorney who served as a back channel between agent of a

foreign power Steele and United States Senator Mark Warner (D-Virginia), stated under oath before the

Senate Select Committee on Intelligence (SSCI) on November 3, 2017, that “significant nexuses exist

between Enterprise principal George Soros and Fusion GPS”, the opposition research firm that

commissioned the fake dossier assembled by Steele at the instruction of Enterprise principal Hillary

Clinton;

        64.     Waldman said he received the information in a series of meetings he had with Daniel J.

Jones, a consultant and former senior staffer to United States Senator Dianne Feinstein (D-CA) – the

immediate predecessor to Senator Warner as the Ranking Member of the SSCI during the time period

relevant to this lawsuit;

        65.     Jones asserted definitively that he (1) was working with Fusion GPS and that (2) the

research firm was being funded by "…. George Soros”; Jones also described Fusion as "shadow media

organization helping the [Obama] government."

        66.     Exhibit “A” is a leaked memorandum written by Brock with illicit assistance from his

proxies, depicting Enterprise tactics to destabilize the presidency of Donald J. Trump, the duly-elected

and certified 45th President of the United States – each entity joining the Enterprise, as can be inferred



                                                     59
             Case 1:18-cv-01422-PLF Document 1 Filed 06/15/18 Page 60 of 210




from Exhibit “A”, is also in violation of federal law for its entirely partisan acknowledgements therein

(and thus for each harmonized predicate act cross-referenced below), as well as, where relevant,

improper coordination amongst campaigns and Super PACs;

       67.     Brock and the Enterprise describe, within Exhibit “A”, their partisan makeup from the

time they were founded and granted nonprofit status by the Internal Revenue Service (“IRS”), which

required Brock and the Enterprise to submit, which they did not, and for the IRS to receive accurate

written information from the Enterprise malfeasants in their various tax returns, but did not so receive

accurate information – another in a series of Brock and Enterprise mail and wire fraudulent acts, both in

themselves and to conceal/obstruct their wrongdoing (in addition to other knowing and willful process

crimes they themselves appear to concede in Exhibit “A” – and in addition, false statements in their own

right which can be brought as stand-alone counts of federal obstruction of justice;

       68.     To set forth but a few examples of such acknowledged intent, and as raw examples of

raising money from illicit donors, Exhibit “A” states, at page 1, “[t]he progressive infrastructure groups

we’ve built together were started long before Hillary Clinton ran for president. They were always

intended to be the first line of defense – and offense – when we are under siege.”;

       69.     Brock and the Enterprise participants also concede, by inference and spurious statements

of intent, that they intend to carry out Nazi-like propaganda techniques in order for their “truth squads”

to undermine the legitimate, certified government of the United States – with their “purpose to keep

Trump unpopular”;

       70.     Continuing their written admissions of violation of federal law, Brock and the other

Enterprise participants, at Exhibit “A”, page 1, continue that “we are going to fight against any attempt

to erode the cornerstone work and values of the progressive movement”;




                                                    60
             Case 1:18-cv-01422-PLF Document 1 Filed 06/15/18 Page 61 of 210




       71.     Defendant American Bridge, at page 2 of Exhibit “A”, promises to “build on its role as a

progressive clearinghouse for information that drives the [defamatory] narrative on [against]

Republican officeholders and candidates, and be at the epicenter of Democrats’ work to regain power –

starting in 2017 and building to 2020.”;

       72.     As promised at page 3 of Exhibit “A”, and as discussed herein, CREW promises that

“Trump will be afflicted by a steady flow of damaging [defamatory] information….”;

       73.     CREW, in short, has promised in Exhibit “A” (and is now executing on that oral contract

with the Enterprise) that they will frivolously attack, “when necessary,” President Trump and the U.S.

government but ignore the daily wrongdoing of their Enterprise compatriots – this is the very essence of

both numerous RICO predicate acts, but also ongoing (and increasing) criminality on the part of the

current CREW leadership (defendant Brock left the CREW board in December of 2016 to more broadly

focus his leadership of, in conjunction with Hillary Clinton, the illicit efforts described in Exhibit “A”

hereto);

       74.     Along with Enterprise surrogate and legal counsel Marc Elias, whose recruitment of “an

army of liberal lawyers” to do “pro bono” work in support of CREW (and others) undermining the

government of the United States, CREW and Brock have promised to work with Democrat partisans on

the House Intelligence Committee, such as Ranking Member Adam Schiff of Hollywood, to leak highly-

classified information, spread misinformation to CNN and other partisan networks eager to publish it,

and “press for further [frivolous] investigations … and ‘take out’ government officials and close family

members” of President Donald Trump;

       75.     As part of the #resistance “pro bono army”, the Enterprise also intends to “misuse

nonprofits for politics” – a reference requiring no inference as to its intended effect and impact of the

Enterprise upon the U.S. government;



                                                     61
               Case 1:18-cv-01422-PLF Document 1 Filed 06/15/18 Page 62 of 210




         76.     The misuse of Article III federal courts, and State courts in New York by partisan

Enterprise surrogates such as New York Attorney General Eric Schneiderman, constitutes misuse of

office against the government and conspiracy against the United States – in addition to thousands of

predicate and related illegal acts by the Enterprise and its surrogates and partisan followers within the

Elias “pro bono army” meant to destabilize the government with virtually unlimited funds and free

labor;

         77.     Shareblue promises at page 3 of Exhibit “A” that, consistent with the other malfeasants

and the Enterprise, is an entity that (for the right price) will “take back social media for the

Democrats… [and illegally] delegitimize Donald Trump’s presidency” and “[u]nder pressure from

Shareblue, Democrats will take more aggressive positions against Trump [and to undermine the United

States Government].”;

         78.     As referenced above, Shareblue has contracted with the Enterprise to “rely on leaks and

intelligence from Democrats on the House and Senate [investigating and oversight] committees [such

as confirmed leaker of highly-classified information, Representative Adam Schiff]… and disseminate

in their ‘punchy style’ in order to … weaponize opposition research” – in and of itself the violation of

numerous crimes and bordering, again, on sedition against the legitimate, certified government of the

United States of America;

         79.     The concededly partisan nature of the Brock entities, including Enterprise defendants

American Bridge, CREW and Shareblue, provides further foundation for the inference that each of these

entities has engaged in mail and wire fraud when filing false returns with the IRS and hiding their

partisan “first line of defense – and offense” status as “fighters” for “progressive” causes and building

“together” a “progressive infrastructure” – and is utterly devastating to any potential RICO or




                                                      62
             Case 1:18-cv-01422-PLF Document 1 Filed 06/15/18 Page 63 of 210




defamation defenses that these partisan groups attempting to undermine the U.S. government could

otherwise plausibly raise;

       80.     Plaintiff was defamed, as a matter of law, by Defendants Brock and Correct the Record

utilizing tactics (and resources) that were buttressed by the Enterprise and directly approved by Hillary

Clinton and her surrogates – not unlike the illicit tactics set forth in “Exhibit A”;

       81.     The Enterprise and its primary individual funder, George Soros, were responsible for

underwriting funding for the defamation of Byrne and also have continued their illegal scheme with the

intent of destroying the presidency of Donald Trump – an objective they have readily conceded;

       82.     Between 2012 and 2016, to further the scheme, Soros contributed at least $22.5 million to

support Enterprise defamation and criminality by and through the various Brock entities with the intent,

through such Soros-subsidized defamation, to promote and protect one partisan candidate – Hillary

Clinton – in her quest for the presidency and for revenge;

       83.     Enterprise enabler Soros also contributed $80 million (and tens of millions more

laundered through opposition research groups such as Fusion GPS using individuals such as former

SSCI Staff Director Daniel Jones) to support Hillary Clinton’s unsuccessful bid to become President in

2016 (and directly attack Officer Gary Byrne) including $33 million for opposition research against

those like Plaintiff who truthfully revealed the failings of Secretary Clinton;

       84.     Concededly, Soros laundering began with former president Barack Obama’s official

campaign organization (again, directed by Enterprise surrogate Marc Elias), which has paid nearly a

million dollars (a decimal point compared to that which cannot be traced) to the same law firm that

funneled money to Fusion GPS (the law firm of Elias), the same firm that laundered the money from its

client Hillary for America to fund the infamous Steele dossier;




                                                      63
             Case 1:18-cv-01422-PLF Document 1 Filed 06/15/18 Page 64 of 210




       85.     Since April of 2016, Obama For America (OFA) has paid over $972,000 to Perkins Coie,

records filed with the Federal Election Commission (FEC) show – despite the fact that Barack Obama is

not on the ballot in and State or Federal Election;

       86.     Perkins Coie, an international law firm subject to the laws of the United States and

several foreign jurisdictions, was directed by both the Democratic National Committee (DNC) and

Hillary Clinton’s campaign to retain Fusion GPS in April of 2016 to “dig up dirt” on then-candidate

Donald Trump, Sr.

       87.     Fusion GPS hired Steele, a former British intelligence office, to compile a dossier of

allegations that Trump and his campaign actively colluded with the Russian government during the 2016

election.

       88.     None of the Steele dossier’s allegations of collusion have been independently verified,

and lawyers for Steele admitted in British court filings last April that his work was not verified and was

never meant to be made public;

       89.     While Soros was funding Brock Enterprise defamation against Officer Byrne, Brock was

corruptly lining his own pockets, collecting $467,864 from American Bridge per year, while a Brock

fundraising and laundering entity, the Bonner Group, “earned” $4.57 million in fundraising

commissions while raising money for Enterprise partisan groups (many who did not know their

donations were being used illicitly and/or to enrich Brock);

       90.     In 2016, Correct the Record focused solely on supporting Enterprise tactics and

defending Hillary Clinton (and destroying her “enemies”) through their defamatory tactics – to

accomplish this, and to destroy Gary Byrne, Brock converted Correct the Record into an Enterprise-

driven super PAC;




                                                      64
             Case 1:18-cv-01422-PLF Document 1 Filed 06/15/18 Page 65 of 210




       91.     Brock has openly conceded the Enterprise-driven coordination between Correct the

Record and Hillary for America (the campaign organization supporting Hillary Clinton in her bid for

President in 2016);

       92.     Brock in fact has explicitly boasted about every tactic used by the Enterprise in this case

– part of Brock’s modus operandi, by his own admission, is the use of “journalistic sleight of hand” to

deceive journalists and law enforcement, and defamation to destroy those who “cross” him or the

Enterprise – including but not limited to the implicit threat of bodily harm;

       93.     Prior to her bid for the presidency, Hillary Clinton herself welcomed Brock to the Clinton

estate in Chappaqua, N.Y. to pitch partisan donors on what currently amounts to the Enterprise

racketeering scheme – soon thereafter, Hillary Clinton publicly took credit for what has become the

Enterprise racketeering operation;

       94.     The Internal Revenue Service demands, and U.S. law dictates, that Brock’s nonprofit

entities, as well as the co-conspirators discussed in Exhibit “A”, are barred from engaging in partisan

activity and cannot favor or oppose any political candidate;

       95.     In June of 2015, Brock himself openly admitted that “from the beginning” he and his

myriad nonprofit entities served a “major role in specifically defending Hillary Clinton” –

notwithstanding his additional admission of open partisan collusion between Correct the Record and

Hillary for America on strategy and tactics such as defaming Plaintiff;

       96.     Brock and his illicit entities, in collusion with the Clintons and the Enterprise, have

defamed sophisticated authors in the same manner as they defamed Gary Byrne – these authors include

Pulitzer Prize recipients Jeff Gerth and Don Van Natta of the New York Times who in 2007 wrote a book

entitled “Her Way: The Hopes and Ambitions of Hillary Rodham Clinton,” which was viewed by some

as “critical of” Hillary Clinton;



                                                    65
              Case 1:18-cv-01422-PLF Document 1 Filed 06/15/18 Page 66 of 210




       97.      Others defamed by the Enterprise include commentators Gretchen Carlson from Fox

News and Mara Liasson of National Public Radio – both of whom were deceitfully called “liars” by the

Enterprise through Brock for their general (and fair) commentary on candidate Obama during the 2008

general election campaign for president;

       98.      Enterprise principal John Podesta assisted Brock and Tom Mazzie of “MoveOn.org” to

form (and raise millions for) “Progressive Accountability.org”, which spent tax-exempt money for the

purpose of opposing the candidacy of Senator John McCain for president in 2008;

       99.      Brock and the Enterprise, through Media Matters communications director Karl Frisch in

September, 2009, formulated a plan to “take out” opponents that included not only defaming them, but

also surveilling and stalking them;

       100.     On October 20, 2010, the Enterprise through Brock received a cash commitment of $10

million from Enterprise principal Soros to “go after” a U.S. citizen with whom the Enterprise did not

agree politically –television commentator Glenn Beck;

       101.     The Enterprise in 2011 increased its defamatory tactics to the level of, in its own words,

“guerrilla warfare and sabotage”- terms of violent conflict reflecting the Enterprise escalation of

defamation to a level heretofore unseen;

       102.     Enterprise surrogate Sidney Blumenthal used typical defamatory tactics when he

originated the false narrative that Barack Obama was not born in the United States – Blumenthal

remains a key element of those attempting to bring down the current president and undermine the U.S.

government, and is implicated in Enterprise pre-election 2016 wrongdoing;

       103.     Blumenthal also linked Obama to the statement of the Reverend Jeremiah Wright: “God

Damn America”;




                                                     66
                Case 1:18-cv-01422-PLF Document 1 Filed 06/15/18 Page 67 of 210




        104.      Following the 2008 presidential election, Blumenthal rejoined the Enterprise/Clinton

Foundation as a paid consultant;

        105.      As a paid consultant to the Clinton Foundation and Enterprise surrogate, Blumenthal

placed the false and defamatory narrative that a Christian immigrant from Egypt was responsible for the

September 11, 2012, attack on the U.S. diplomatic compound in Benghazi, Libya – where Secretary

Clinton had failed to adequately provide diplomatic security;

        106.      Blumenthal, an Enterprise collaborator and surrogate, instructed a young journalist, and

direct relative, to write a false and defamatory narrative in order to cover up the Hillary Clinton

diplomatic mistake which cost several U.S. lives in Benghazi, Libya;

        107.      Similarly, internal memoranda obtained from Brock’s illicit groups have revealed that

these groups are entirely partisan, in violation of U.S. law, and have as their sole mission to target

groups and individuals with whom they disagree politically – and proceed to destroy their reputations

and careers as they did with Officer Gary Byrne;

        108.      As is the case with respect to illegal actions taken against Byrne, the Enterprise engages

in vicious defamatory tactics without nuance, as the task of Brock and his ilk is to so thoroughly and

falsely discredit their “opponents” that the Enterprise “enemies” are destroyed in their business and

career – and thus donor enablers like Soros will have received adequate “return on investment”;

        109.      The “Center for American Progress” now managed by progressive scholar Neera Tanden

(who succeeded defendant John Podesta) has openly and devastatingly conceded in writing (between

Tanden and John Podesta) that Correct the Record and Brock were “violating the law” when they

coordinated with the Clinton campaign – including but not limited to the defamatory falsehoods directed

at Plaintiff;




                                                       67
               Case 1:18-cv-01422-PLF Document 1 Filed 06/15/18 Page 68 of 210




        110.     Tanden and Podesta will therefore testify against Brock, as they must, in this litigation, as

Podesta did not contest the precise conclusion of Tanden (a Yale law school graduate and respected

scholar) that Brock violated the law (presumably tens of thousands of times), as Brock, and Perkins Coie

lawyers and Enterprise surrogates Elias and Michael Sussman have conceded, in coordinating with the

Hillary Clinton campaign;

        111.     The Clinton campaign, in concert with the Enterprise, violated campaign finance law

through illegal coordination with Correct the Record and supported by unreported cash from George

Soros and, subsequently, with the Enterprise entities including “Priorities USA Super PAC”, with

respect to illicit campaign activities;

        112.     The Enterprise and its elaborate defamation machine and corrupt donor network defamed

Plaintiff Gary Byrne and permanently injured the business of Byrne, in pursuance of and consistent with

the predicate acts set forth below;

        113.     George Soros, in addition to funding the Enterprise thus far, is funding the #Resist

movement seeking to undermine the United States Government, and the violent Antifa movement, both

of which are meant to intimidate, injure and (according to Antifa) kill those who support the 45th

President of the United States;

        114.     Plaintiff was defamed (slandered) by Defendants Gilhooly and Wackrow, who upon

information and belief were compensated by (1) CNN and (2) the Enterprise upon the instruction of

Hillary Clinton and laundered through her presidential campaign – and further laundered to compensate

Brock’s entities – to undertake such slander against Byrne; as noted, Gilhooly and Wackrow were

personally served with retraction notices and refused to retract, reply or reveal if they were represented

by counsel (while Brock admitted that he and his illicit Enterprise entities is/are represented by




                                                      68
               Case 1:18-cv-01422-PLF Document 1 Filed 06/15/18 Page 69 of 210




Enterprise surrogate and Perkins Coie partner Marc Elias – a certain witness in this case – and his

partners at Perkins Coie LLP);

        115.     Defendant Soros, with knowledge of the illicit Enterprise tactics and intent to damage the

Trump presidency, and to destroy Plaintiff’s business, has funded (and has stated he will continue to

fund) the Enterprise in amounts sufficient (over $100 million dollars, and likely, according to Soros,

closer to $5 billion) to plausibly accomplish Enterprise objectives and make the Enterprise among the

largest criminal conspiracies in history;

        116.     Upon information and belief, Soros is also funding, at the request of Brock and the

Enterprise, a “nonprofit” 501(c)(3) organization called “Brave New Films,” which is unconditionally

partisan and has allegedly paid individuals to claim they were “groped, fondled, forcibly kissed,

humiliated and harassed” in the past by President Donald J. Trump;

        117.     In addition to defaming Plaintiff, all defendants had and have a common illicit objective:

to prevent (at which they have obviously failed) and to destroy the presidency of Donald J. Trump, the

45th President of the United States, using the Enterprise and the predicate acts described herein – with

assistance from Mueller, Lynch, Holder, the defendant Clintons (William and Hillary), defendant

Podesta, Comey, McCabe, Strzok, Page, numerous unnamed and defendant Brock’s illicit “nonprofit”

entities;

        118.     The Enterprise, it is widely alleged (and conceded in Exhibit “A”), uses Nazi-like

propaganda in defaming others under their guise of a “truth squad”;

        119.     The Enterprise operates nonprofit institutions illegally in order to further their malignant

criminal defamation visited upon Plaintiff and the current President, to engage directly and illegally in

partisan politics, to illicitly enrich themselves and to damage other nonprofit businesses – including the

Democratic Party;



                                                      69
              Case 1:18-cv-01422-PLF Document 1 Filed 06/15/18 Page 70 of 210




       120.     The Enterprise also utilizes officials like Rosenstein to preclude the Congress from

performing their oversight role – resulting in articles of impeachment having been drafted concerning

the continuing obstruction by Enterprise surrogate Rosenstein in not producing documents under

congressional subpoena;

       121.     The Enterprise has corrupted the Democratic Party from within, both at the federal and

state level, as acknowledged by the wife of Enterprise surrogate and former FBI Director McCabe – who

met personally with Enterprise collaborator and then-Virginia Governor Terence Richard McAuliffe to

discuss Medicaid expansion in support of his wife’s political campaign for the Virginia State Senate

while McAuliffe was under criminal investigation by the FBI;

       122.     In a highly questionable quid pro quo, Enterprise collaborator McAuliffe, while he was

Virginia Governor and under investigation by the FBI for corruption, directed $467,500 to Enterprise

surrogate McCabe’s wife from “Common Good VA” (a political action committee controlled by

McAuliffe) as well as an additional $292,500 from a second Democrat-controlled PAC, while Enterprise

surrogate McCabe reported on required federal ethics forms neither these contributions received by his

wife nor hundreds of thousands of campaign funds his wife, Dr. Jill McCabe, received in her 2015

Virginia State Senate contest (and waited to file the incomplete federal ethics form, after obtaining a 44-

day extension until three days after Enterprise surrogate Comey exonerated Enterprise principal Hillary

Clinton for clearly-established espionage on July 5, 2016);

       123.     Upon information and belief, this Enterprise “truth squad” intends to illegally raise and

spend billions in U.S. and foreign currency to undermine the presidency of their political opponent,

President Donald Trump;




                                                     70
              Case 1:18-cv-01422-PLF Document 1 Filed 06/15/18 Page 71 of 210




       124.     The Enterprise seeks to end the Trump presidency through impeachment and removal

using highly partisan tactics entirely inconsistent with United States law and their nonpartisan nonprofit

legal obligations;

       125.     The Enterprise seeks to use illegal leaks of classified information “from Democrats on

House and Senate Committees” and to possess and disseminate the information in violation of federal

criminal law, e.g. espionage, in order to “weaponize opposition research”;

       126.     On Thursday, June 7, 2018, SSCI Security Director, James Wolfe, was arrested

(following indictment) and charged with making false statements to the FBI related to information he

had leaked on behalf of the Enterprise in an attempt to undermine the presidency of Donald J. Trump,

the 45th President of the United States;

       127.     The Enterprise has used illegal leaks of classified information to mendaciously attack the

President’s grown children, and Enterprise surrogates such as Comey are enabling leaks of classified

information through “friendly” third party media outlets and uncleared “legal counsel” who refuse to

reveal the sources of these espionage offenses;

       128.     The Enterprise, in order to assist Hillary Clinton win the presidency and to further the

illicit activities of the Enterprise, solicited foreign donors through the CGI and CGEP who were directly

affected/assisted by the decisions of the U.S. State Department while Hillary Clinton was Secretary of

State and thus was the decisionmaker and/or final arbiter of the corrupt result enriching countries such

as Russia and Iran – to name but a few;

       129.     The pattern of William Clinton and the Enterprise taking money from businesses and/or

individuals that owned and/or controlled entities with matters pending before Secretary Clinton –

particularly Russian - consistently continued during relevant time periods preceding and underlying this




                                                     71
               Case 1:18-cv-01422-PLF Document 1 Filed 06/15/18 Page 72 of 210




lawsuit, thus directly invoking numerous predicate acts including but certainly not limited to various

iterations of bribery;

        130.     There has existed a pattern, during the relevant timeframe of this complaint, of financial

transactions involving the Enterprise and the Clintons (and their illicit nonprofit entities) that occurred

directly contemporaneous with favorable U.S. policy decisions directly benefitting those providing the

funds – some foreign, some domestic, all corrupt;

        131.     As noted herein, the Enterprise has systematically and continuously, for over a decade,

conducted a corrupt series of operational schemes in violation of the Racketeer Influenced and Corrupt

Organization Act, using tactics such as defamation and myriad crimes – all of which are continuing in

nature – and have enabled and furthered the wrongdoing of Hillary Clinton;

        132.     The Enterprise colluded with Russia during the relevant RICO statutory period in order to

provide Russia with control of weapons grade uranium stocks from the United States and around the

world, during a period in which the Enterprise and its surrogates knew that Russian uranium stocks were

provided to rogue sovereign states North Korea and Iran and that Russia was attempting to control the

majority of such uranium;

        133.     The millions in profits from the illicit uranium “control” sales were used to further the

Enterprise activities;

        134.     Frank Giustra, a Canadian Clinton Foundation board member and CGEP partner, has

participated in Enterprise activities and has been significantly enriched thereby – while ultimately

endangering every major city within the United States (and every other part of our country) through his

willingness, and that of the Enterprise, to cede control of U.S. uranium to Russia and covert end users

Iran and North Korea;




                                                      72
              Case 1:18-cv-01422-PLF Document 1 Filed 06/15/18 Page 73 of 210




       135.     At one stage of her Enterprise misconduct, Senator Hillary Clinton pressured Kazakh

officials to consummate a transaction to grant lucrative uranium concessions to Giustra while William

Clinton concurrently instructed Kazakh officials that there would be no further meetings with Senator

Hillary Clinton until Kazakh officials approved Giustra’s uranium concession transaction – a quid pro

quo in violation of U.S. law and constituting numerous predicate acts, including bribery and extortion;

       136.     Among Giustra’s companies was UrAsia, which entered into two “Memoranda of

Understanding” formulating the agreement to transfer uranium mining assets, which Kazakh authorities

then approved as merely one aspect of the Enterprise quid pro quo;

       137.     Following the execution of the UrAsia uranium Memoranda of Understanding, Giustra

initially gave the Clinton Foundation $31.3 million and then announced a $100 million commitment –

the initial piece of many large donations Giustra would make as part of furthering his illicit support for

the Enterprise as he secured other lucrative natural resources deals in “developing” countries around the

world where the Clintons and the Enterprise had significant influence – and also in countries that pose a

direct threat to the national security of the United States;

       138.     Giustra also “promised” to reinvest half the profits from his uranium deals back into the

Clinton Foundation, thereby creating a “backdoor” to sustain the Enterprise for decades;

       139.     Unlike the Obama Foundation formed in 2017, the Enterprise back channel from illicit

activities of Defendants was/is unconstrained and without sufficient audit capability, thus creating a

grave danger to the national security of the United States;

       140.     Uranium is used militarily in nuclear weapons, and was the nuclear fusion reaction

catalyst in the first-ever use of an atomic bomb in warfare;




                                                      73
                Case 1:18-cv-01422-PLF Document 1 Filed 06/15/18 Page 74 of 210




         141.     Uranium is also used, among other aspects of its lethality, to power nuclear submarines,

i.e., the ability to undertake a nuclear attack upon the United States via delivery of a nuclear warhead by

Russia or their uranium client states such as North Korea or Iran;

         142.     Because Russia sought to facilitate a Hillary Clinton presidency – a President they could

then blackmail based upon the numerous Enterprise illegal activities – Russia was among the most

egregious violators of U.S. law in attempting to bring about a Hillary Clinton presidency through illicit

means;

         143.     Upon information and belief, when she was commissioned as Secretary of State, it

became known to Hillary Clinton that Russia sought to control an unassailable share of the global

(lethal) uranium market;

         144.     Secretary of State Hillary Clinton, early in her tenure in that Cabinet position, initiated a

“reset” with Russia and convinced President Barack Obama that improved relations with Russia were

necessary following a 2008 presidential primary contest when President Obama’s opponent referred to

Russia as “corrupt” and Vladimir Putin as “a corrupt murderer;”

         145.     Upon information and belief, President Obama was not informed at that time by

Secretary Clinton that Russia sought to control a large share of the global uranium market, nor that

profits from uranium sales would be recycled into Enterprise illicit activities;

         146.     The Russian State Atomic Nuclear Agency (“Rosatom” or “Rosatom State Atomic

Energy Corporation”) controls the Russian nuclear arsenal, and among other things is the vehicle for

covertly supplying weapons-grade uranium to Iran and North Korea;

         147.     In December, 2009, the United States Ambassador to Kazakhstan sent a classified cable

to Secretary of State Clinton at the State Department in Washington, D.C. describing in detail Russian

plans to exert control over Kazakh uranium markets;



                                                        74
              Case 1:18-cv-01422-PLF Document 1 Filed 06/15/18 Page 75 of 210




       148.     In June of 2009, Rosatom, i.e., Russia, had purchased a 17% stake in Uranium One (a

Giustra Enterprise institution);

       149.     Uranium One was, at the time of the 17% acquisition, aggressively buying uranium assets

in the United States at a rate projected to control half of U.S. uranium output by 2015 – a fact known to

William and Hillary Clinton and Enterprise surrogates Holder and Mueller;

       150.     Rosatom sought Kremlin approval of this aggressive purchase resulting in the control by

Russia of a majority of uranium assets in the United States, and the allocation of capital underlying the

purchase was personally approved by Vladimir Putin with the knowledge of Secretary Hillary Clinton;

       151.     Secretary of State Clinton, under the guise of a “Russian reset” and withholding

information from President Barack Obama, misused her official position by renewing nuclear

negotiations with Putin – a maneuver that she knew would further Enterprise objectives and enrich she

and William Clinton through the Clinton Foundation and otherwise;

       152.     Upon information and belief, the intent of Secretary Hillary Clinton and of William

Clinton, after the request and actions of Enterprise collaborator Frank Giustra, was to allow Rosatom

(and thus Russia) to purchase a controlling stake in Uranium One and a significant portion of the global

uranium market – and accepted bribes of over one hundred million dollars in pursuance thereof;

       153.     Several other multi-million-dollar Clinton Foundation donors were integrally involved in

the Rosatom (Russian) scheme to secure control (52%) of Uranium One, including Ian Telfer, the

Uranium One chairman (and a close Giustra ally and long-time colleague);

       154.     Upon information and belief, but certainly not necessary to prevail here, that Secretary

Hillary Clinton committed high crimes in her subterfuge concerning Rosatom, Uranium One, Russia,

and her knowledge that United States reserves of weapons-grade uranium could plausibly assist Iran and




                                                    75
              Case 1:18-cv-01422-PLF Document 1 Filed 06/15/18 Page 76 of 210




North Korea construct and deliver lethal nuclear weapons which now threaten all of the American

homeland and of Israel and our European allies;

       155.     The Clinton Foundation, acting on behalf of the Enterprise while Hillary Clinton was

Secretary of State, failed to disclose that Telfer, the Uranium One chairman, had provided $2.35 million

to the Clinton Foundation through a Canadian entity Telfer controlled called the Fernwood Foundation;

       156.     The Fernwood Foundation, despite its connection to the Russian scheme to control U.S.

uranium and provide it to U.S. enemies during and after the failed “Russian reset”, was not publicly

disclosed by the Clinton Foundation as a donor - fully contrary to the written promissory

correspondence (under oath and penalty of perjury) made by Hillary Clinton to the United States Senate

Committee on Foreign Relations, and her promises (and those of the Enterprise-inspired Clinton

Foundation) to President Barack Obama;

       157.     Frank Giustra, part of the Enterprise collaborative “team” and at the time a Board

Member of the Clinton Foundation, realized slightly greater than a $300 million reported personal profit

on the above-described Russian uranium deal – and, upon information and belief, far more from

Enterprise illicit profits laundered and not reported to the Canadian and U.S. authorities;

       158.     To this day, Rosatom, the Russian state-owned company, is utilizing Uranium One as

their global platform for future growth and future acquisitions;

       159.     As noted, the funding for the Uranium One acquisition by Russia was approved directly

by Vladimir Putin and the Russian Presidium;

       160.     Secretary Hillary Clinton, representing an Enterprise that could, and was intended to,

ultimately deliver to her the presidency of the United States, withheld vital information about the

“Russian reset” uranium transactions from President Barack Obama – one of a number of crucial

national security deceptions she and Enterprise surrogates Holder and Mueller inflicted upon Obama



                                                    76
              Case 1:18-cv-01422-PLF Document 1 Filed 06/15/18 Page 77 of 210




(the Commander in Chief and Chief Law Enforcement Officer of the United States) and his

administration, as well as upon the Democratic Party, a legal person as noted herein;

       161.     Because uranium is a strategic industry, and notwithstanding its lethality in the hands of

enemies such as North Korea and Iran, the Russian purchase of a Canadian company holding significant

U.S. assets required U.S. government approval – the lead agency on such approval being the

Department of State, and the lead Cabinet Member being Secretary Hillary Clinton;

       162.     The Committee on Foreign Investment in the United States (“CFIUS”), a multi-agency

review process meant to protect U.S. national security and financial interests, reviewed the Uranium

One transaction, and under CFIUS procedure and history, with foundation, inter alia, in the International

Emergency Economic Powers Act (“IEEPA”), any concern raised by Secretary Hillary Clinton about

the transaction would have necessitated a “yes” or “no” decision by President Barack Obama

       163.     Based upon the authority underlying CFIUS, and considering the well-being of the

country he then led, it is certain that Obama would have declined to approve such a perilous deal,

especially in light of the Clinton Enterprise quid pro quo, and would have been furious about being lied

to by his Secretary of State and his Attorney General Eric Holder (who also sat on CFIUS - and on his

hands - regarding the putative passage of lethal uranium to Russia, North Korea and Iran);

       164.     Secretary Hillary Clinton (and Holder) remained silent – and thus obstructed justice -

about this foreign transaction resulting in Russian control of the U.S. uranium stockpiles, despite then-

Senator Hillary Clinton’s strict opposition to an earlier United Arab Emirates transaction based upon

then-Senator Clinton’s significantly higher standard of CFIUS review for “state-controlled companies” –

thus implying intent to engage in bribery and numerous related predicate acts;

       165.     The United States Congress – from which both Hillary Clinton and Obama had recently

arrived in 2009 – raised serious national security concerns about the Uranium One transaction, citing,



                                                     77
              Case 1:18-cv-01422-PLF Document 1 Filed 06/15/18 Page 78 of 210




among other significant details, that Rosatom had assisted Iran in building its Bushehr nuclear power

plant - yet Secretary Clinton never raised any concern with her Commander in Chief, President Barack

Obama, nor with any member of the Obama administration, nor with any Member of Congress;

       166.     Perhaps the most liberal Democratic Party Congressman (now United States Senator),

Edward Markey of Massachusetts, had raised particularly serious concerns about the transaction, going

so far as the introduction of legislation not only about the sheer volume of (lethal) uranium being placed

under Russian control but stating unambiguously that “Russia continues to train Iranian nuclear

physicists [and] supply sensitive nuclear technology to Iran…”;

       167.     Following significant pressure from the Clinton State Department for approval, and

despite the grave national security risks, the Russian majority control purchase of Uranium One was

approved by CFIUS without opposition (to say the least) from Secretary Hillary Clinton or Enterprise

collaborator and U.S. Attorney General Eric Holder (who also withheld the anti-American information,

and obstruction of a law enforcement investigation, from President Obama);

       168.     During this immediate timeframe, Secretary Clinton was criminally exchanging her

CFIUS vote – in the form, inter alia, of her illicit refusal to bring the transaction directly to the attention

of President Obama and force the Commander in Chief to make a decision – for bribes and kickbacks to

the Clinton Foundation to enrich herself and her husband William and augment the Enterprise (at the

expense of the security of her country) and abet her own presidential ambitions – which if realized

would have further monetized the Enterprise;

       169.     Contemporaneously, Attorney General Eric Holder and FBI Director Robert Mueller

were aware of, but took no official action to alert Congress (after withholding crucial criminality from

their President), concerning a significant criminal racketeering investigation involving Russian state

attempts to gain a majority stock in U.S. lethal uranium;



                                                      78
              Case 1:18-cv-01422-PLF Document 1 Filed 06/15/18 Page 79 of 210




       170.     Upon information and belief, when Secretary Clinton, Attorney General Holder, and FBI

Director Mueller refused to intervene in the Russian scheme to corner the market on U.S. lethal

uranium, the Clinton Global Initiative, in collusion with the Enterprise, received more than $100 million

in pledges from donors focused on profiteering from lethal uranium sales to rogue states;

       171.     In a clear obstruction tactic intended to obscure the legal jeopardy of Enterprise

principals William and Hillary Clinton, and the Enterprise, Obama administration DoJ prosecutors, at

the instruction of Enterprise surrogate Holder and United States Attorney for Maryland (now Deputy

Attorney General) Rosenstein, knowingly contrary to DoJ Guidelines, failed to interview a vital

confidential informant, William Campbell, regarding his knowledge implicitly linking Enterprise

principals William and Hillary Clinton to Russian government intentions to obtain control of lethal U.S.

uranium (and Secretary Clinton’s CFIUS malfeasance in furtherance thereof), and more specifically his

knowledge of Rosatom wrongdoing in pursuance thereof;

       172.     The FBI in Little Rock Arkansas in December, 2017 finally interviewed William

Campbell with respect to Clinton Foundation wrongdoing with respect to Russian nuclear policy;

       173.     William Campbell was interviewed for “about five hours”, according to Campbell, in

December, 2017, by FBI agents from Little Rock, Arkansas, who were investigating whether donations

to the Clinton Foundation and Clinton Enterprise defendants in the immediate litigation were “used to

influence U.S. nuclear policy during the Obama years”;

       174.     Campbell said he was asked specifically about “whether donations to the Clintons

charitable efforts were used to influence U.S. nuclear policy during the Obama years, and that agents

questioned him extensively about claims the Russians made to him that they had routed millions of

dollars to an American lobbying firm in 2010 and 2011 with the expectation it would be used to help




                                                     79
              Case 1:18-cv-01422-PLF Document 1 Filed 06/15/18 Page 80 of 210




President Clinton's charitable global initiative while major uranium decisions were pending before

Hillary Clinton's State Department;

       175.     Campbell worked as an FBI undercover informant from 2008 through 2014 inside

Russia’s nuclear industry, helping to uncover a bribery, kickback, money laundering and extortion

scheme that sent several Russian and U.S. executives to prison.

       176.     Campbell is highly credible, even according to Enterprise surrogates Comey, McCabe

and Strzok, who authorized and paid him a $51,000 reward in 2016;

       177.     Campbell sat for a closed-door congressional interview in February 2018 by the United

States House of Representatives Permanent Subcommittee on Intelligence, whose majority believe the

criminal wrongdoing Campbell uncovered should have stopped the Obama administration (and

Secretary of State Hillary Clinton, in particular) from approving the covered transaction of the Uranium

One mining firm and billions of dollars in U.S. nuclear fuel contracts to Russia;

       178.     It has required removal of Enterprise surrogates Hillary Clinton, James Comey, Andrew

McCabe, Peter Strzok (for relevant purposes), and notably Eric Holder and Loretta Lynch before

William Campbell was allowed to give evidence against the Enterprise – raising a significant inference

of Enterprise corruption at the highest levels of United States law enforcement and inherent in the

pattern of predicate acts by their “protectee”, Enterprise principal Hillary Clinton, William Clinton,

David Brock, and related Enterprise principals;

       179.     "They were looking into the Clintons, and the information that I provided to them about

the Clintons and about what was said and confirmed by Russian leadership seemed to be very important

to them,” according to testimony Campbell provided to the FBI;




                                                    80
                  Case 1:18-cv-01422-PLF Document 1 Filed 06/15/18 Page 81 of 210




           180.     Upon information and belief, Secretary Clinton’s seditious CFIUS malfeasance was in

pursuance of a quid pro quo with Enterprise efforts to have Russia fund illicit Enterprise activities,

including those undertaken against Plaintiff, to elect Hillary Clinton;

           181.     Upon information and belief, had the Enterprise succeeded in electing Secretary Clinton

as the 45th President of the United States, the Russian SVR could have, during the entirety of her

term(s), blackmailed the second President Clinton and thus further undermined the security of the

United States of America;

           182.     As noted throughout this complaint, Secretary Clinton and Enterprise surrogate Holder

engaged in illicit obstruction of U.S. statutes by failing to inform our then-President, Barack Obama, of

the quid pro quo and the Russian intent to corner the market on U.S. lethal uranium for resale to its

client states North Korea and Iran – who have long expressed their intent to strike the United States and

Israel, and destabilize the North American and Eurasian continental zones, with enhanced nuclear

capability;

           183.     Prior to the CFIUS vote noted above, and despite assurances from Russia and the U.S.

State Department that the Russian-owned uranium would not be exported from the United States, soon

after the CFIUS vote Enterprise-controlled Uranium One announced its intent to further export U.S.

based uranium to China and India (in addition to the black market, back-channel transactions to rogue

states);

           184.     Obama administration officials such as Director of National Intelligence Dennis Blair

gave sworn testimony to Congress that, in light of the transaction, “criminally-linked oligarchs will

enhance the ability of state actors to undermine competition,” citing the “growing nexus in Russian and

Eurasian states among governments, organized crime, intelligence services and by business figures;”




                                                        81
              Case 1:18-cv-01422-PLF Document 1 Filed 06/15/18 Page 82 of 210




       185.     Blair, despite being easily confirmed in 2009, was thereafter blacklisted by the

Enterprise, and in 2010 asked to step down at the urging of Hillary Clinton and Enterprise surrogate

John Brennan prior to Enterprise surrogate James Clapper even being seriously considered for the vacant

position;

       186.     Because Secretary Clinton, representing the Enterprise and her own presidential

ambitions, allowed the Uranium One transaction to move forward, a majority of the projected American

uranium production was transferred to the control of the Russian State Nuclear Agency;

       187.     To this day, the Russian government owns Uranium One, and is presently sending upon

information and belief is sending uranium stocks to North Korea, Iran, China and Venezuela, among

other non-democratic countries that directly threaten the security of the United States of America;

       188.     The Obama administration directly and intentionally misled Congress about the export of

U.S. uranium, including but not limited to a March 21, 2011, official letter from then Nuclear

Regulatory Commission Chair Greg Jaczko on behalf of President Obama, falsely stating that “Uranium

One did not hold a specific export license and that in order to export uranium from the United States,

Uranium One … would need to apply for and obtain a specific NRC license authorizing the export of

uranium for use in reactor fuel…;

       189.     Uranium One, entirely contrary to the false representation by Jaczko, was able to export

uranium without obtaining a specific export license;

       190.     Neither the NRC, nor any other government entity (foreign or domestic) confirmed the

end user – while putative end users North Korea and Iran, among others, threaten the U.S. homeland

and the State of Israel;

       191.     Upon information and belief, the Obama administration and their Enterprise catalysts

either intentionally provided uranium to our enemies or incompetently lost track of the end use of lethal



                                                    82
               Case 1:18-cv-01422-PLF Document 1 Filed 06/15/18 Page 83 of 210




uranium after the bribery inherent in the Hillary Clinton failure to act legally with respect to the CFIUS

Uranium One covered transaction;

        192.     Upon information and belief, Iran has provided lethal uranium obtained covertly from

end-use U.S. stocks to international terrorist groups intent upon destroying Israel and permanently

destabilizing the Middle East;

        193.     Upon information and belief, recent North Korean advances in lethal nuclear weapons

that directly pose a threat to the U.S. homeland are due, at least in part, to the provision of uranium from

the Russian Federation, which also helped (and helps) sustain the Enterprise;

        194.     On November 27, 2017, the North Korean regime fired a missile that by numerous

accounts was capable of striking the east coast of the United States of America;

        195.     As recently as late September of 2017, Iranian President Hassan Rouhani has threatened

to use the Iranian uranium enrichment program against the United States, thus placing our country,

Israel and the broader Middle East at an exponentially greater risk of a weaponized and lethal nuclear

Iran;

        196.     Supreme leader of North Korea Kim Jong-Un has threatened to launch nuclear missiles

against the U.S. homeland, using lethal uranium obtained in part from Russia;

        197.     The Enterprise has thus enabled our most vile and dangerous enemies within the “Axis of

Evil” to strike the U.S. homeland and threaten the annihilation of Israel, Tokyo, most of India, and other

key members of the United Nations;

        198.     Upon information and belief, the Enterprise aided and abetted Russia’s plan to secure

U.S. government approval of Russian SVR control of billions of dollars in U.S. lethal uranium and

uranium reserves;




                                                     83
              Case 1:18-cv-01422-PLF Document 1 Filed 06/15/18 Page 84 of 210




       199.     At the time the Enterprise succeeded in securing U.S. approval of Russian acquisition of

U.S. lethal uranium, the Enterprise also aided and abetted Rosatom’s U.S. subsidiary (controlled by

Enterprise associate Russia), which was engaged in a similar yet distinct racketeering enterprise

involving extortion, fraud, and money laundering, all of which are felonies and fit clearly within the

pattern of related predicate acts brought to bear against Plaintiff and other Enterprise “enemies”;

       200.     Enterprise collaborator Robert Mueller (then FBI Director), knew of and did nothing

about the aiding and abetting of the subsidiary of Rosatom/Russia - nor did Attorney General Eric

Holder, despite his ability to do so;

       201.     Soon after it became clear that Secretary Hillary Clinton favored the Rosatom (Russian)

uranium transaction without conditions, and that she withheld information concerning the illicit

transaction from President Obama, William Clinton, representing the unlawful Enterprise and its goal of

a future Hillary Clinton presidency (and greedily seeking millions of dollars for his family, including

Secretary Clinton, and their lifestyles), was paid $500,000 for one speech in Moscow by a company,

Renaissance Capital, run by a Russian FSB officer from Lubyanka Square known widely for its intimate

ties to Vladimir Putin;

       202.     In conjunction with the Enterprise, and contemporaneous with CGI profiteering in

exchange for Secretary Clinton’s unlawful CFIUS activity, William Clinton insisted upon meetings in

Russia with Rosatom board member Arkady Dvorkovic, the top aide to then-Russian President

Medvedev, in order for the Enterprise to gain currency (estimated in the hundreds of millions of dollars

and future relations into perpetuity) from Russia in the form of a quid pro quo, in exchange for control

of U.S. uranium;




                                                    84
              Case 1:18-cv-01422-PLF Document 1 Filed 06/15/18 Page 85 of 210




       203.     William Clinton’s paid speechmaking activity and significant profits for the Enterprise

increased exponentially, particularly overseas, during the period that foreign persons paying William

Clinton were seeking political favors and related illicit assistance from Secretary Hillary Clinton;

       204.     Enabling the control and transfer of American uranium stocks to countries seeking to

harm the United States in direct exchange for significant cash payments constitutes treason, particularly

when the Enterprise participants sought to place Secretary Hillary Clinton in the White House as the 45th

President of the United States – which would have placed her in a position to be consistently

blackmailed and extorted by Russia and the individual Russians controlling that country;

       205.     U.S. Nuclear Regulatory Commission officials in November, 2017, admitted that

uranium had been exported from the United States to the “Asian continent” for enrichment, and neither

the NRC, nor any other government entity (foreign or domestic) confirmed the end user – while

putative end users North Korea and Iran threaten the U.S. homeland and the State of Israel;

       206.     A lobbying company, APCO Worldwide Inc., was paid over $3 million during 2010-

2011 by a Russian company to facilitate lethal uranium transfers whose former top executive was the

target of an FBI investigation led by FBI Director Robert Mueller, Attorney General Eric Holder, and

then United States Attorney Rod Rosenstein - the sole purpose of the “lobbying”, which was never

revealed by Mueller or Holder, or Rosenstein, who led the investigation, was to advocate before U.S.

regulatory agencies on behalf of the Russian Federation;

       207.     APCO Worldwide, an American company, while being paid millions by the Russian

Federation, also illegally provided pro bono services to the Clinton Global Initiative (“CGI”) to help

facilitate the transfer of lethal uranium to our enemies, thus enriching the Enterprise and the Clintons

with millions of dollars in free labor;




                                                    85
              Case 1:18-cv-01422-PLF Document 1 Filed 06/15/18 Page 86 of 210




       208.     The FBI (then directed by Enterprise surrogate Robert Mueller) and the Obama

Department of Justice (led by CFIUS member and Enterprise surrogate Holder), as well as the

responsible United States Attorney, Rosenstein, all Enterprise surrogates, knowingly possessed evidence

that Rosatom was engaged in criminal behavior at the time that Russian companies were receiving

favorable decisions from the CFIUS “lead agency” (led by Secretary Clinton);

       209.     William Clinton, in conjunction with the Enterprise, grifted “investment” in Uranium

One to bring millions of dollars into CGI coffers, line his family’s pockets and further Enterprise goals

and objectives as set forth herein;

       210.     Eyewitness accounts and numerous documents show definitively that William Clinton

demanded - on behalf of the Enterprise and Hillary Clinton, and received through CGI, during the time

that Secretary Hillary Clinton was the lead agency representative on CFIUS and should have but did not

duly scrutinize the Uranium One transaction by direct contact with Obama - a favorable outcome for

Russia on control of U.S. uranium and tens (if not hundreds) of millions of dollars to the CGI –

constituting bribery and potential treason;

       211.     Enterprise surrogates Mueller and Holder refused to intervene and also refused to

interview Russian lobbyist APCO Worldwide - despite their known role in Hillary Clinton Enterprise

wrongdoing;

       212.     Both William and Hillary Clinton were aware of these Russian Federation SVR covert

sleeper agents assuming false identities and posing as U.S. citizens;

       213.     William Clinton demanded a meeting with then - Prime Minister Putin and requested that

Putin and President Medvedev provide over $150 million to the Clinton Foundation in an attempt to

illicitly enable a(nother) Clinton presidency – which Russia knew the SVR would be able to blackmail at

will – and to threaten and destroy “enemies” of the Enterprise;



                                                    86
              Case 1:18-cv-01422-PLF Document 1 Filed 06/15/18 Page 87 of 210




       214.       Contemporaneously, the Clinton State Department (most notably Enterprise surrogates

Huma Abedin and Cheryl Mills) approved numerous William Clinton speeches worth tens of millions of

dollars to CGI;

       215.       The SVR sleeper agents were paid from Russian foreign intelligence budgets;

       216.       The SVR used false travel documents with the assistance of the U.S. State Department to

meet in the United States with anti-U.S. agents;

       217.       The SVR sleeper agents, by design, worked closely in proximity to the Chappaqua estate

of William and Hillary Clinton during the period when Hillary Clinton was Secretary of State – for most

of this time, Secretary Clinton was living in a separate Clinton estate in Washington, D.C. and William

Clinton was living in the Clinton Chappaqua estate, both of which were indirectly paid for by illicit

Enterprise profits;

       218.       The Enterprise knew during all aspects of the CGI activity that SVR sleeper agents were

operating to undermine the national and economic security of the United States;

       219.       An American contract employee of Tenex/Tenem, a subsidiary of Rosatom, agreed to

become an informant to the United States;

       220.       Despite the Tenex/Tenem contract employee, William Campbell, becoming an informant,

this informant was illicitly “silenced” (not allowed to speak publicly about Tenex and Russian

wrongdoing vis-à-vis U.S. security) by Enterprise surrogates Comey, Mueller and Holder, among others;

       221.       Related to the above, the FBI informant from the Rosatom subsidiary Tenex was

“silenced” from providing the details of the Enterprise activity with the SVR – such “silencing” was

coordinated with U.S. Attorney General Holder and FBI Director Mueller;

       222.       The Tenex informant evidence of CGI-Rosatom-Uranium One corruption also raises the

inference that Hillary Clinton had a deeply inappropriate relationship with the Russian SVR/FSB during



                                                     87
                 Case 1:18-cv-01422-PLF Document 1 Filed 06/15/18 Page 88 of 210




her tenure as Secretary of State, which was emboldened, advanced and fostered in the run up to the U.S.

presidential contest of 2016;

          223.     Further, the former undercover informant says he provided evidence to the FBI during

President Obama’s first term that Russia was assisting Iran’s nuclear program even as billions in new

U.S. business flowed to Moscow’s uranium industry (as a result of Enterprise sedition and bribery);

          224.     William Douglas Campbell, the informant, provided (and will further provide in this

litigation) evidence including, but not limited to, that Russia was intercepting nonpublic copies of

international inspection reports on Tehran’s nuclear program and sending equipment, advice and

materials to a nuclear facility inside Iran;

          225.     Campbell has provided (and will provide) evidence that Russian nuclear executives

involved in the Enterprise scheme were extremely concerned that Moscow’s ongoing assistance to Iran

might undermine their winning of billions of dollars in new nuclear fuel contracts inside the United

States.

          226.     “The people I was working with had been briefed by Moscow to keep a very low profile

regarding Moscow’s work with Tehran,” Campbell will testify.

          227.     Campbell will also testify that “Moscow was supplying equipment, nuclear equipment,

nuclear services to Iran. And Moscow, specifically the leadership in Moscow, were concerned that it

would offset the strategy they had here in the United States if the United States understood the close

relationship between Moscow and Tehran.”

          228.     The Enterprise, and primarily Secretary Hillary Clinton and William Clinton, assisted the

Russians in covering up the Iranian end use of nuclear technology as part of the ongoing Enterprise

scheme involving Tenex and Uranium One;




                                                       88
              Case 1:18-cv-01422-PLF Document 1 Filed 06/15/18 Page 89 of 210




       229.     Campbell’s FBI debriefings show he reported in 2010 that a Russian nuclear executive

was using “the same kind of payment network” to move funds between Russia and Iran as was used to

launder kickbacks between Moscow and Americans;

       230.     Campbell worked from 2008 to 2014 as an undercover informant inside Rosatom,

Russia’s state-controlled nuclear giant, while posing as a consultant, where he directly assisted the

Mueller/Comey FBI put several Russian and U.S. executives in prison for a bribery, kickback, money

laundering and extortion scheme;

       231.     Campbell said he became convinced the United States was providing favorable decisions

to the Russian nuclear industry in 2010 and 2011 — clearing the way for Moscow to buy large U.S.

uranium assets and to secure billions in nuclear fuel contracts — even as he provided evidence of

Russia’s assistance to Iran;

       232.     Upon information and belief, Enterprise principals and surrogates at the Obama DoJ and

FBI illegally conspired in covering up such evidence, thereby obstructing justice in multiple ways;

       233.     In 2012, FBI agents asked Campbell to pressure a top Russian nuclear executive about

the Iran assistance, providing a list of detailed questions, knowing the Russians would be suspicious

about Campbell’s inquiries and terminate him from his consulting job, which the Russians did in fact

immediately do – thereby furthering the Enterprise conspiracy to obstruct justice and enrich the

Enterprise through bribery, related predicate acts, and potential treason;

       234.     The FBI conspiratorial activity was meant to undermine U.S. national security, a fact

known at various times to Enterprise surrogates Eric Holder, Robert Mueller, James Comey and Loretta

Lynch – and directed from the outset by Enterprise principal Hillary Clinton;

       235.     Neither Mueller, Holder nor Rosenstein – then the presidentially-appointed, Senate-

confirmed United States Attorney from Maryland running the Tenex/Tenem case – has/have taken any



                                                     89
              Case 1:18-cv-01422-PLF Document 1 Filed 06/15/18 Page 90 of 210




action to unveil the cover up of the Clintons attempts to provide additional lethal uranium to Russian

control and the concomitant bribery that the Enterprise enabled;

       236.     Upon information and belief, with the knowledge of the Enterprise, the Russian SVR

provided $145 million to the Clinton Foundation contemporaneous with the official actions of Secretary

Clinton and Enterprise surrogates and otherwise without explanation;

       237.     The Justice Department has now launched a new inquiry into the Clinton Foundation

pay-to-play politics and other illegal activities while Hillary Clinton served as secretary of State, and

FBI agents from Little Rock, Ark., where the Foundation was started, have taken the lead in the

investigation examining the various ways in which the Clintons promised or performed policy favors in

return for largesse to their charitable efforts and when donors made commitments of donations in hopes

of securing government outcomes, and how tax-exempt assets were converted for personal or political

use and whether the foundation complied with any applicable tax laws, as well as the myriad methods by

which donors to Clinton charitable efforts received favorable treatment from Obama administration

government decisions, including evidence to be used in this lawsuit concerning discussions of donations

to Clinton entities during the time Hillary Clinton led President Obama's State Department;

       238.     Current Deputy Attorney General Rosenstein, previously involved directly in the Tenex

“conspiracy of silence,” has to this day not pursued Enterprise misfeasance, including that of Holder,

Mueller or Hillary Clinton;

       239.     The Congress of the United States has not been permitted to appropriately explore the

Tenex matter or the Fusion GPS money laundering (other than now knowing that the Enterprise-backed

Hillary Clinton campaign was responsible for the Fusion GPS “Trump dossier” funded by the DNC

through Enterprise surrogate Elias) and related offenses due to, among other things, Rosenstein’s

obstruction, and that of Mueller and Holder – who by their acts and omissions have assisted Secretary



                                                     90
              Case 1:18-cv-01422-PLF Document 1 Filed 06/15/18 Page 91 of 210




and President Clinton, upon information and belief, in enabling Russia to provide U.S. uranium to North

Korea and Iran;

       240.     Fusion GPS, an Enterprise surrogate and contractor, was paid tens of millions of dollars

by Hillary Clinton’s campaign and George Soros, via the lawyer for the Hillary Clinton campaign Marc

Elias (who was also the lawyer for the DNC, the illicit Brock entities at issue here, defendant Brock,

defendant Podesta. and upon information and belief, the Enterprise itself – as well as the Obama

presidential campaign which paid Fusion to conduct opposition research through Perkins Coie LLP) to

smear candidate Donald Trump and those supporting him by commissioning at least one (and plausibly

several) fake “Trump dossier(s)” through oblique payments to foreign powers – primarily rogue former

British agent Christopher Steele and his Russian SVR and/or FSB sources – for the purpose of assisting

Hillary Clinton become President and destroying anyone, e.g., Officer Gary Byrne, opposing this

Enterprise critical path to accomplishing their RICO scheme;

       241.     Nellie Ohr, the wife of corrupt Enterprise surrogate Bruce Ohr (who until recently being

placed under investigation, and prior to being demoted at the United States Department of Justice for

corruptly concealing his meetings with Fusion GPS, was among the highest-ranking officials at DoJ

reporting to DAG Rod Rosenstein) served as a Russian specialist at Fusion GPS utilized to undermine

presidential candidate Donald J. Trump with funding provided by Defendants George Soros and Hillary

Clinton (through the 2016 presidential campaign);

       242.     Bruce Ohr – who served as the illicit cut-out between the FBI and Christopher Steele

after the FBI terminated its formal relationship with Steele – failed to disclose the source of his wife’s

income on line 4 of his office government ethics forms by not including the ‘name of the employer.'”

       243.     That law provides that whoever knowingly and willfully fails to file information required

to be filed on this report faces civil penalties up to $50,000 and possible criminal penalties up to one



                                                     91
               Case 1:18-cv-01422-PLF Document 1 Filed 06/15/18 Page 92 of 210




year in prison under the disclosure law and possibly up to five years in prison under 18 USC §1001,” he

said.

        244.     Since Bruce Ohr lists his wife’s income type as ‘salary’ as opposed to line 1 where he

describes her other income as ‘consulting fees’ as an ‘independent contractor’ it’s clear that she was

employed by a company that should have been identified by name”.

        245.     Bruce Ohr also did not get a conflict of interest waiver from his supervisors, suggesting

that he may not have explained to anyone the true source of the income and how it intersected with his

official involvement in the case, nor did he have approval-“[F]alsification of information required to be

filed by section 102 of the [Ethics in Government Act of 1978] may also subject you to criminal

prosecution” as well as “civil monetary penalty and to disciplinary action by your employing agency”;

        246.     The lack of disclosure is but one of numerous examples of Enterprise principals,

surrogates and participants attempting to conceal the financial relationship that Fusion GPS, which was

funded by the DNC and Hillary Clinton campaign and George Soros and laundered through Perkins

Coie LLP, with the illicit support of the family of the corrupt DOJ official Bruce Ohr;

        247.     In Fusion GPS founder Simpson’s November 2107 interview before the United States

House of Representatives, Simpson intentionally omitted his relationship with Nellie Ohr, portraying

Bruce Ohr as someone who Simpson was connected to independently;

        248.     In Simpson’s statements to investigators (covered by false statement criminal liability

intended to obstruct justice), the following was asked: “You’ve never heard from anyone in the U.S.

Government in relation to those matters, either the FBI or the Department of Justice?”, to which

Simpson falsely (by omission) and intentionally responded: “I was asked to provide some information

… by a prosecutor named Bruce Ohr,” he said. Investigators said, “Did Mr. Ohr reach out to you?” “It

was someone that Chris Steele knows … and I met Bruce too through organized crime conferences or



                                                     92
              Case 1:18-cv-01422-PLF Document 1 Filed 06/15/18 Page 93 of 210




something like that … Chris told me that he had been talking to Bruce … and that Bruce wanted more

information, and suggested that I speak with Bruce,” Simpson said. The Nellie Ohr omissions constitute

false statements and clear obstruction of justice by Enterprise surrogate Glenn Simpson;

       249.     Simpson also said his firm was not affiliated with any Russian speakers, even though

Nellie Ohr speaks the language with some degree of fluency; further, in addition to meeting with

Simpson, Ohr also met with Steele before the election;

       250.     In an earlier Aug. 22, 2017, interview with the Senate Judiciary Committee, Simpson

didn’t mention either of the Ohrs by name; rather, he said he had not met with any FBI officials about

the matter, without noting his contact with the DOJ official.

       251.     Simpson suggested in court records on December 12, 2017, that the only way

government investigators could have found out about Nellie Ohr’s relationship with the company was

through its bank records - “Bank records reflect that Fusion contracted with Nellie Ohr, a former

government official expert in Russian matters, to help our company with its research and analysis of Mr.

Trump. I am not aware of any other sources from which the committee or the media could have learned

of this information,” he said, falsely and with intent to obstruct justice;

       252.     Nellie Ohr’s specialty was “Russia,” and she was hired to undermine private citizen

Donald J. Trump, Sr. – according to an affidavit filed by Fusion GPS senior partner and co-founder

Glenn Simpson;

       253.     Upon information and belief, the Enterprise and Fusion GPS, through Elias and Perkins

Coie LLP, tasked Nellie and Bruce Ohr (a high-ranking DoJ official) to work with their contacts in the

Russian SVR, and with other foreign nationals such as Christopher Steele, and elsewhere, to help bring

the fake “Trump dossier” to fruition;




                                                      93
              Case 1:18-cv-01422-PLF Document 1 Filed 06/15/18 Page 94 of 210




       254.     Among other things, the corrupt husband and wife Ohr affiliation with Fusion GPS was

specifically intended to bribe Obama DoJ official Bruce Ohr to instigate investigations of President-elect

(and thus, still private citizen) Donald J. Trump with respect to an otherwise bogus “collusion”

investigation involving the Trump campaign;

       255.     Among others, Nellie Ohr collaborated with the Russian SVR, and her husband Bruce

Ohr with Russian SVR contact Christopher Steele, in promoting the veracity, for “intelligence

gathering” purposes, e.g., to intentionally mislead the Foreign Intelligence Surveillance Court, of the

fake dossier – thereby exposing Bruce Ohr to criminal charges for misleading an Article III officer, and

to espionage for providing classified foundational information gleaned in the course of his high-level

DoJ duties to the Russian SVR - which was paid for and directed by Enterprise surrogate Elias and the

Enterprise in order to falsely delegitimize Trump and assist the presidential campaign of Hillary Clinton

       256.     Senator Lindsey Graham (R-SC) of the Senate Judiciary Committee, states that Nellie

Ohr “did the research for Mr. Steele” (thus, Nellie Ohr’s exact activities is a significant Russian-

American disinformation campaign);

       257.     The Obama FBI, led by Enterprise surrogates Comey, McCabe and Strzok, worked in

tandem with Fusion GPS, an admitted Democratic Party adherent known for its work for Putin and

Russia, and intentionally colluded with John Brennan and James Clapper in order to assist the Enterprise

elect Hillary Clinton as the 45th President of the United States;

       258.     Enterprise seditious tactics, by way of example, involved Brennan involvement in the

false Brennan/Clapper Enterprise narrative of and payment to Professor Joseph Mifsud, characterized as

a “Russian” intelligence asset in mainstream media, who actually worked for British intelligence

alongside disgraced former MI6 officer Christopher Steele and was among those that the Enterprise




                                                     94
              Case 1:18-cv-01422-PLF Document 1 Filed 06/15/18 Page 95 of 210




attempted to utilize to entrap Plaintiff – who is believed to be referenced frequently in the missing

Hillary Clinton private server e-mails;

       259.     Newly uncovered evidence, which culminates in the legal conclusion that the United

Kingdom, and its intelligence apparatus, corresponding by back-channel with their counterparts in the

United States (Brennan and Clapper) is partially responsible for the development of the “Trump-Russia

narrative”;

       260.     Mifsud, according to the Enterprise narrative concocted by Brennan, discussed that

Russia has information about Clinton in the form of emails [previously thought destroyed after residing

on Clinton’s private unsecure email server] with “Trump advisor” George Papadopoulos in London in

April 2016, but also “dangled” the emails to several others – including through surrogates Stefan Halper

and a small team compensated by the Enterprise and the Obama Defense Department;

       261.     The following month, Papadopoulos spoke with Alexander Downer, Australia’s

ambassador to the United Kingdom, about the alleged information about Clinton while they were

drinking at a Kensington (London) pub – it then follows, according to the Enterprise/Brennan account,

that in late July 2016, Downer shared his false tip with Australian intelligence officials (who presumably

rely upon Brennan and Clapper to sustain their southern hemisphere SIGINT) who forwarded it to the

Enterprise surrogates Comey, McCabe and Strzok (and his paramour Page) at the FBI;

       262.     Instead of pursuing this lead concerning Clinton e-mails, the FBI soon thereafter shut

down (“spiked”) the Clinton private email server investigation and prepared Enterprise surrogate

Comey to exonerate Clinton – thereby obstructing justice;

       263.     Key surrogates in the Enterprise then proceeded to mislead the FISC and private citizen

Donald Trump, Sr., prior to his inauguration as the 45th President of the United States, concerning the

origins of a counterintelligence investigation against the Trump campaign and the extraordinary failure



                                                    95
              Case 1:18-cv-01422-PLF Document 1 Filed 06/15/18 Page 96 of 210




to consider relevant evidence prior to spiking the Clinton private server investigation (and obstruction as

to the Clinton Foundation investigation) – as both Clinton investigations should have been augmented

rather than downgraded/ended;

       264.     Enterprise obstruction of justice permitted two well-founded investigations to be spiked,

simply because those in positions to make decisions concerning the investigations of the Clinton e-mail

server (espionage) and Clinton Foundation (various corruption noted herein) at the time favored Hillary

Clinton in the 2016 presidential contest;

       265.     Christopher Steele, who worked as a British MI-6 officer in Moscow until 1993 (where

he disgraced his country when a key Russian asset he was running was assassinated) and ran the Russia

desk at MI6 Headquarters in London between 2006 and 2009, assisted the Enterprise in attempting to

defeat Donald Trump, well above and beyond the false dossier he provided to the FBI before being

terminated by the Bureau for leaking information to the media along with then-FBI General Counsel

James Baker;

       266.     Steele, as noted throughout, produced the “salacious and unverified” and unsubstantiated

‘Steele Dossier’ of Trump-Russia allegations, with funding for the fake dossier provided by the Clinton

campaign with intent to ultimately mislead the FISC and swing the U.S. presidential election for

Secretary Clinton;

       267.     Robert Hannigan, the head of British spy agency GCHQ, shared ‘director-to-director’

level intelligence with then-CIA Chief John Brennan as Brennan attempted to gather derogatory

information and spread disinformation intended to assist Hillary Clinton win the presidency;

       268.     UK intelligence services, through Hannigan, fabricated evidence of collusion in order to

create the appearance of an improper Trump-Russia connection – which was in turn used by Enterprise

surrogates Brennan and others within the U.S. Intelligence Community to create a mosaic of



                                                    96
              Case 1:18-cv-01422-PLF Document 1 Filed 06/15/18 Page 97 of 210




misinformation to improperly initiate the underlying “cause” for use of the FBI and misuse of the FISA

process;

       269.     Without this improper initiation, which was directly correlated to the Obama FBI

“tanking” the Hillary Clinton espionage investigation and the Clinton Foundation corruption

investigation in the lead-up to the contrived FBI “Mid-Year Exam”, the Enterprise would not have been

able to operate against Trump as a viable entity –

       270.     As it stands, the Enterprise is stronger than ever in its attempts to undermine the

government of a President who has been duly certified as the victor in the 2016 Electoral College;

       271.     This British cooperation with the Clinton/Enterprise initiative involves Mifsud, the

Maltese scholar and (doubled from Russia) agent of Great Britain, who was utilized by the UK and

Brennan to further the initial narrative which eventually was used to mislead the FISC on several

occasions;

       272.     The unverified “dossier” compiled by Steele and paid for by the Clinton campaign was

unduly corroborated by journalists – at least one of whom accepted leaked classified information from

the SSCI while engaging in a romantic relationship with the SSCI Director of Security – a series of

occurrences being investigated currently for ties to what are described herein as Enterprise malfeasance;

       273.     Mifsud has admitted his “close affiliation” with the Clinton Foundation and numerous

former MI-6 officers;

       274.     Mifsud has also been closely tied, it has been discovered, with defendant Soros and was

plausibly rewarded by the Enterprise for his willingness to “dangle” the missing Clinton e-mails on

behalf of Brennan, Clapper, Hannigan and, ultimately, the Clinton campaign;

       275.     United States Senator Charles Grassley (R-IA), the Chair of the United States Senate

Committee on the Judiciary, as well as that committee’s ranking member Senator Diane Feinstein (D-



                                                     97
              Case 1:18-cv-01422-PLF Document 1 Filed 06/15/18 Page 98 of 210




CA) and several committees of the U.S. House of Representatives, have inquired (or are inquiring) as to

whether Enterprise surrogates, pursuant to this series of events, have also committed crimes, some

sounding in sedition and treason, against the United States similar to those allegedly committed by

William and Hillary Clinton;

       276.     Feinstein also engaged in behavior believed to be in support of the Enterprise, whether

wittingly or unwittingly, through the leaks engaged in by her former staff, e.g., SSCI Staff Director

Daniel Jones (a current Enterprise collaborator working currently with Soros and Fusion GPS to

undermine the 45th President), and a subsequent Enterprise cover story attempting to implicate executive

branch personnel in their criminal behavior, including but not limited to obstruction of justice as set

forth herein;

       277.     Enterprise surrogate Loretta Lynch, after being threatened by William Clinton in the well

- known “tarmac” meeting in Arizona, intentionally impeded the investigation/indictment of Hillary

Clinton, with assistance (and political cover) from Enterprise surrogate Comey who, along with the

corrupt FBI team of McCabe and Strzok, many months earlier had improperly and unilaterally decided

that Hillary Clinton would not be charged for espionage prior to even interviewing Ms. Clinton and her

direct Enterprise surrogates;

       278.     Comey initially obstructed justice (as part of his pattern of obstructing justice) by

intentionally changing the appropriate standard under which Hillary Clinton should have been charged

under 18 U.S.C. §793 – and did so several months in advance of actually interviewing Hillary Clinton or

other Enterprise surrogates (16 in all), and in advance of improperly agreeing to grant (and then not

withdraw) immunity to/from witnesses like Enterprise surrogates Mills and Abedin, both of whom

concededly lied under oath about Secretary Clinton’s illegally-used email server upon which classified

information was intentionally placed;



                                                     98
                 Case 1:18-cv-01422-PLF Document 1 Filed 06/15/18 Page 99 of 210




          279.     Comey further obstructed justice in unilaterally (and rather oddly) deciding that Hillary

Clinton “not be charged” for any of her criminal activity, in conjunction with the Enterprise – again

months prior to even interviewing Hillary Clinton and other Enterprise surrogates about alleged felony

espionage and related wrongdoing by her/them, and contrary to FBI line agents on the case

recommending that Hillary Clinton be charged with espionage;

          280.     Enterprise surrogate Lynch enabled and then covered up this Comey criminal activity,

including but not limited to the putative espionage charges recommended by line FBI agents against

Hillary Clinton;

          281.     The obstructionist role of Enterprise surrogate Lynch is similar to that of Enterprise

surrogate Holder, who failed, deliberately, to expose Hillary Clinton’s role in Uranium One and related

sedition, and thus intentionally enabled CFIUS to approve the control of lethal uranium stocks by

Russia;

          282.     According to Victoria Toensing, the attorney for FBI informant William Campbell who

was among those prepared to expose that Russian nuclear and SVR officials engaged in bribery,

kickbacks, money laundering, and extortion in their attempt to corner the United States uranium market

prior to Hillary Clinton enabling Russia to do so, the informant was later threatened and extorted by

Enterprise collaborators within the Lynch Justice Department if that informant “didn’t keep quiet during

the 2016 presidential election”;

          283.     Despite the knowledge of Mueller, Holder, Comey and Lynch about this Russian crime

prior to the uranium transaction that personally netted the Enterprise and the Clintons extraordinary ill-

gotten gains, and in addition CGI hundreds of millions of dollars, and likely passed lethal uranium to

covert end-users North Korea and Iran, Toensing stated that the informant was threatened that if he




                                                        99
            Case 1:18-cv-01422-PLF Document 1 Filed 06/15/18 Page 100 of 210




didn’t dismiss a lawsuit exposing the information during the 2016 campaign, “his reputation and liberty

[would be] in jeopardy”;

       284.    The Enterprise wrongdoing has bordered on sedition and treason and involved a culture

of corruption, as noted, inter alia: 1) The Enterprise politically weaponized the federal government’s

electronic intelligence capabilities, and violated both law and United States Constitution, to

surreptitiously surveil a presidential candidate (and private citizen), Donald J. Trump, and his campaign;

2) Colluded with the enemy, including Russian SVR intelligence agents, rogue ex-British agents, e.g.,

Steele,, and political opposition research firms within the United States like Fusion GPS (and countless

others of their ilk), laundering monies through a law firm (Perkins Coie) in order to “preserve the

privilege” through the unethical (and likely illegal) actions of Marc Elias (counsel for the Clinton

campaign, DNC, democratic operative David Brock and his numerous partisan “nonprofit” entities,

among others) in order to assure a Hillary Clinton victory in the 2016 presidential contest and to

manufacture evidence later used as false pretext – with the assistance of disgraced FBI leadership James

Comey, Andy McCabe and Peter Strzok, for securing Foreign Intelligence Surveillance Court (FISA)

warrants(s)/orders that employed the national security laws of the United States to give illicit, illegal

cover to this political espionage; 3) Used the “fruit” of this political espionage activity to damage Trump

after he had become president-elect and eventually president of the United States - through surreptitious

releases of the criminally-procured information; 4) Fabricated and instigated false allegations about

foreign state collusion implicating the president’s election campaign and family members, when in fact

the “collusion” (as cross-referenced between the constitutional bribery standard and the federal statutory

bribery provisions) existed in illegally exonerating Hillary Clinton and close surrogates for espionage;

and 5) Used a Human Confidential Source team to approach Plaintiff and several persons who actually




                                                     100
             Case 1:18-cv-01422-PLF Document 1 Filed 06/15/18 Page 101 of 210




were affiliated with the Trump campaign, manipulating and abusing the investigatory and prosecutorial

powers of Obama holdover Department of Justice personnel;

          285.   The Mueller-Holder collusion was, in and of itself, improper in nature, as the actors in the

corruption, bribery and money laundering involved Mueller-Holder intentionally substandard

investigations into Vadim Mikerin, Rosatom, Tenex, Uranium One, the Russian SVR, CGEP and CGI;

          286.   As late as January of 2018, the Mueller-Holder obstruction, and undue pressure upon

Assistant United States attorneys to “slow-walk” the case, delayed indictments in the Tenex/Tenem

action;

          287.   At any time, the Enterprise surrogates could have, but did not, sought FISC intervention

despite the known relationship of corrupt judge Rudolph Contreras;

          288.   It has recently been made part of the ever-expanding evidence trove in this case that the

Australian “diplomat” (Alexander Downer), whose “tip” in 2016 was used as Enterprise cover to

instigate the Russia-Trump investigation, previously arranged one of the largest foreign donations to Bill

and Hillary Clinton’s charitable efforts;

          289.   Former Australian Foreign Minister Alexander Downer’s role in securing $25 million in

aid from his country to help the Clinton Foundation is documented in decade-old government memos

archived on the Australian foreign ministry’s website – and will be entered into evidence in this case;

          290.   Bipartisan sources in Congress confirm that the FBI didn’t tell Congress about Downer’s

prior connection to the Clinton Foundation, and are concerned the new information means nearly all of

the early evidence the FBI used to justify its election-year investigation of Donald Trump came from

sources supportive of and/or funded by the Clintons/Enterprise, including the wholly unverified and

putatively false Steele dossier;




                                                     101
           Case 1:18-cv-01422-PLF Document 1 Filed 06/15/18 Page 102 of 210




       291.       As noted, upon information and belief, members of the Hillary for America campaign for

president, who also served (and serve) as legal counsel for Brock and the Enterprise, colluded with the

Russian government as Russia sought a Clinton victory in furtherance of their blackmail plot/stratagem

against Hillary Clinton - and putatively meet the statutory standard to be considered an “agent of a

foreign power”;

       292.       Despite the Clinton-Russian SVR collusion, neither Mueller nor Holder have actively (or

otherwise) investigated the reputed criminal sedition of Hillary Clinton;

       293.       Upon information and belief, the Enterprise attorneys referenced above were ignorant

that Russia supported their presidential campaign so that the SVR (the Russian intelligence service)

could blackmail Hillary Clinton if she had become the president and extort further “favors” from her and

the Enterprise;

       294.       Secretary Hillary Clinton granted favors to foreign sovereigns, and pulled strings on their

behalf – most notably Russia – as well as companies around the world in return for donations and other

support of the Enterprise and her own wealth and political fortunes (including the destruction of her

enemies like Officer Gary Byrne);

       295.       Enterprise surrogate James Comey used what he knew to be Russian SVR/FSB

(mis)information in order to abuse FBI investigative authority – including threatening the 45th President,

Donald J. Trump, with the Russian misinformation contained within the fraudulent “Trump dossier”

prepared by Christopher Steele and the Russians at the direction of Enterprise principals (Hillary

Clinton), the presidential campaign of Hillary Clinton, and surrogates (including their lawyers who

laundered currency to pay foreign nationals to defame Trump and, before him, Byrne) and Enterprise

principals such as the Clintons, Brock, Podesta, and myriad others complicit with their broad band of

dubious surrogates and participants;



                                                      102
            Case 1:18-cv-01422-PLF Document 1 Filed 06/15/18 Page 103 of 210




       296.    The Enterprise, and in particular Hillary Clinton and her campaign chairman John

Podesta, directly and in a strictly partisan fashion coordinated to use nonprofit donations, laundered to

and from Brock and his illicit entities, to solicit and remunerate private citizen partisans to concoct false

stories about political opponents and “enemies” (such as they did to Plaintiff Gary Byrne), with direct

intent to politically harm candidate Donald J. Trump, Sr.;

       297.    Defendant John Podesta’s brother, Tony Podesta, violated U.S. law in coordination with

John Podesta in assisting the Enterprise and the Russian FSB/SVR, and not reporting this representation

for many years;

       298.    Stephen Rademaker, a lobbyist for the (Tony) Podesta Group and a former senior NSC

official under William Clinton and George H.W. Bush, violated his retained security clearance and

assisted the Enterprise, in his illicit lobbying for foreign agent Uranium One while the covered

transaction was being brokered with Russia with the assistance of Secretary Hillary Clinton and, upon

information and belief, her subsequent presidential campaign manager, John Podesta, among numerous

others cited herein;

       299.    Hillary Clinton, in the context of a government investigation, and in addition to

obstructing justice by and the through the use of a private e-mail server, made manifold false statements

to the Congress and to the Federal Bureau of Investigation (and others) concerning, among other things,

the various predicate acts set forth herein, thus extending the reach and scope of the Enterprise and

otherwise obstructing multiple other official inquires;

       300.    On behalf of the Enterprise, Hillary Clinton, and Enterprise surrogate Cheryl Mills,

instructed an Enterprise contractor to “wipe” – with the use of sophisticated software known as

“Bleachbit”- thousands of putative inculpatory Hillary Clinton e-mails; the destruction of the emails

themselves (because they have been compelled by congressional subpoena) is a felony for each email,



                                                     103
            Case 1:18-cv-01422-PLF Document 1 Filed 06/15/18 Page 104 of 210




and in addition constitutes a count of obstruction of justice for each email destroyed – for each Clinton

attorney or other corrupt person involving in the “wiping”;

       301.    The Enterprise conspiracy to obstruct justice and engage in bribery was inherent in

Enterprise activities, also notable among David Brock and his web of illicit nonprofit fraud (and

defamation to obstruct investigations) in violation of myriad federal laws – and use of these partisan

institutions to defame and injure Plaintiff in furtherance of such obstruction;

       302.    William and Hillary Clinton, in order to conceal Enterprise illicit activities, while Hillary

Clinton was Secretary of State and otherwise, illegally used a private e-mail server to surreptitiously

communicate official and classified government information, and to communicate with the Enterprise

participants involved in the presidential campaign activities supporting Hillary Clinton – included within

these illicit communications, upon information and belief, were numerous electronic mail

correspondences regarding Plaintiff Gary Byrne;

       303.    It is a felony each time anyone communicates classified information on a private e-mail

server, which Hillary Clinton and Enterprise surrogates Huma Abedin and Cheryl Mills (as conceded by

server creator Justin Cooper, and Hillary Clinton herself), did (many) thousands of times – and in

particular in order to obstruct justice by concealing Enterprise wrongdoing;

       304.    It is a felony under United States law each time anyone destroys e-mails relevant to a

criminal investigation, which Hillary Clinton did or instructed others to do (many) thousands of times

with assistance from attorneys, as well as Mills and Abedin - and in particular in order to obstruct justice

by concealing Enterprise wrongdoing;

       305.    It is a felony each time someone lies under oath to Congress or the Justice department, or

even if not under oath lies to Congress or the Justice Department, which Hillary Clinton, Abedin and

Mills have done in order to obstruct justice by concealing Enterprise wrongdoing;



                                                    104
           Case 1:18-cv-01422-PLF Document 1 Filed 06/15/18 Page 105 of 210




       306.    Hillary Clinton and certain surrogates destroyed thousands of Enterprise emails

implicating Correct the Record and David Brock in defaming Plaintiff Gary Byrne, as well as emails

containing classified information and criminal misconduct by the Enterprise in the midst of a tainted

criminal investigation of Hillary Clinton;

       307.    Enterprise surrogate James Comey decided he would not seek to encourage the United

States Attorney General to pursue criminal prosecution of Hillary Clinton, despite the fact he knew Ms.

Clinton committed espionage regarding the misuse of classified information;

       308.    Contemporaneously, Hillary Clinton utilized at least thirteen (undisclosed) mobile

electronic devices to communicate classified information and instructions to, inter alia, defame Plaintiff

Gary Byrne on behalf of the Enterprise and to obstruct justice by covering up Enterprise wrongdoing;

       309.    Any demonstrable, i.e., real, investigation of Hillary Clinton and Enterprise activity

would definitively conclude not only espionage but also instructions to and from the Enterprise actors to

defame Officer Gary Byrne;

       310.    On this basis alone, the Enterprise and Hillary Clinton committed thousands of felony

offenses, destroyed evidence under subpoena, and thereby obstructed justice – albeit a mere fraction of

their overall Enterprise criminal scheme exposure;

       311.    Recent statements to Congress by former Obama administration official Charles

McCullough, who served as the Inspector General for the multi-agency U.S. Intelligence Community

(managed by Obama administration Director of National Intelligence (“DNI”) James Clapper), notes

that Enterprise surrogate Clapper was confronted by McCullough (with corroboration provided by the

State Department Inspector General) with respect to the danger to national security of Secretary

Clinton’s private e-mail server;




                                                     105
            Case 1:18-cv-01422-PLF Document 1 Filed 06/15/18 Page 106 of 210




       312.    Enterprise surrogate Clapper, instead of receiving and acting upon the imminent danger

to national security (as Clapper was obligated to do), threatened McCullough’s “family and [his] office

[of Inspector General]” – thereby obstructing justice through threats in the constant, collaborative

attempt to elect Hillary Clinton as president, destroy her enemies and cover up her previous Enterprise

wrongdoing;

       313.    McCullough has been threatened by both a presidentially-appointed, Senate-confirmed

Enterprise surrogate, Clapper – and further threatened (along with similar threats to the State

Department Inspector General) with “termination on Day One” had Secretary Clinton prevailed in the

2016 presidential general election – simply for alerting Clapper that highly-classified emails from and to

Secretary Clinton were being passed through and thus resided upon an unsecure server which was likely

hacked by more than one foreign power, which presented (and still presents) a danger to the national

security of the United States – either as obstruction or espionage if the Enterprise principals and

surrogates knew the hackers could readily obtain classified information in this fashion;

       314.    Upon information and belief, one foreign power in possession of the Clinton emails from

her unsecure server was/is Great Britain;

       315.    The above-described malfeasance by Enterprise surrogate Clapper directly mirrors his

illegitimate refusal to conduct – along with Enterprise surrogates Strzok and Brennan – a national

security damage assessment concerning the Clinton private server illegal storage of classified

information and the contemporaneous breach of the private server by foreign powers (thereby further

obstructing justice);

       316.    McCullough was informed by senior Members of the United States Senate – during a

briefing to them concerning violations of the espionage statute by Hillary Clinton and Enterprise

principals and surrogates – that despite “roomfuls” of evidence against Clinton for espionage, high-level



                                                    106
            Case 1:18-cv-01422-PLF Document 1 Filed 06/15/18 Page 107 of 210




Democrats were “out to get” McCullough, thus causing him fear for his livelihood and his life in light of

the similarly-expressed fears of interim DNC Chair Donna Brazile that the Clintons might “harm or

have killed” those who “crossed them”;

       317.    Treason, as noted and well known to the Enterprise, is a federal crime, without any clear

statute of limitation, set forth at 18 U.S.C. § 2381, and carries penalties ranging from five years in prison

(and fines) to the penalty of death, for those “owing allegiance to the United States [and] … giving aid

and comfort [to U.S. enemies]…”;

       318.    Treason is also a federal crime which renders the guilty “incapable of holding any office

under the United States” – and is both statutory and constitutional in nature;

       319.    The Hobbs Act, 18 U.S.C. §1951 (governing extortion) would not prevent Enterprise

participants so convicted of holding such office but also applies directly to the illegal long-term

activities of the Enterprise and of William and Hillary Clinton, their co-defendants, surrogates and

participants in Enterprise wrongdoing;

       320.    Bribery generally (not as defined in the RICO statute itself, which is simple to prove

against Hillary and William Clinton, and the Enterprise) is defined by Black’s Law Dictionary as the

offering, giving, receiving, or soliciting of any item of value to influence the actions of an official or

other person in charge of a public or legal duty;

       321.    The federal statutory bribery provision, as described herein, 18 U.S.C. §201, is an

indictable offense and imposes criminal penalties of 15 years in federal prison and fines of three times

the monetary equivalent of the “thing of value,” in addition to possibly disqualifying the offender from

holding “any office of honor, trust, or profit under the United States” – similar to the statutory treason

provisions described herein;




                                                     107
            Case 1:18-cv-01422-PLF Document 1 Filed 06/15/18 Page 108 of 210




        322.    Bribery is not mutually exclusive from, and can be charged and/or alleged in addition to,

the myriad other similar serious crimes and predicate acts (of which bribery is prominent here) that the

Enterprise and their surrogates have expertly committed or co-conspired to commit and which are

described more fully herein;

        323.    Enterprise corruption in Haiti, for instance, where in exchange for a $5 million

contribution William Clinton provided lucrative speeches in Ireland, in concert with an Irish grifter who

was awarded mobile phone contracts by the Clinton Foundation which resulted in the Irishman, Denis

O’Brien, realizing approximately $300 million per year following the earthquake that left Haiti a shell

of its former self;

        324.    Haiti was a prime target for Enterprise graft, and Hillary and William Clinton used

surrogates such as Cheryl Mills and Huma Abedin to engage in and further the Enterprise scheme in

order to take undue advantage of Haiti to enrich and invest in the Enterprise and strengthen the

presidential chances of Hillary Clinton;

        325.    The Enterprise failed in its mission to deliver the U.S. presidency to Hillary Clinton, but

after Hillary Clinton was defeated, the Enterprise continued its mission – now that mission is to destroy

the presidency of Donald Trump (and presumably anyone with the audacity to support the President);

        326.    Just as the Enterprise defamed and destroyed the business of Plaintiff here, the Enterprise

and their surrogates on a daily basis defame(s) and, based upon their conceded goals in Exhibit “A”

hereto, seeks to undermine and ultimately end the presidency of the 45th President of the United States;

        327.    The Enterprise pressured surrogates in government who favored a Hillary Clinton

presidency to employ illegal tactics, including but not limited to use of the lesser probable cause

standards codified in the Foreign Intelligence Surveillance Act to run surveillance against Trump and

further their illicit scheme(s);



                                                    108
            Case 1:18-cv-01422-PLF Document 1 Filed 06/15/18 Page 109 of 210




       328.    The Obama administration Director of the Central Intelligence Agency, Director of

National Intelligence, and Director of the Federal Bureau of Investigation, among others, intentionally

failed to “minimize”, and then utilized, highly classified content from surveillance to illegally

undermine the civil rights of United States citizens, for partisan purposes, including but not limited to

those in Trump Tower, New York City, United States of America;

       329.    On October 31, 2016, (roughly contemporaneous with the Enterprise/Clinton campaign

funding and use of a fake “dossier” meant to, inter alia, serve as foundation for a lower probable cause

standard of another FISA “warrant” to illegally surveil United States citizens, including , upon

information and belief, private citizens aligned with the presidential campaign of Donald J. Trump, Sr.),

members of the Obama administration, including but not limited to surrogates of the Enterprise such as

James Comey, James Clapper, John Brennan, and other Enterprise surrogates, had concluded that

“Russia’s effort was aimed at disrupting the [2016] election rather than assisting in the election of Mr.

Trump”;

       330.    When the 2016 presidential election was certified in favor of Mr. Trump, the Enterprise

surrogates altered their illicit strategy and falsely claimed (and to this day claim) – with the false

narrative driven by the above Enterprise surrogates, as well as surrogates at the FBI such as Peter Strzok

and Andrew McCabe, the corrupt former Deputy Director of the FBI under Comey – that the Russian

Federation “disrupted the [2016] election in order to assist Mr. Trump”;

       331.    Outgoing CIA Director John Brennan, at the behest of the Enterprise, unambiguously and

deceitfully stated that President-elect Trump directly conspired with Russia – a claim that Enterprise

surrogate Brennan knew (and knows) to be utterly untrue – knowing that Hillary Clinton would have

been subject to blackmail for the pendency of her (failed) presidency for, inter alia, Russian (and other)

bribes made to her family and the Clinton Foundation;



                                                     109
            Case 1:18-cv-01422-PLF Document 1 Filed 06/15/18 Page 110 of 210




         332.   At least one of several fabricated “dossier(s)” was surreptitiously provided to the media

by the FBI, at the request of the Enterprise (who funded the Steele “dossier” at the instruction of Hillary

Clinton, George Soros, John Podesta and with the assistance of Perkins Coie partner Marc Elias),

sprinkling more false information publicly claiming the hapless Russians had “blackmailed” the

President-elect by “threatening” to release stories of Trump’s predilection for “golden showers” and the

equally “salacious and unverified” (to say the least) claim that the Trump campaign had somehow

“colluded” with Russia (presumably to cause Hillary Clinton to vastly underperform in Wayne County,

Michigan, Dane County, Wisconsin and Philadelphia County, Pennsylvania) – such “collusion” has

been disavowed by congressional oversight committees and Special Counsel Robert Mueller;

         333.   Hillary Clinton instructed her campaign lawyer Marc Elias (of the Perkins Coie law firm)

to pay Glenn Simpson of Fusion GPS to assemble the fake “dossier” utilizing a disgraced British

intelligence agent colluding with contacts within the Russian SVR/FSB – with assistance in funding

from defendant and Enterprise principal George Soros and his consigliere defendant and Enterprise

principal David Brock;

         334.   Attorney General Lorretta Lynch was an integral surrogate of the Enterprise, and was

threatened by (and then offered a job by) Enterprise leaders William and Hillary Clinton, causing Lynch

to obstruct justice and otherwise block the ongoing criminal investigation and inevitable indictment of

Hillary Clinton;

         335.   Lynch and other Enterprise surrogates committed myriad predicate (and related) acts,

including but not limited to numerous forms of obstruction of justice, to undermine Plaintiff Gary

Byrne;

         336.   Former FBI Director James Comey, an Enterprise surrogate, who was apparently

“concerned” with Russian intelligence service activity in the 2016 presidential campaign, intervened on



                                                    110
              Case 1:18-cv-01422-PLF Document 1 Filed 06/15/18 Page 111 of 210




behalf of the Enterprise and in furtherance of its obstruction of justice involving a private, non-encrypted

e-mail server controlled by William and Hillary Clinton that over many years transmitted classified

information in strict violation of federal criminal law – in particular in violation of the espionage statutes

at 18 U.S.C. §§793, et seq. – despite knowledge of Russian hacking of the unsecure email server over

which Hillary Clinton sent (to those not authorized to have it) and received classified information;

       337.     At the request of Enterprise participant Justin Cooper (and the knowledge of Enterprise

surrogate Brian Pagliano), the United States Secret Service also investigated the “theft of information”

of/from defendant Clinton Foundation – in particular from an unsecure server installed and used at the

Clinton mansion in the hamlet of Chappaqua during 2011;

       338.     An inference of a higher level of intent to commit espionage can be gleaned from Hillary

Clinton and the Enterprise proceeding to place classified information on a knowingly-hacked server,

thereby inviting Russian interests to “retrieve their benefit of the bargain” by simple cyberespionage

techniques;

       339.     Comey also enabled the Enterprise in obstructing justice and destroying tens of thousands

of classified e-mails and Enterprise e-mails involving Plaintiff Gary Byrne;

       340.     Obstruction of justice by Enterprise surrogates protected and furthered the prospects of

Hillary Clinton to become President of the United States, as set forth below and herein;

       341.     Enterprise surrogates Holder and Mueller, knowing that Congress (and in particular then

Representative Edward Markey (D-Massachusetts)), were attempting to block the Uranium One CFIUS

transaction, covered up the dangerous deal – despite Holder’s role as a CFIUS principal;

       342.     Enterprise surrogate Robert Mueller discovered evidence that Russian “officials”,

conspiring with the SVR, routed “millions of dollars” to the U.S. to be sent illegally to the Clinton




                                                     111
           Case 1:18-cv-01422-PLF Document 1 Filed 06/15/18 Page 112 of 210




Foundation when Hillary Clinton was serving as Secretary of State and was the lead agency official on

CFIUS;

       343.    With respect to the foregoing, neither Holder nor Mueller ever informed Congress or the

President (Obama) of the national security and economic security risk of the deal - both of whom

(Congress and Obama) were supposed to be informed of the interstices of the covered transaction, while

Holder (Mueller’s titular supervisor at the Department of Justice) served as a principal member of

CFIUS;

       344.    Both Holder and Mueller were in putative violation of several felony commissions (and

omissions) sounding in RICO;

       345.    CFIUS relies upon the “lead agency” (which in the case of Uranium One was the

Department of State) to bring forth any concerns with the transaction;

       346.    Had Hillary Clinton and the Department of State raised any such concerns, e.g., Russian

control over large stocks of uranium in light of the widely-known Russian operation to control much of

the world’s uranium, then the matter would be investigated to the maximum extent possible and, in light

of the clear concerns to U.S. national security, would be briefed to the President (Obama) immediately;

       347.    Neither Mueller nor Holder raised (1) the underlying Tenex concerns; nor (2) the known

Clinton Foundation conflict regarding Giustra and Uranium One; nor (3) the obvious counterintelligence

concern with Secretary Clinton now subject to blackmail/extortion by the Russians, and because she was

compromised, her inability to make this or other future decisions regarding Russia in the interest of the

United States; nor (4) in the absence of the compromised Secretary Clinton stepping forward, and in

addition to alerting President Obama with respect to the tainted covered transaction, some assessment of

“compliance with U.S. and multilateral nonproliferation and export control regimes in order to assure

that the proposed [covered] transaction will not impair national security”;



                                                   112
            Case 1:18-cv-01422-PLF Document 1 Filed 06/15/18 Page 113 of 210




       348.    The Mueller/Holder transgressions, largely adopted by Comey/Lynch upon Mueller and

Holder vacating their positions, are abundantly apparent to this day, as the corrupt senior FBI

counterintelligence senior manager Peter Strzok and former FBI Deputy Director Andrew (“Andy”)

McCabe sought to improperly exonerate Hillary Clinton of espionage (and other crimes) in both

Strzok’s lead role in the Hillary Clinton “investigation” (supervised by Enterprise surrogates and Strzok

co-conspirators Comey and Andy McCabe);

       349.    Strzok and Andy McCabe also violated U.S. law in McCabe and Comey allowing Strzok

to participate in the interrogation and, tangentially, grand jury proceedings of former National Security

Advisor General Michael Flynn;

       350.    Upon the appointment of Mueller as “Special Counsel” to investigate “Russian

interference in the 2016 presidential election,” Special Counsel Mueller and Rosenstein (who appointed

him as Special Counsel) refused to inform Congress for several months about terminating Strzok’s role

in the Special Counsel’s investigation when clearly biased anti-Trump emails from Strzok to his

paramour, FBI attorney Lisa Page, which also discussed how Strzok and McCabe might “insure” a

Clinton victory against Trump (or “insure” that President Trump be unduly “impeached” based upon

Strzok malfeasance), were “discovered” – ostensibly during the course of another investigation being

conducted by the Inspector General of the United States Department of Justice;

       351.    Strzok, Page and McCabe have been implicated in the Enterprise scheme to illegally

exonerate Hillary Clinton for espionage prior to and with respect to the Mid-Year Exam, the

obstructionist malfeasance of Enterprise surrogate Comey of July 5, 2016, and the shocking obstruction

involved in spiking the Hillary Clinton espionage and Clinton Foundation espionage and, as noted

herein, use of wires and the mails to implicate private citizen Donald J. Trump, Sr., including but not

limited to the falsification of FBI investigatory 302 reports and perjury;



                                                    113
            Case 1:18-cv-01422-PLF Document 1 Filed 06/15/18 Page 114 of 210




       352.    McCabe also was found to have “lacked candor” under oath before Congress, leading, in

part, to McCabe’s March 16, 2018, termination from the FBI and from the federal government – and

McCabe’s imminent indictment;

       353.    On behalf of the Enterprise, McCabe leaked highly sensitive law enforcement

information to the media with the specific intent to prevent and then injure the presidency of Donald J.

Trump, Sr. – yet another justification for the termination of the employment of McCabe;

       354.    Enterprise surrogate McCabe also admits he placed pressure upon Deputy Attorney

General Rosenstein to appoint a Special Counsel, which resulted in the suspicious appointment of the

deeply-conflicted Mueller and the subsequent Rosenstein threats to subpoena private communications of

Members of Congress and their staffs;

       355.    Enterprise surrogates McCabe and Strzok (and numerous others) will testify before the

United States Congress and a grand jury (or multiple grand juries) about their putative wrongdoing prior

to discovery commencing in this lawsuit – thereby providing additional evidence of wrongdoing which

has injured plaintiff in his reputation and business;

       356.    Special Counsel and Enterprise surrogate Mueller impeded numerous parallel

investigations, e.g., both Houses of Congress, by withholding the announcement of Strzok’s partisan

obstruction, including that with respect to co-conspirator Comey in colluding with Strzok and McCabe

to illicitly exonerate Hillary Clinton and Enterprise surrogates for espionage – including but not limited

to improperly granting immunity in order to obstruct justice, with the imprimatur of surrogate Lynch, to

Clinton co-conspirators and Enterprise surrogates Abedin and Mills, among others, and clearly

obstructing justice by illicitly altering the appropriate charges for what Secretary Clinton actually did

(under the 18 U.S.C. §793 espionage standard, she was found to be “grossly negligent”) to a false

narrative covering up Clinton’s actions months before Strzok, McCabe and Comey allowed Hillary



                                                        114
           Case 1:18-cv-01422-PLF Document 1 Filed 06/15/18 Page 115 of 210




Clinton to be “interviewed” without an oath being administered (for alleged espionage, no less) and

Hillary Clinton’s co-conspirators and Enterprise surrogates to be provided with immunity from

prosecution based upon a highly questionable determination of privilege;

       357.      As part of the Enterprise operational patter, the biased, partisan Strzok plainly obstructed

justice when he “interviewed” Enterprise principal Hillary Clinton on July 2, 2016, along with

“interviewing” numerous Enterprise surrogates at the instruction of Comey (Mills, Abedin, along with

fellow surrogates Jake Sullivan and Heather Samuelson) – none of whom has been charged with

anything after allegedly committing espionage and related national security offenses and making

documented false statements in the context of a federal investigation in order to obstruct that

investigation;

       358.      In furtherance of the Strzok-McCabe-Comey conspiracy in support of the Enterprise,

Comey improperly failed to seek the convening of a grand jury and then, on his own accord, deemed

that “no reasonable prosecutor” – apparently those he (wrongly) considers beneath himself – would

prosecute Hillary Clinton for her espionage and related crimes (such as making false statements and

massive destruction of evidence in order to obstruct an investigation);

       359.      Fusion GPS partner Glenn Simpson, and his firm, was/were provided tens of millions in

cash by Enterprise principals and surrogates in 2016 – some laundered from the “Obama for America”

accounts – to create and “legitimize” derogatory and defamatory information concerning candidate

Trump, including working with Enterprise and FBI payee/source (and disgraced British official)

Christopher Steele of OBI – who in return relied upon information provided by Russian intelligence;

       360.      Simpson was/is not merely a political mercenary paid by the Enterprise to collaborate

with the Russian SVR/FSB, but in addition was (and is) compensated by Enterprise surrogates and




                                                     115
           Case 1:18-cv-01422-PLF Document 1 Filed 06/15/18 Page 116 of 210




reimbursed by George Soros and David Brock without adequate attribution upon Internal Revenue (tax)

returns;

       361.    Enterprise surrogate Fusion GPS has a close and continuing transactional relationship

with the Democratic Party and the Russian SVR/FSB, and has engaged in bribery concerning Enterprise

surrogate Bruce Ohr and his wife, Nellie Ohr;

       362.    At least three of the individuals who were sent by Fusion GPS to meet with Donald

Trump, Jr. at Trump Tower on June 9, 2016 – Soviet counterintelligence officer Rinat Akhmetshin,

Russian “lawyer” Natalia Veselnitskaya, and Russian interpreter Anatoly Samochornov – have close and

continuing ties to Fusion GPS dating to at least 2015;

       363.    United States Department of Justice senior official (Associate Deputy Attorney General)

Bruce Ohr assisted Fusion GPS, and in return was paid (through compensation to his wife, at the very

least) to both assist the Enterprise, DNC and Fusion GPS with ongoing wrongdoing, and thus was the

recipient of bribes in furtherance of obstruction of numerous ongoing investigations, when his wife

Nellie Ohr (a “Russia expert”) was paid to work on “anti-Trump” matters at Fusion GPS – Bruce Ohr

was also involved in the extraordinary and illegal FISA abuse in misleading this court into issuing a

FISA order against a rival of Hillary Clinton and the Enterprise operational scheme;

       364.    Bruce Ohr is under federal investigation, but has been retained in his employment by

Enterprise (holdover) surrogates within the DoJ;

       365.    Fusion GPS founder Glenn Simpson was with the Russian “lawyer” Veselntskaya (a

Russian Intelligence contract operative) on June 9, 2016, on the day Simpson knew she was to meet with

Trump, Jr. (the Russian “lawyer” and Simpson were in the federal district court for the Southern District

of New York in Manhattan prior to the Trump, Jr. meeting) and then peculiarly met after the Trump, Jr.

meeting – so that the Russian “lawyer” could inform Simpson (of Fusion GPS, which was being paid



                                                   116
            Case 1:18-cv-01422-PLF Document 1 Filed 06/15/18 Page 117 of 210




millions of dollars laundered through the Enterprise scheme) what transpired at the Trump, Jr. meeting –

which Simpson denied and thus further obstructed justice through false statements;

       366.    Contemporaneous with the “set up” by Fusion GPS of Donald J. Trump, Jr., Enterprise

surrogate Elias, the Perkins Coie lawyer, was paying (with cash supplied by Soros and Brock) Fusion

GPS, and Fusion GPS in turn paying former “British” counterintelligence officer Christopher Steele to

produce the fake “Trump dossier” in concert with Steele’s contacts in the Russian SVR/FSB – again,

Simpson later perjured himself before Congress with respect to his knowledge of the foregoing and

further obstructed justice thereby;

       367.    Fusion GPS, George Soros and Steele, on behalf of the Enterprise and in addition to

relying upon the Russian SVR/FSB to collude with them to produce a sham “Trump dossier”, paid

unethical American journalists bribes to spread the utterly false narrative that there was “collusion”

between the Trump “campaign” and Russia – many of these unethical journalists bribed by Fusion GPS

and the Enterprise, and others such as “Hillary Clinton hatchet man” Cody Shearer, disgraced attorney

Jonathan Winer and Enterprise surrogate Sidney Blumenthal, compiled false and defamatory dossiers

against Plaintiff and private citizen Donald J. Trump, Sr., which was turned over to the corrupt FBI

Enterprise surrogates in order to “corroborate” the false information Simpson and the Enterprise had

gained from bribing other journalists, DoJ officials, and Soviet intelligence in order to ultimately

mislead an Article III federal judge sitting in deliberation over a FISA “warrant” regarding

Enterprise/Hillary Clinton political opponents:

       368.    Although evidence is classified and/or in the possession of the Department of Justice

concerning illicit Fusion GPS and their laundering operations on behalf of the Enterprise, it is known

that Fusion GPS, with the intent to obstruct justice and engage in money laundering in support of the

Enterprise, commingled (1) money received from the Russian SVR and FSB; and (2) information



                                                    117
            Case 1:18-cv-01422-PLF Document 1 Filed 06/15/18 Page 118 of 210




received from the Russian SVR and FSB, in order to bribe American “journalists” to plant false

“collusion” stories, and with the assistance of Soros and John Podesta, bribed Bruce and Nellie Ohr to

construct a false narrative involving but not limited to at least one fake “dossier” about a private U.S.

citizen who would become the eventual 45th President of the United States and other political opponents

of Hillary Clinton and the Enterprise, such as Officer Gary Byrne;

       369.    Article III District Judge Amy Berman Jackson of this Court is currently reviewing legal

arguments by the Mueller Special Counsel team which, as applied to the Enterprise activities of

defendant John Podesta, would determine that Podesta’s numerous felony violations of the Foreign

Agents Registration Act (FARA) as the sort of activity that would form the foundation for myriad

money laundering charges by the enforcement agencies of the United States;

       370.    According to the progressive daily The Hill, based upon the dependence of Fusion GPS

upon the elite counterintelligence service of Russian President Putin, there is “a good case to be made

that Fusion GPS (and thus Marc Elias and his clients Hillary Clinton, her campaign Hillary for America,

the DNC and David Brock) colluded with the Russians (and the Enterprise) more than anyone else”;

       371.    Upon the instructions of the Enterprise, Fusion GPS made secret cash payments from

Soros and Hillary for America to “journalists” employed by “mainstream” left-leaning media outlets,

laundered through the DNC, Brock and possibly Elias – a highly unethical practice which becomes

illegal when neither Fusion GPA, nor the paid “journalist”, report the laundered cash transaction on their

corporate (outgoing) or incoming tax return(s) – which constitutes a series of felonies each time it

occurs/has occurred;

       372.    Fusion GPS also planted with a bribed “journalist”, Franklin Foer, a false story on

October 31, 2016, in which it was deceptively claimed that there had been “secret communications”

between Donald J. Trump’s business and a Russian bank, Alfa;



                                                    118
            Case 1:18-cv-01422-PLF Document 1 Filed 06/15/18 Page 119 of 210




        373.    In the planted Foer article, the bribed “journalist” both falsely corroborated the integrity

of the findings of “Crowdstrike, Inc.,” a cybersecurity technology company which had been paid by the

Enterprise to attribute the earlier-referenced DNC “hack” to Russia, and also contrived a litany of other

“suspect” Trump campaign actions that implied “collusion” between the Trump campaign and Russian

state interests – both utterly false;

        374.    Marc Elias, the Enterprise lawyer from Perkins Coie, assisted Fusion GPS, John Podesta,

Hillary Clinton, George Soros and the Enterprise in paying for Russian SVR/FSB disinformation;

        375.    Hillary Clinton utilized Russian misinformation to assist her presidential campaign and to

enrich herself and the Clinton Foundation – while contemporaneously committing numerous predicate

acts in violation of RICO with the assistance of the Enterprise and its principals, surrogates, and

participants;

        376.    DNC interim chair Donna Brazile, appointed to audit various activity in relation to the

Democratic Party nominating process being definitively “rigged” in Secretary Clinton’s favor, has

openly and notoriously described such Enterprise activities as a “cancer” on the Democratic Party due to

myriad wrongdoing of Enterprise acts and the Enterprise scheme to make Hillary Clinton president at all

costs – and has stated that she feared for her life for being perceived as “crossing” the Clintons (a clear

allusion to Clinton/Enterprise murder for hire);

        377.    Brazile, who uncovered illicit activity during a DNC audit necessitated by Enterprise

surrogate wrongdoing, implied that she feared that William and Hillary Clinton (and by extension the

Enterprise) would have her murdered – she noted that “I knew many had died crossing the Clintons and

wondered would I be writing my own suicide note [by revealing Enterprise malfeasance]”;




                                                     119
            Case 1:18-cv-01422-PLF Document 1 Filed 06/15/18 Page 120 of 210




       378.    The Enterprise, not unlike other criminal syndicates, upon information and belief utilize

tactics such as murdering those who “cross” them, as feared by DNC Chair Donna Brazile and Plaintiff

Gary Byrne with relation to Hillary and William Clinton;

       379.    Brazile’s conclusions indicate, upon information and belief, that the DNC party

organization was operated as an Enterprise money laundering front, and that the nonprofit corporate

entity known as the Democratic Party was criminally corrupted thereby – including, incredibly,

extortion under the threat of murder for hire;

       380.    Enterprise infiltration by the fraudulent Enterprise has resulted directly in Democratic

Party systemic criminal corruption – a cancer that has metastasized within this nonprofit entity;

       381.    Enterprise surrogate Hillary for America, including but not limited to its leadership, e.g.,

defendant and Enterprise principal John Podesta, Enterprise surrogate and outside legal counsel Marc

Elias, and Hillary Clinton confidant and Enterprise surrogate Huma Abedin, on November 4, 2017,

wrote an “open letter” attacking Donna Brazile for revealing the putative Clinton pattern of implied

murder for hire and related intimidation, and criticizing Brazile for suggesting that as DNC Chair she

considered replacing Secretary Clinton on the Democratic ticket due to health concerns – a concern

conceded only months earlier when defendant John Podesta during the Democratic Party primary

contest discouraged defendant Brock from disseminating a(nother) fake dossier Brock had compiled

concerning the health of Bernie Sanders while Sanders was challenging Hillary Clinton for the

Democratic Party nomination – a primary that the Enterprise “rigged” in favor of Hillary Clinton;

       382.    Although the referenced “open letter” blames everyone and everything (except

themselves) for Secretary Clinton’s Electoral College defeat, it is well documented by David Brock

himself (when he earlier in his career sought to destroy the Clintons) that William and Hillary Clinton

ran a syndicate (including alleged predicate acts as part of a pattern of racketeering) for nearly 40 years



                                                    120
           Case 1:18-cv-01422-PLF Document 1 Filed 06/15/18 Page 121 of 210




(including but not limited to the 10-year RICO period relevant here) prior to Hillary Clinton being

defeated by the individual who is now the 45th President of the United States;

       383.     Brazile has now adequately documented, and has responded to, the racist tactics of the

Enterprise and its above-noted surrogates against Brazile for having the courage to tell the truth and

expose the Clinton syndicate through, among other things, the actual documents that Democratic Party

officials drafted, coordinated and approved ceding full power to the 2016 Clinton campaign for party

spending, as well as illegal kickbacks from and cash payoffs to state Democrat officials;

       384.     Notwithstanding the Clinton murder for hire threat, Enterprise-like money laundering

was omnipresent, according to Brazile, and documented by her discovery of a “Joint Fund-Raising

Agreement between the DNC, the Hillary Victory Fund, and Hillary for America” – all of whom Elias

represented;

       385.     Brazile also implies, along with like-minded liberals, that DNC staff employee Seth Rich

was murdered for his role in offering evidence of DNC wrongdoing to a third-party (or otherwise

“whistleblowing” against the DNC) – Brazile, however, offers no evidence that DNC outside attorneys

from Perkins Coie (or anyone else, other than a reference to the Clintons being a threat to her life) was

involved in the murder of Seth Rich to cover for the Crowdstrike claim that the DNC hack was not an

“inside job”;

       386.     Award winning journalist Seymour Hersh contends that Seth Rich had made contact with

“WikiLeaks” prior to Rich’s murder; Hersh also contended that Rich had concerns about something

happening to him, and had shared information within a “Dropbox” (computer software used for storage

and retrieval of information) with trusted associates/friends in case anything happened to him;

       387.     Hersh has cited multiple intelligence community sources on background concluding that

the entire “Russia collusion” story was a fiction invented by leadership within the U.S. Intelligence



                                                    121
            Case 1:18-cv-01422-PLF Document 1 Filed 06/15/18 Page 122 of 210




Community (and Enterprise surrogates) who lied about President Trump, and lied to President Obama

and the media – adding to the controversy around the alleged “Russian hack” of DNC servers;

        388.    As additional evidence is gathered in discovery of lawsuit(s) brought by the family of

Seth Rich concerning, inter alia, whether (or not) the DNC was “hacked” by the Russians, it will be

included in the information alleged by Brazile against her colleagues in the Democratic Party –

including but not limited to the FBI obstruction of justice in not seizing the “hacked” DNC servers;

        389.    The “Joint Agreement” intended by the Enterprise to rig the Democratic primary was

executed/signed by Amy Dacey (the CEO of the DNC) and Robby Mook (the head of Hillary Clinton’s

campaign), with a copy to Marc Elias – and specified that in exchange for raising money and “investing”

in the DNC, Hillary Clinton (and thus the Enterprise) would “control the party’s finances, strategy, and

all the money raised” (an apparent appellation for laundering funds without compunction);

        390.    The Joint Agreement had been signed in August of 2015, nearly a year before Secretary

Clinton secured (i.e., rigged) the Democratic nomination, and had been drafted and coordinated by Elias

and his Enterprise team for many months prior to that – this action by Elias was of course prior to

Secretary Clinton even announcing her intent to seek the democratic nomination;

        391.    The Enterprise scheme to rig the democratic nomination through bribery, kickbacks from

State political parties, and the laundering of these proceeds, is consistent with and provides a plausible

inference of a clear Enterprise pattern of racketeering – which in case of fact has never been in dispute;

        392.    It is entirely implausible that senior members of the Clinton campaign - including the

“hands on” candidate herself and the campaign lawyer (Marc Elias) who wrote checks for many millions

of dollars (at least $12 million) to Fusion GPS to compile a false dossier based on Russian SVR/FSB

disinformation - did not intentionally assist the Enterprise in all of its illicit objectives, including but not

limited to defaming and destroying the business of Officer Gary Byrne;



                                                      122
            Case 1:18-cv-01422-PLF Document 1 Filed 06/15/18 Page 123 of 210




       393.    The two sources relied upon by Steele, Fusion GPS and the Enterprise (Hillary Clinton,

John Podesta, David Brock and Marc Elias) – known as “Source A” and “Source B” - were allegedly

high-ranking officials in the Russian SVR, establishing thereby that the Enterprise principals and Fusion

GPS (along with the bribed DoJ official, Bruce Ohr), with (conservatively) tens of millions in financial

backing from George Soros, the Democratic Party and its outside lawyers, worked directly with an

enemy of the United States and a FISA “foreign power”, the Russian SVR/FSB, in an attempt to defame

and spread false information about candidate and then President-elect Donald Trump and Plaintiff here,

and to assist Hillary Clinton win the presidency in 2016 and thereafter, to destabilize the United States

Government;

       394.    Strzok paramour Lisa Page, a corrupt FBI attorney, instructed Strzok that it would be

unlikely that District Judge Rudolph Contreras would feel the obligation to recuse if Strzok discussed

his anti-Trump bias with Contreras – Page described recusal of the judge as a “very high bar”;

       395.    The above was based upon intentional Enterprise use of information known to come from

the Russian intelligence services (who are adept in misinformation operations) – and result, along with

all of the other methods utilized by the Enterprise to obstruct justice, in dozens if not hundreds of counts

of process crimes attributable to the Enterprise and its surrogates;

       396.    As admitted, Perkins Coie LLP, a law firm, and its partner Marc Elias, arranged for the

funding, with the knowledge of and instruction from Hillary Clinton, of the sham “Trump dossier” – the

false and defamatory Enterprise information suggested (among other things) collusion between the

Trump campaign and Russia, and ultimately (and intentionally) misled an Article III federal judge into

approving invasive surreptitious surveillance against private U.S. citizens – a seditious assembly of acts

by the Enterprise;




                                                    123
           Case 1:18-cv-01422-PLF Document 1 Filed 06/15/18 Page 124 of 210




       397.    The Enterprise worked with its surrogates at various left-leaning law firms (where to this

day documents remain “privileged” that prove illegal Enterprise activity) during the Democratic Party

primary, in which a(nother) fake dossier was prepared by Brock claiming that Senator Bernie Sanders

(D-VT), the primary opponent of Hillary Clinton, was in failing health – raising an inference of an

Enterprise pattern of raising and spending money illegally to defame and destroy their “enemies” (as

here, Senator Sanders, Officer Byrne, and now-President Trump) in order to support Hillary Clinton;

       398.    Elias, while arranging for the funding/laundering of the false “Trump dossier” with the

knowledge of Hillary Clinton, was also, through his law firm Perkins Coie LLP, the chief outside lawyer

for (1) Hillary for America; (2) the Democratic Party; (3) the Democratic National Committee; (4)

David Brock and his illicit entities, both named as defendants here and noted in this complaint; (5)

defendant and Enterprise principal John Podesta: and (6) thereby, the Enterprise – Elias may have

played a much larger role in, among other things, laundering funds to the Enterprise from the Obama for

America account even after President Obama left office and to/from State parties;

       399.    Contemporaneously, Enterprise outside lawyers from Perkins Coie associated with Elias

obstructed FBI investigations into purported “hacks” of Democratic National Committee servers by

arranging “forensics” of the hacks be conducted by a cybersecurity analytics company named

“CrowdStrike”, which destroyed evidence implicating Democratic officials in disseminating the

information within the several “dossiers,” and, among other things: whether the Russian SVR/FSB

colluded with the Enterprise and/or its outside attorney(s), involving the coordination of the DNC,

Soros, Brock, Hillary for America and the Enterprise principals regarding the information provided by

Officer Gary Byrne in Crisis (this information is also subject to subpoena directed to the DNC, and

subsequent discovery, in a contemporaneous defamation lawsuit against Buzzfeed News regarding its




                                                   124
            Case 1:18-cv-01422-PLF Document 1 Filed 06/15/18 Page 125 of 210




publication of the unverified “dossier” funded by Hillary for America and used to mislead one or more

Article III federal judges to obtain a FISA order and abuse the FISA process;

        400.    The gathering of defamatory and related damaging information for use against political

“enemies” such as Officer Gary Byrne was funded by the Hillary Clinton campaign (and laundered

through Brock’s entities with millions in funding/laundering by Soros) which concededly controlled the

DNC decisions at all levels due to the contractual arrangement (and “joint fundraising agreement”)

between Perkins Coie LLP lawyers and then-DNC chairperson Debbie Wasserman Shultz to “rig” the

Democratic Party nomination in Hillary Clinton’s favor and that of the Enterprise;

        401.    The Enterprise sought and received unreported, laundered funding to pay bribes to

“independent contractors” to claim they had sources of information about Officer Byrne when in fact

they did not;

        402.    The above false information directed at plaintiff Byrne was then provided to media

outlets friendly to the Enterprise, via Correct the Record on behalf of and funded by Soros and Hillary

for America, who were enthusiastic to disseminate uncorroborated, false information about Byrne in the

form of “opinion” – these media outlets also refused to allow Byrne to appear and rebut the Enterprise

defamation and destructive false information about Byrne, and provided an illicit platform for Brock

libel and Wackrow and Gilhooly slander, the latter of whom were compensated by Brock and Soros

under the table and absent the payment of federal, state or local taxes;

        403.    Fusion GPS, Soros, the DNC and Hillary for America collaborated directly and illegally

with the Enterprise, and the most powerful members of the corrupted Democratic Party protected Fusion

GPS, the Enterprise and its illicit activity;

        404.    Upon information and belief, the Hillary Clinton campaign and Secretary Clinton,

which/who controlled the DNC and gave instructions to Marc Elias, paid Fusion GPS additional money



                                                    125
            Case 1:18-cv-01422-PLF Document 1 Filed 06/15/18 Page 126 of 210




laundered through Brock organizations to assemble additional fake and deeply defamatory “Trump

dossier” information, which required coordinating by Fusion GPS and the Enterprise with Russian

intelligence;

       405.     Upon information and belief, Secretary Clinton and her campaign, which controlled the

DNC (and the Democratic Party), and Soros and Brock on behalf of the Enterprise (in illegal collusion

with Brock’s deep web of nonprofit entities, and utilizing defamatory rhetoric “FROM THE DESK

OF DAVID BROCK,”), ordered a fake and defamatory “dossier” on Plaintiff Gary Byrne, causing

Byrne grave harm to himself and his profession;

       406.     The Enterprise colludes openly with, among numerous others, a Democratic fundraising

firm, The Bonner Group, to undergird many facets of attempts by the Enterprise, while violating the

Internal Revenue Code, to unseat Republican lawmakers, impeach the 45th President, and in illegal

collusion with CREW to destroy any and all “conservative causes” across the United States;

       407.     Defendant CREW consistently violates federal law utilizing partisan tactics, while daily

challenging publicly, in wholly partisan fashion, the entirely legal actions of the 45th President of the

United States – serial violators include but are not limited to Norman Eisen and Richard Painter, who

mimic the defamatory talking point pabulum of the Enterprise;

       408.     Brock and the Enterprise took control over CREW in 2014, despite CREW’s 501(c)(3)

status and its previous reputation of being nonpartisan under previous CREW leadership such as

Melanie Sloan and Louis Mayberg (the founder of CREW):

       409.     CREW is firmly ensconced in the Enterprise, is wholly partisan, and uses its tax-free

platform to engage in partisan activity;

       410.     The founder of CREW, Louis Mayberg, resigned “in disgust” from CREW’s board in

2015 stating “I have no desire to serve on a board of an organization devoted to partisanship”;



                                                    126
             Case 1:18-cv-01422-PLF Document 1 Filed 06/15/18 Page 127 of 210




        411.      Since Mayberg’s departure, CREW’s new leadership – which has included Brock and

partisan advocates Eisen and Painter – have attacked the 45th President daily, in wholly biased terms,

both in writing (primarily on Twitter), and when interviewed on cable news shows – as Brock had

pledged they would do in Exhibit “A”; 11

        412.      Mary Pat Bonner, the head of the Bonner Group and a former fundraiser for Albert Gore,

Jr., in exchange for raising money for the Enterprise, receives commissions of 12.5% from Brock and

the Enterprise;

        413.      Like Brock and his various “nonpartisan” entities, such as the other “nonprofit”

defendants in this case, the Bonner Group claims to be an independent, nonpartisan entity – however,

the Bonner Group shares the same corporate address as many of the illicit Brock entities and directly

abets their illicit activities;

        414.      Brock’s kickbacks to Bonner amount to tens of millions of dollars, in exchange for lining

Brock’s own pockets without the knowledge of his donors;

        415.      As noted, Bonner’s collusion with Brock (and Soros) is yet another example of the illegal

partisan use of nonprofit entities by the Enterprise – as exemplified daily by each of the nonprofit

defendants in this litigation;

        416.      Merely one aspect of Enterprise wrongdoing involves the American Bridge 21st Century

PAC, which touts at least $311,685,223 worth of wholly partisan television airtime for their research

and video content since 2011;

        417.      Bonner also receives kickbacks from other Brock Enterprise entities, such as the Franklin

Education Forum, an illicit 501(c)(3) nonprofit and the Franklin Forum, a 501(c)(4) illicit nonprofit –


11
  See, e.g., Norm Eisen Retweeted Washington Post February 5, 2018, 7:38 a.m.
“The reminder came as the White House contends with a lawsuit filed in June by the watchdog group Citizens for
Responsibility and Ethics in Washington...” @CREWcrew has opened OVER 180 legal matters vs. Trump administration!


                                                      127
           Case 1:18-cv-01422-PLF Document 1 Filed 06/15/18 Page 128 of 210




both partisan entities have as their chairman Enterprise participant David Brock and will likely be added

as defendants when further evidence of their laundered assets becomes public and thus available for use

against the Enterprise;

       418.    Money raised by Bonner is often “gifted” to the Franklin Education Forum for purely

partisan purposes, in violation of the IRS Code and thus U.S. law;

       419.    The leadership of CREW, including Eisen and Painter, are self-proclaimed principal

members of the “resistance” against the presidency of Donald Trump, and each day spread their partisan

vitriol via TWITTER (Painter via @RWPUSA and @CREWcrew, and Eisen at @normeisen and

@CREWcrew) – not in their individual capacity but concededly through their affiliation with CREW as

noted throughout this complaint and promised in Exhibit “A”;

       420.    Comey, the Enterprise surrogate, used false information created by Simpson, Ohr and

others, and the bogus “Trump dossier” funded by the Clinton campaign (and Soros) to obtain and renew

multiple FISA orders against the Trump campaign – a seditious act subjecting Comey to prison among

his various other wrongdoing;

       421.    As noted, the Foreign Intelligence Surveillance Court (“FISC”), and at least one Article

III lifetime tenured federal judge, relied upon Russian disinformation provided by Steele and Fusion

GPS, Bruce and Nellie Ohr, and Peter Strzok, and ultimately sworn under oath by Enterprise surrogates

at the FBI and DoJ to run surveillance against the presidential campaign of (private citizen) Donald

Trump and (after his electoral victory) his transition team – FISC Article III federal judge Rudolph

Contreras is the current subject of potential punishment based upon his failure to recuse regarding his

intimate friendship affiliation with Enterprise surrogate Strzok;

       422.    Enterprise surrogate Comey approved FBI reliance upon unconfirmed information from

disgraced British agent of a foreign power Steele and his private firm, Orbis Business Intelligence,



                                                    128
           Case 1:18-cv-01422-PLF Document 1 Filed 06/15/18 Page 129 of 210




separate and apart from the Fusion GPS cash payments from Soros, Brock and Elias acting on behalf of

the Enterprise and Hillary for America – foreign agent Steele and corrupt Fusion GPS immediately

began flagging the “FBI's work” to the media (the fake dossier), attempting to create above-the-fold

headlines helpful to their client (Clinton campaign for President and related Enterprise scheme) against

Trump and other “threats” to Hillary Clinton and the Enterprise such as Plaintiff (who proved Hillary

Clinton an enabler of William Clinton sexual harassment at the time Officer Byrne testified and was

largely responsible for the impeachment of William Clinton);

       423.    Enterprise surrogates Comey, McCabe and Peter Strzok, intentionally and knowingly,

removed from the putative espionage charges against Secretary Clinton that her use of a personal,

unsecure server to traverse classified electronic mail traffic (much of which was provided to persons

without a security clearance) was “grossly negligent” – including such removal of that legal term

(“grossly negligent”) on May 2, 2016 – thus illicitly preventing Secretary Clinton from being charged

with numerous felony espionage offenses;

       424.    The Hill liberal newspaper has/have reported allegations of recent and astonishing

obstruction of justice and related process crimes by the Enterprise carried out in order to protect William

and Hillary Clinton and the Enterprise from legal jeopardy – including obstruction related to possible

treason and certain bribery with respect to Secretary Clinton’s actions while CFIUS was considering the

Uranium One transaction discussed herein;

       425.    Even before the Obama administration, through its CFIUS “covered transaction” process

noted herein, approved the controversial deal in 2010 giving Russia control of a large swath of

American uranium, the FBI had gathered substantial evidence that Russian nuclear industry officials

were engaged in bribery, kickbacks, extortion and money laundering designed to grow Vladimir Putin’s

atomic energy business inside the United States;



                                                   129
            Case 1:18-cv-01422-PLF Document 1 Filed 06/15/18 Page 130 of 210




       426.    U.S. federal agents used a confidential U.S. witness working inside the Russian nuclear

industry to gather extensive financial records, make secret recordings and intercept emails as early as

2009 that showed Russia had compromised an American uranium trucking firm with bribes and

kickbacks in violation of, inter alia, the Foreign Corrupt Practices Act;

       427.     The United States Justice Department, led by Enterprise surrogates Holder, Mueller and

Rosenstein also obtained an eyewitness account indicating Russian nuclear officials had routed millions

of dollars to the U.S. designed to benefit defendant William Clinton’s foundation, in conjunction with

the Enterprise, during the time Secretary of State Hillary Clinton served on CFIUS and provided a

favorable decision (by omission) to Russia - with Secretary Clinton as the lead agency official

responsible for raising any potential national security issues, which Hillary Clinton specifically failed to

do so despite her obligations to her country;

       428.    There were actually two deals that served Putin’s interests involved in this operation, as

the year after the State Department approved the purchase of Uranium One by Russia’s state-owned

Rosatom in 2010 (and thus control of U.S. lethal uranium now threatened to be used against the United

States), the Obama administration gave approval for Rosatom to vastly expand its sales of uranium

inside the United States through its Tenex/Tenem subsidiary;

       429.    The two combined deals gave Moscow incomparable leverage in the U.S. nuclear market

— and the bribes and extortion alone created “legitimate security concerns” that would under ordinary

circumstances, i.e., when the Enterprise was not withholding crucial information due to the

compromised nature of the Secretary of State (and Attorney General Holder), been sufficient to block

the covered transaction and bring immediate criminal charges;




                                                    130
           Case 1:18-cv-01422-PLF Document 1 Filed 06/15/18 Page 131 of 210




       430.    As noted, Enterprise surrogates Rosenstein, Mueller and Holder (then Comey and Lynch)

delayed investigating the Tenex transaction for several years, in order to protect Hillary Clinton and

further her hopes of becoming president of the United States;

       431.    Rather than bring immediate charges in 2010, the Holder Department of Justice

continued “investigating” the matter for nearly four more years, essentially leaving the American public

and Congress in the dark about Russian nuclear corruption on U.S. soil during a period when the Obama

administration made two major decisions benefitting Putin’s commercial nuclear ambitions (and vastly

expanding the fortunes of the Enterprise);

       432.    Enterprise surrogates Holder, Mueller, Rosenstein and Lynch concealed the probe from

Congress and the public even after overseeing the indictment of some Russian principals in the

operation – thus colluding with the Russian State through its SVR and FSB;

       433.    Enterprise surrogates at the Justice Department only announced in 2015 that they had

reached plea deals in a case involving money laundering, saying nothing about bribery, extortion, or

the intent to corrupt the U.S. nuclear industry or the obvious ties to the Enterprise – claiming that the

information was so “compartmentalized” that even the FBI’s top criminal-investigation officer had no

idea of the extent of the case, and no one in Congress was ever briefed on the national security

concerns raised in the case – in fact, the key indictment was delayed by Obama DoJ holdovers until

January of 2018;

       434.    House Intelligence Committee chair Mike Rogers claimed that no one ever mentioned

the case at all to him, despite significant bipartisan concerns in the House and Senate over the Uranium

One covered transaction;

       435.    A broad swath of pro-Clinton media, as well as former Democrat President James Earl

Carter, have conceded that the Trump campaign was not treated fairly concerning legitimate attempts



                                                   131
           Case 1:18-cv-01422-PLF Document 1 Filed 06/15/18 Page 132 of 210




to raise the Uranium One Enterprise wrongdoing; for instance, respected journalist and author Katharine

Tur openly admitted, during a television interview on November 15, 2017, that much of the so-called

“mainstream media” intentionally “shot down” attempts by “Donald Trump… and his ilk” (during the

2016 presidential contest) when candidate Trump raised the extremely dangerous, seditious Uranium

One issue and related Enterprise wrongdoing that is set forth in this complaint;

       436.    Katharine Tur, from all accounts, is an extremely talented and precise orator who chooses

her words carefully, thus clearly speaking on behalf of other sophisticated reporters covering the Trump

campaign and journalists who appear to have chosen to ignore the plain words of, among other things,

the criminal statutes violated by Hillary Clinton on behalf of the Enterprise – NBC and Tur refer to such

plain reading as “desperat[ion]” and somehow related to the “Russia investigation and what has been …

dripping out from that”);

       437.    Long before the Hillary Clinton e-mail espionage investigation was completed, President

Barack Obama declared knowingly and willfully that Hillary Clinton was not guilty of any crime – a

clear signal from the President to Enterprise surrogates Comey, McCabe, Bruce Ohr and Lynch, among

numerous others like Peter Strzok and Lisa Page, that they should protect Hillary Clinton from legal

exposure through (il)legal subterfuge;

       438.    Enterprise surrogates Comey and Lynch, and other surrogates cited herein, relied upon

President Obama’s knowingly contrived rationale when colluding to fabricate Comey’s incorrect

exoneration of Hillary Clinton for indisputable espionage;

       439.    The Lynch Justice Department, led by Enterprise surrogates Lynch and with the corrupt

assistance of Bruce Ohr and others within the DoJ and FBI, refused to raise the crime-fraud exception to

the attorney-client privilege with respect to attorneys for Enterprise surrogates Cheryl Mills and Heather

Samuelson – as well as with respect to Clinton personal lawyers;



                                                   132
           Case 1:18-cv-01422-PLF Document 1 Filed 06/15/18 Page 133 of 210




       440.    Enterprise surrogate and Obama National Security Advisor Susan Rice failed to

“minimize” the wiretapping of United States citizens and also illicitly “unmasked” Trump associates

illegally wiretapped – thereby implicating the Obama NSC in surreptitious surveillance of United States

citizens in violation of our Constitution and U.S. statutory law – along with Obama Ambassador

Samantha Power, Rice has criminal exposure for such blatant malfeasance;

       441.    Comey’s FBI subordinates Strzok and McCabe, and to certain degrees other Enterprise

surrogates, obstructed justice in violation of United States law, in order to exonerate Hillary Clinton and

other Enterprise participants in her espionage;

      Early Foundations of the Private Enterprise Server and Accompanying Obstruction of Justice

       442.    As foundation with respect to the foregoing, following the lethal attacks on the United

States consulate in Benghazi, Libya, in September of 2012, to hedge against the possibility that various

Freedom of Information Act lawsuits would require Secretary Clinton to disclose her emails from

numerous devices, Hillary Clinton and the Enterprise created a false narrative which subsequently

resulted in an upgraded private email server through which she and the Enterprise ran email traffic

from numerous devices, including highly classified information, in direct contravention and obstruction

of court orders and congressional subpoenas;

       443.    When the misconduct of Secretary Clinton and the Enterprise was discovered, and the

existence of the private email server became known, Hillary Clinton and her Enterprise surrogates

destroyed thousands of emails both under congressional subpoena and Article III court order –

ultimately also destroying emails discussing methods to harm Plaintiff as revenge for his compelled

impeachment testimony against William Clinton in his business, reputation and livelihood;

       444.    The Obama Department of Justice took an illegal posture with respect to Enterprise

destruction of the emails under subpoena and court order;



                                                    133
             Case 1:18-cv-01422-PLF Document 1 Filed 06/15/18 Page 134 of 210




       445.    Violating federal criminal laws, the Obama Department of State, at the direction of

Enterprise surrogates Cheryl Mills and David Kendall (an attorney at Williams and Connolly and one of

Hillary Clinton’s personal lawyers), not only refused to comply with compulsory process, but also

misled Judge Royce Lamberth (among others) about the nature of the contents of the Enterprise private

server – these lawyers subsequently ordered the destruction of evidence (presumably over 30,000

emails);

       446.    In addition to the destroyed emails which were under subpoena, 18 U.S.C. Section 1505,

makes it a federal crime to “corruptly” obstruct or impede the “due and proper administration of the

law” or “any inquiry or investigation…being had by either House, or any committee of either House or

any joint committee of the Congress” – such as the private pseudonymous e-mail communications

between President Barack Obama and Hillary Clinton leading to a presidential role in the illicit

exoneration of Hillary Clinton for espionage based upon, inter alia, usage of the private Enterprise

server upon which classified information was disseminated to those without adequate (or any) security

clearance;

       447.    In addition to the destruction of documents under congressional subpoena, the due and

proper administration of the law was also corrupted by Strzok and McCabe, the senior FBI managers

who along with Comey unilaterally concluded that Hillary Clinton lacked the requisite intent to violate

the law when she concededly used a private email server to transmit classified information and then

unlawfully and intentionally destroyed thousands of documents;

       448.    Strzok’s pro-Clinton bias was so egregious that even the current Special Counsel,

Enterprise surrogate Mueller, had no option but to immediately remove Strzok from the Special Counsel

investigation (while not recommending Strzok be removed from the FBI or federal service) once his

obstruction of justice and related process crimes were revealed – although Mueller arguably obstructed



                                                   134
              Case 1:18-cv-01422-PLF Document 1 Filed 06/15/18 Page 135 of 210




the congressional investigations by failing to bring the Strzok malfeasance to the attention of the

Congress for several months after Strzok was removed;

         449.     Similarly, as noted, senior (Main) Justice Department official Bruce Ohr was demoted

(but not removed) by Rosenstein when the Ohr misfeasance was made known – a clear instance of

obstruction of congressional investigations by Rosenstein;

         450.     Strzok’s serious biases were confirmed in documented communications with his mistress,

Lisa Page, who was also a pro-Clinton FBI lawyer, worked for McCabe, and who later advised Special

Counsel Mueller during his investigation;

         451.     Examples of this bias are astounding – in just one of several thousand texts (many of

which have not been released and will become evidence in this lawsuit) Strzok sent to his paramour

(FBI lawyer Lisa Page), Strzok notes that “we can’t take the risk” of Trump being elected or retained in

office, and further noting that the FBI needed to undermine Trump as an “insurance policy” as a hedge

against any possible Trump victory in the 2016 presidential contest;

         452.     Just one week earlier than the “insurance policy” text exchange, the following exchange

had occurred between Page and Strzok, key officers and lawyers conducting the Clinton e-mail

investigation, the Clinton Foundation Investigation, the misleading of the FISC, the pre-election

surveillance and HCS misuse regarding Trump and Byrne, and Operation Crossfire Hurricane: Page:

“[Trump’s not ever going to become president, right? Right?! Strzok: No. No he won’t. We’ll stop

it.” This is proof of FBI/Enterprise sedition, as Strzok had just spiked the Clinton e-mail investigations

and McCabe, Yates and Lynch (along with Strzok) had spiked the Clinton Foundation investigation. 12




12
   Obama appointee and DoJ IG Horowitz found this sedition to represent “not only a biased state of mind but, even more
seriously, a willingness to take official action to impact the presidential candidate’s electoral prospects.” This borders upon
treason. Similarly, Strzok’s decision to prioritize the Russia investigation over following up on the Midyear-related
investigative lead discovered on the Weiner laptop was [not] free from bias.”

                                                              135
            Case 1:18-cv-01422-PLF Document 1 Filed 06/15/18 Page 136 of 210




       453.    Strzok, along with Enterprise surrogates McCabe and Comey, intentionally and

knowingly colluded in not placing Clinton under oath when Strzok interviewed Hillary Clinton –

thereby furthering the conspiracy of their unambiguous obstruction of justice – and McCabe prior to

being terminated from the FBI admitted that he and Strzok withheld material information from Congress

for thirty days concerning the discovery of in late September of 2016 of classified Enterprise-Hillary

Clinton-Huma Abedin emails on the laptop computer of convicted sex offender (and husband of

Enterprise surrogate Abedin), Anthony Weiner;

       454.    Strzok directly provided obstructive “cover” for Comey’s pronouncement not to

recommend charging Clinton (despite her manifest gross negligence and mishandling of classified

information, destruction of evidence under Congressional subpoena and “wiping” of her email server,

among numerous other crimes) without disclosing his advocacy (and that of his actual wife, and that of

his lover), for a Clinton electoral victory in the 2016 presidential contest;

       455.     Among other things, Strzok corruptly influenced and impeded his agency’s investigation

(and deeply violated his legal and ethical obligations as a public servant);

       456.    Enterprise surrogate Comey and other supervisors at the DOJ/FBI knew of Strzok’s pro-

Hillary Clinton biases and still allowed him to serve as the key agent investigating Secretary Clinton,

and subsequently allowed Strzok to “interview” Trump National Security Advisor General Michael

Flynn (before Flynn was prosecuted for lying to the FBI), and thereby obstructed the due administration

of justice, which requires that federal officers and agents conduct investigations in a fair and impartial

manner;

       457.    Upon information and belief, Strzok initially believed General Michael Flynn after

interviewing Flynn as National Security Advisor, but upon being pressured by Enterprise surrogate

Mueller and his Special Counsel “team,” Strzok decided to collude with the Enterprise, perjure himself,



                                                     136
            Case 1:18-cv-01422-PLF Document 1 Filed 06/15/18 Page 137 of 210




and thereby attempt to injure the presidency of Donald Trump – as he had promised to do as a form of

catastrophic “insurance” against his own Chief Law Enforcement Officer;

        458.    Strzok also corruptly conducted the FBI interviews of Clinton and her top aides, Cheryl

Mills and Huma Abedin, in the illegal e-mail server and document destruction probe, with the approval

of Enterprise surrogates McCabe and Comey – thereby conspiring with McCabe, Comey and Lynch to

obstruct justice;

        459.    Furthermore, as referenced herein, Strzok, McCabe and Comey were the primary FBI

figures urging investigations on the basis of the “Trump dossier” of Russian-sourced “salacious and

unverified” (as conceded by Comey) anti-Trump allegations – which was commissioned by the Clinton

campaign (and funded by that campaign, with assistance from Brock and Soros – who also owns a $3

million stake in the New York Times) and the Enterprise and adopted by the FBI for improper purposes

(thereby resulting in the illegal surreptitious surveillance of U.S. citizens and, as referenced, the

misleading FISA application presented to a Article III federal judge and relied upon thereby;

        460.    Enterprise surrogate Comey perjured himself before Congress, as alleged by McCabe;

        461.    Congress has issued contempt citations against the FBI and Justice Department for failing

to produce, pursuant to subpoena, documents and an FBI witness over the time, place and manner in

which the Obama administration used the “salacious” and unsubstantiated "Trump Dossier" to

surreptitiously surveil and run HCS operations against Trump associates and Clinton enemies;

        462.    Upon information and belief, the Enterprise knowingly paid for Russian intelligence

services to compile false allegations about a U.S. presidential candidate who was at the time the

nominee of the Republican party, and the Enterprise is to this day paying for false information to be

used to bribe “journalists” to undermine the 45th President of the United States and to bribe high-ranking

DoJ officials like Bruce Ohr – along with their continuing serial violation of U.S. law involving



                                                     137
           Case 1:18-cv-01422-PLF Document 1 Filed 06/15/18 Page 138 of 210




premeditated partisan attacks by nonprofit entities attempting to bring about resolutions of impeachment

against President Donald J. Trump;

       463.    Further, Defendant and Enterprise principal John Podesta has, upon information and

belief, recently assisted in raising tens of millions of dollars in U.S. and foreign currency from major

Democratic Party donors such as Herbert Sandler to illegally underwrite the partisan efforts of

presumably nonpartisan nonprofits seeking to destabilize the Trump administration and United States

Government;

       464.    John Podesta has formed and funded an illicit partisan “nonprofit” called “Democracy

Forward” which has the stated purpose of, but no evidence to support, the impeachment and removal of

President Donald Trump – fellow Democracy Forward board member and former Podesta “Center for

American Progress” subordinate Faiz Shakir is on the record in the New York Times stating “[Podesta] is

very driven by exacting revenge [against the 45th President] … for tactics utilized against ‘his’ side

[when Trump defeated Hillary Clinton] – another seditious Enterprise attempt to subvert the United

States Government;

       465.    John Podesta and Faiz Shakir openly admit that they are raising tens of millions of dollars

to use in a partisan fashion under the auspices of a nonprofit to destroy the President of the United States

– and thus to “exact their revenge” by threatening the United States Government;

       466.    The DNC and Hillary Clinton campaign, in collusion with the Enterprise and its lawyers,

have consistently obstructed investigators attempting to obtain information about the Russian

SVR/Fusion GPS “Trump dossier”;

       467.    Numerous parallel investigations continue, which will provide far greater insight into the

numerous predicate acts committed by the Enterprise defendants, surrogates and participants;




                                                    138
            Case 1:18-cv-01422-PLF Document 1 Filed 06/15/18 Page 139 of 210




        468.    The Enterprise continues unabated to this day, acting illegally to further their concededly

false, defamatory narrative and to destabilize our government and the presidency of our 45th President;

V.      RICO VIOLATIONS

        469.    Plaintiff repeat and re-allege each and every allegation of the foregoing paragraphs as if

fully set forth herein;

        470.    18 U.S.C. §1962(a): Section 1962(a) of RICO provides that “it shall be unlawful for any

person who has received any income derived, directly or indirectly, from a pattern of racketeering

activity … in which such person has participated as a principal within the meaning of §2, title 18, United

States Code, to use or invest, directly or indirectly, any part of such income, or the proceeds of such

income, in acquisition of any interest in, or the establishment or operation of, any enterprise which is

engaged in, or the activities of which affect interstate or foreign commerce.”;

        471.    Defendants have within the past decade received, and concede that they currently receive

income from their participation as principals in a conspiracy with overt acts in concert, evidencing an

extensive pattern of racketeering activity;

        472.    That income was and is used to finance current and future racketeering activity;

        473.    The Enterprise activities involved/involve coordination, by their own admission, between

David Brock’s partisan nonprofits and the Hillary for America presidential campaign (and its various

complicit entities) and Enterprise surrogates and participants with the intent to criminally injure, and

defame, Hillary Clinton “enemies” - and the Enterprise in this respect engaged in illegal campaign and

related activities, as well as Federal and State tax fraud, in addition to their other crimes/predicate acts

discussed and/or alleged herein;

        474.    The Enterprise uses illicit proceeds to engage in myriad malfeasance, including crimes

such as bribery and extortion (to name but a few of those alleged herein) as well as process crimes such


                                                     139
            Case 1:18-cv-01422-PLF Document 1 Filed 06/15/18 Page 140 of 210




as numerous forms (and thousands of counts) of obstruction of justice, evasion of federal records laws,

perjury, and related offenses utilized to cover up their malfeasance;

        475.    18 U.S.C. §1962(b): Section 1962(b) of RICO provides that it “shall be unlawful for any

person through a pattern of racketeering activity or through collection of an unlawful debt to acquire or

maintain, directly or indirectly, any interest in or control of any enterprise which is engaged in, or the

activities of which affect, interstate or foreign commerce – as the Enterprise has accomplished by and

through obtaining illegitimate control of the Democratic Party through its long and sordid pattern of

racketeering activity described herein;

        476.    18 U.S.C. §1962(c): Section 1962(c) of RICO provides that it “shall be unlawful for any

person employed by or associated with any enterprise engaged in, or the activities of which affect,

interstate or foreign commerce, to conduct or participate, directly or indirectly, in the conduct of such

enterprise’s affairs through a pattern of racketeering activity…”;

        477.    18 U.S.C. §1962(d): Section 1962(d) of RICO makes it unlawful “for any person to

conspire to violate any of the provisions of subsection (a), (b), or (c) of this section” – which includes

but is not limited to the known and unknown named defendants, and their surrogates, collaborators, and

participants as noted herein;


A. The RICO Enterprise


        478.    Plaintiff repeats and re-alleges each and every allegation of the foregoing paragraphs as if

fully set forth herein;

        479.    In any Racketeer Influenced and Corrupt Organization litigation, it is important to

distinguish between legitimate organizations, on the one hand, and the abuse of those entities for illegal

purposes by the unofficial, corrupt “Enterprise” such as that at issue in this litigation;



                                                     140
              Case 1:18-cv-01422-PLF Document 1 Filed 06/15/18 Page 141 of 210




       480.     This pattern of illegal activities, i.e., racketeering, committed by the Defendants here and

in collusion with Enterprise surrogates and numerous co-conspirators, and the predicate acts discussed

below, were done with the purpose of financial gain for the Enterprise and themselves, and to harm the

reputation and business interests of (and seek revenge with respect to) Plaintiff – and were done within

the past ten (10) years and are continuing unabated;

       481.     By the acts alleged herein, Defendants, with the collusion of their surrogates, have jointly

and severally aided and abetted and conspired to violate myriad laws through their ongoing criminal

Enterprise;

       482.     The law presumes that a person intends the obvious results of their actions – inculpating

each Defendant and their surrogates as alleged herein;

       483.     The many predicate and chargeable criminal acts by the Enterprise that are alleged in this

action (although only two are necessary to establish a pattern of racketeering) are as follows: acts or

threats involving bribery (18 U.S.C. § 1961(1)(A)); acts or threats involving extortion (18 U.S.C. §

1961(1)(A)); acts or threats involving murder 18 U.S.C. § 1961(1)(A)); acts indictable relating to

bribery (18 U.S.C. § 1961(1)(B), cross referencing 18 U.S.C. §201)); acts indictable relating to mail and

wire fraud, respectively (18 U.S.C. § 1961(1)(B), cross referencing 18 U.S.C. §§ 1341 and 1343,

respectively); acts indictable relating to obstruction of justice (18 U.S.C. § 1961(1)(B), cross referencing

18 U.S.C. § 1503)); acts indictable relating to obstruction of criminal investigations (18 U.S.C. §

1961(1)(B), cross referencing 18 U.S.C. § 1510)); acts indictable relating to obstruction of State law

enforcement (campaign finance) (18 U.S.C § 1961(1)(B), cross referencing 18 U.S.C. § 1511)); acts

indictable relating to tampering with a victim, witness or informant (18 U.S.C. § 1961(1)(B), cross

referencing 18 U.S.C. § 1512)); acts indictable relating to retaliating against a witness, victim or

informant (18 U.S.C. § 1961(1)(B), cross referencing 18 U.S.C. § 1513)); acts indictable relating to



                                                    141
            Case 1:18-cv-01422-PLF Document 1 Filed 06/15/18 Page 142 of 210




interference with commerce .. or extortion (18 U.S.C. § 1961(1)(B), cross referencing 18 U.S.C. §

1951); acts indictable relating to racketeering (18 U.S.C. § 1961(1)(B), cross referencing 18 U.S.C. §

1952)); acts indictable relating to the laundering of monetary instruments (18 U.S.C. § 1961(1)(B), cross

referencing 18 U.S.C. § 1956)); acts indictable relating to engaging in monetary transactions in property

derived from specified unlawful activity (18 U.S.C. § 1961(1)(B), cross referencing 18 U.S.C. § 1957));

acts indictable relating to use of interstate commerce facilities in the commission of murder for hire (18

U.S.C. § 1961(1)(B), cross referencing 18 U.S.C. § 1958));

       484.    It is alleged that all acts by the Enterprise and others cited herein also involve Federal

conspiracy counts under the RICO statute, 18 U.S.C. §§ 1961, et seq., as they relate to the numerous

violations of Federal and State law described below, and otherwise - and with relation to the factual

allegations herein, matters of law and fact thus far suppressed by the Enterprise and its surrogates and to

be demanded of and provided by the Enterprise in discovery, in pretrial proceedings, and during the trial

on the merits in this litigation (in addition to information from numerous collateral proceedings of which

this court may take judicial notice);

       485.    It is, in addition to the foregoing, alleged that the Enterprise participants, individually and

in coordination among themselves and their surrogates, utilized the wires and mails as to all predicate

acts, e.g., coordination by mail and wire to engage abundant instances of other crimes, including but not

limited to: the three versions of money laundering cited below; violation of U.S. law regarding use of

nonprofit entities (and concomitant Federal and State tax violations) to engage in willful and long-term

patterns of partisan revenge attacks against Plaintiff, the 45th President, and others cited herein; all CGI

and CGEP wrongdoing, and related tax violations; putative statutory treason by Secretary Clinton;

Gilhooly and Wackrow wrongdoing, including tax evasion, conspiracy to obstruct justice and related

violations; use of nonprofits for partisan gain, illegal fundraising and money laundering; use of bribery



                                                     142
             Case 1:18-cv-01422-PLF Document 1 Filed 06/15/18 Page 143 of 210




and extortion to gain the assistance of high-ranking FBI and DoJ officials and their legal counsel in the

Enterprise scheme; defamation used to obstruct justice in all of its various forms cited herein; bribery

and extortion of FBI and DoJ high-ranking officials, e.g., 2018 Rosenstein threats to use DoJ

investigative authorities as a weapon against political adversaries, and their legal counsel with relation to

obstruction (and otherwise) as co-conspirators in espionage, and thousands of process crimes in order to

obstruct justice;

          486.   Overall, the Enterprise is a corrupt crime apparatus, and each and every factual

allegation herein is incorporated by reference into all of the alleged predicate acts (and vice-versa) –

including but not limited to those which by cross-reference must be brought in any criminal action

against the Enterprise defendants and/or their surrogates – as set forth below and discussed at length

herein;

          487.   Each and every Enterprise defendant named herein, and many (if not all) of their

surrogates and other participants in the Enterprise operational scheme, should and will be named as a

criminal defendant under Federal and/or State law – and prosecuted to the full extent of the law;



B. Representative (Albeit not Exclusive) Predicate Acts

    The following predicate acts, described in brief below, are each alleged as if set forth above and

otherwise incorporated fully therein.

    1. Acts or Threats Involving Bribery

          488.   Plaintiff repeats and re-alleges each and every allegation of the foregoing paragraphs as if

fully set forth herein;

          489.   Bribery, as applied to the Enterprise here, involves both acts and threats, and implicates

those bribing as well as those defendants being bribed;



                                                     143
             Case 1:18-cv-01422-PLF Document 1 Filed 06/15/18 Page 144 of 210




       490.    In the context of ongoing investigations with respect to Hillary Clinton and the

Enterprise, Hillary Clinton exchanged influence for self-enrichment for herself, her family, the Clinton

Foundation, and to seek revenge against Officer Gary Byrne and, thereby, further her presidential

ambitions;

       491.    Secretary of State Hillary Clinton was a “public official” at the time(s) she was bribed, in

that she was an officer acting on behalf of the United States and performing “official acts” in her official

capacity as United States Secretary of State;

       492.    The Enterprise, primarily through William Clinton, the Clinton Foundation, CGI, and

CGEP, directly and indirectly, corruptly gave, offered or promised money and in-kind assistance during

Secretary Clinton’s tenure as Secretary of State with the intent to influence myriad official acts or

omissions by Secretary Hillary Clinton;

       493.    The Enterprise, primarily through William Clinton, CGI, and CGEP, directly and

indirectly, corruptly gave, offered or promised money and in-kind assistance during Secretary Clinton’s

tenure as Secretary of State, to influence Secretary Hillary Clinton to commit or aid in committing, or

collude in or allow, myriad fraud, or provide the opportunity for the commission of massive fraud upon

the United States;

       494.    All transactions of or involving the Clinton Foundation alleged above, and in particular

that involving Uranium One and Secretary Clinton’s intentional omission in not bringing the grave

danger to the national security caused by Russian bribery in order to stockpile uranium when the Clinton

Foundation was engaging with Russia in a quid pro quo, are acts involving bribery directly attributable

to the Enterprise, by and through Secretary Clinton, former President William Clinton, and their

numerous Enterprise co-defendant, surrogates, and participants;




                                                    144
            Case 1:18-cv-01422-PLF Document 1 Filed 06/15/18 Page 145 of 210




       495.    The Enterprise, through William Clinton, CGI, and CGEP, directly and indirectly,

corruptly gave, offered or promised money and in-kind assistance during Secretary Clinton’s tenure as

Secretary of State to induce Hillary Clinton to do or omit acts in violation of her lawful duty;

       496.    Secretary Hillary Clinton, being a public official, directly and indirectly, corruptly

demanded, sought, received, accepted or agreed to receive or accept things of value personally or for

William Clinton, CGI, and her daughter, Chelsea Clinton (a fiduciary of the Clinton Foundation), in

return for being influenced in the performance of any official act, being influenced to commit or aid in

committing, or to collude in, or allow, any fraud, or make opportunity for the commission of any fraud,

on the United States, or being induced to do or omit to do any act in violation of her official duty;

       497.    The Enterprise, directly or indirectly, corruptly gave, offered, or promised things of value

to numerous persons – including Hillary Clinton – or offered or promised such persons to give things of

value to any other person or entity, with intent to influence the testimony under oath or affirmation of

such first-mentioned person as a witness upon a trial, hearing, or other proceeding, before any court, any

committee of either House or both Houses of Congress, or any agency, commission, or officer

authorized by the laws of the United States to hear evidence or take testimony, or with intent to

influence such person to absent himself therefrom;

       498.    Hillary Clinton, as well as numerous Enterprise surrogates named herein, directly or

indirectly, corruptly demanded, sought, received, accepted or agreed to receive or accept anything of

value personally or for any other person or entity in return for being influenced in testimony under oath

or affirmation as a witness upon any such trial, hearing, or other proceeding, or in return for absenting

himself therefrom;

       499.    Enterprise surrogates Holder, Comey, Mueller, Rosenstein, Lynch, Mills, Abedin, Strzok,

Blumenthal, and other government officials so cited herein, it is alleged, are responsible as if they were



                                                     145
              Case 1:18-cv-01422-PLF Document 1 Filed 06/15/18 Page 146 of 210




named defendants as they actively participated in and furthered the objectives and financial gain of the

Enterprise, while injuring Plaintiff in their business through their participation as surrogates in the

Enterprise;

         500.   William and Hillary Clinton, otherwise than as provided by law for discharge of official

duty, and during the time they were “former public officials”, directly or indirectly demanded, sought,

received, accepted or agreed to receive or accept things of value personally for or because of any official

act to be performed by Hillary Clinton were she to be elected President;

         501.   Defendants Brock and the Enterprise, directly or indirectly gave, offered or promised

things of value to Hillary Clinton, both as a public official and as a former public official, for of because

of official acts to be performed by Hillary Clinton were she to be elected President;

         502.   Defendants Brock, Soros and the Enterprise, directly or indirectly, gave, offered or

promised things of value to Hillary Clinton, Cheryl Mills, Huma Abedin, John Podesta and others who

have lied under oath, for or because of their testimony under oath or affirmation given or to be given by

such person as a witness upon a trial, hearing, or other proceeding, before any court, any committee of

either House or both Houses of Congress, or any agency, commission, or officer authorized by the laws

of the United States to hear evidence or take testimony, or for or because of such person’s absence

therefrom;

         503.   The Enterprise and Clintons were aided and abetted by the Obama FBI in assisting Russia

in obtaining control of the U.S. lethal uranium market, to this day, in exchange for a currency transfer

laundered through Russian intelligence to the Clinton Foundation while Hillary Clinton was Secretary of

State;

         504.   William Clinton, on behalf of the Enterprise, and aiding his family and Hillary Clinton’s

presidential aspirations, held secret talks with Arkady Dvorkovic – a leading consigliere to then-Russian



                                                     146
            Case 1:18-cv-01422-PLF Document 1 Filed 06/15/18 Page 147 of 210




President (and Putin puppet) Medvedev, in order to further the Uranium One quid pro quo bribery and

fund the Enterprise into perpetuity;

       505.    Hillary Clinton, Cheryl Mills, Huma Abedin, John Podesta and others who have lied

under oath, directly or indirectly, have demanded, sought, received, accepted, or agreed to receive or

accept things of value personally for or because of their testimony under oath or affirmation given or to

be given by such person as a witness upon any such trial, hearing, or other proceeding, or for or because

of such person’s absence therefrom;

       506.    Enterprise participants and surrogates violating the bribery provisions of federal law did

so knowing and intending to use extortion to achieve their illicit goals – by among other things

threatening to reveal the prior acceptance or solicitation of bribes – and thus form of conspiracy (often

involving Enterprise collaboration in facilitating these threats against those whose entire careers and

lives would be impacted) constitutes another form of Enterprise predicate wrongdoing, as set forth

below, in the form of acts or threats involving extortion;

       507.    With relation to other acts of obstruction of justice contained herein, the Enterprise used

bribery in order to obstruct justice;

       508.    With relation to bribery, the Enterprise also committed commercial bribery on the State

level in States in which bribery of public officials constitutes a violation;

       509.    The court and jury must also consider certain “special” bribery statutes applicable to this

Enterprise, e.g., bribery incident to appointment to public office, and with regard to William and Hillary

Clinton, George Soros and David Brock bank transactions;

       510.    On January 12, 2018, the Uranium One Tenex/Tenem bribery, Fraud and Money

Laundering scheme was finally fully revealed, as a result of nearly eight years of obstruction by




                                                     147
            Case 1:18-cv-01422-PLF Document 1 Filed 06/15/18 Page 148 of 210




Enterprise surrogates Holder, Lynch, Mueller, Comey and Rosenstein and concomitant illicit pressure

placed upon Assistant United States Attorney (and former CIA Officer) David I. Salem;

        511.    Also, with respect to bribery – especially that involving an officer of the United States or

the special case of a former officer who is anticipated to ascend to the presidency – the federal Travel

Act provides that whoever travels in interstate or foreign commerce with the intent to promote, establish,

carry on or facilitate the promotion, establishment, or carrying on of any unlawful activity and thereafter

performs or attempts to perform any unlawful activity (including bribery in violation of U.S. law, or

other federal violations discussed herein) shall be guilty of a crime;

        512.    The Enterprise also bribed, or attempted to bribe, members of the Obama administration,

and Obama himself, utilizing collusion between Hillary Clinton, Hillary for America, Soros and the

DNC spending in excess of $10,000,000.00 to influence the 2016 presidential general election by

funding the Russian SVR-sourced dossier that the Obama administration then used to mislead federal

judges and surreptitiously surveil an opposition party and private U.S. citizens – which upon information

and belief included but was certainly not limited to Plaintiff Gary Byrne;

    2. Acts or Threats Involving Extortion

        513.    Plaintiff repeats and re-alleges each and every allegation of the foregoing paragraphs as if

fully set forth herein;

        514.    The Enterprise engaged in extortion and attempted extortion affecting interstate or

foreign commerce, having done so “in any way or degree,” and conspired to do so amongst themselves

and with the Enterprise surrogates and participants;

        515.    In order to prevail on a charge of extortion, “the United States need only show that a

public official [such as Secretary Clinton] obtained a payment to which she was not entitled, knowing

that the payment was made in return for official acts.”;



                                                    148
            Case 1:18-cv-01422-PLF Document 1 Filed 06/15/18 Page 149 of 210




       516.    The Enterprise extortion offenses involved both the obtaining of monetary gains, i.e.,

property, “under color of official right” by Hillary Clinton, as well as the obtaining of property by

numerous Enterprise participants with the victim’s “consent, induced by wrongful use of threatened

force, violence or fear” – the extortion of others by Hillary Clinton, in order for her to be charged, does

not require that she took steps to induce the extortion;

       517.    “It is not a defense to a charge of extortion under color of official right that the defendant

could also have been convicted of bribery.” Evans v. United States, 504 U.S. 255 (1992);

       518.    Extortion reaches both the obtaining of property “under color of official right” by public

officials and the obtaining of property by private actors with the victim’s “consent, induced by wrongful

use actual or threatened force, violence or fear,” including fear of economic harm;

       519.    As part of the pattern of racketeering, and in addition to the foregoing, Hillary Clinton

and Enterprise principals and surrogates also used a “carrot and a stick” to imply threats of pecuniary

harm if Democratic donors did not support, i.e., max out contributions including to Brock entities and to

be laundered through State party organizations, to Hillary Clinton’s presidential bid in 2016 – while

holding out the prospect of favors and access “once Hillary Clinton became president”;

       520.    Similarly, the Hobbs Act, 18 U.S.C. §1951, prohibits actual or attempted extortion

affecting interstate or foreign commerce, and also standing alone proscribes conspiracy to commit

extortion without reference to the federal conspiracy statute; further, while proof of racketeering as an

element of Hobbs Act offenses is not required, any violation of the Hobbs Act, as here, is part of a

“pattern of racketeering activity” for purposes of prosecution under the RICO statute;

       521.    Others involved in extortion include Enterprise surrogates Comey who while he was FBI

Director, along with former FBI Deputy Director McCabe, with assistance from Yates, Brennan and




                                                    149
            Case 1:18-cv-01422-PLF Document 1 Filed 06/15/18 Page 150 of 210




Clapper, attempted to blackmail new President Donald Trump by subtly threatening him and inferring

that the fake “Trump dossier” contained information that had some basis in fact;

    3. Acts or Threats Involving Murder

        522.    Plaintiff repeats and re-alleges each and every allegation of the foregoing paragraphs as if

fully set forth herein;

        523.    According to former Democratic National Committee Chairperson (acting) Donna

Brazile, she felt threatened by the Clintons, implying they would have her murdered if she revealed the

any involvement in the hack of DNC servers that did not fit the Enterprise narrative of “Russian

involvement” prior to the 2016 presidential election;

        524.    Brazile apparently felt further threatened that the Clintons might subject her to bodily

harm (or have her murdered) if she revealed the Enterprise role in “rigging” the Democratic Party

primary in favor of Secretary Clinton;

        525.    Brazile’s fear was rationalized, according to her, by the murder of DNC employee Seth

Rich, whose murder is to this day unresolved;

        526.    In an unrelated lawsuit, it is alleged but strongly contested that the parents of Seth Rich

knew that their son downloaded 44,053 inculpatory Enterprise emails and 17,761 email attachments

from the DNC server and “sold them to Wikileaks”, prior to the murder of Seth Rich;

        527.    Upon information and belief, William and Hillary Clinton, as they had prior to Officer

Byrne’s testimony leading to the impeachment of the 42nd President of the United States, attempted to

arrange the murder of Officer Byrne upon the publication of Crisis – and that proof of same is contained

in “destroyed” emails at one time residing on the Clinton unsecure email server(s);

        528.    Upon information and belief, William and Hillary Clinton, with the assistance and cover

of Enterprise principals and surrogates, have engaged in having individuals “who crossed them” (a



                                                     150
            Case 1:18-cv-01422-PLF Document 1 Filed 06/15/18 Page 151 of 210




reference used by Brazile when describing her alleged Clinton murder-for-hire) murdered as part of the

Enterprise pattern of racketeering;

        529.    Upon information and belief, computer forensics from July 5, 2016 indicate that DNC

emails implicating the Enterprise were copied by an insider (someone affiliated with the DNC) via USB

and not hacked via external actors; DNC professional staff member Seth Rich was murdered five days

later on July 10, 2016;

        530.    In late July of 2016, the FBI announced it would investigate the DNC emails revealed by

Wikileaks, and that Enterprise surrogate Peter Strzok would lead the investigation;

        531.    On or around August 15, 2016, FBI investigator and Enterprise surrogate Strzok texted

his paramour, FBI senior lawyer and Enterprise surrogate Lisa Page, about needing an "insurance

policy" against a Trump presidency;

        532.    On June 15, 2017, Obama DHS Secretary Jeh Johnson testified under oath before

Congress that the DNC refused to turn over its server as demanded so the United States Government

could investigate whether the recently-murdered Seth Rich may have provided evidence of Enterprise

malfeasance to Wikileaks;

    4. Acts Indictable Relating to Bribery

        533.    Plaintiff repeats and re-alleges each and every allegation of the foregoing paragraphs as if

fully set forth herein;

        534.    Bribery, as applied to the Enterprise here, involves both acts and threats, and implicates

those bribing as well as those defendants being bribed;

        535.    Hillary Clinton was a “public official” at the time(s) she was bribed, in that she was an

officer acting on behalf of the United States and performing “official acts” in her official capacity as

United States Secretary of State;



                                                    151
            Case 1:18-cv-01422-PLF Document 1 Filed 06/15/18 Page 152 of 210




       536.    In the context of ongoing investigations with respect to Hillary Clinton and the

Enterprise, Hillary Clinton exchanged influence for self-enrichment for herself and her family, to seek

revenge against her enemies such as Officer Gary Byrne, and to further her presidential ambitions;

       537.    The Enterprise, through William Clinton, CGI, and CGEP, directly and indirectly,

corruptly gave, offered or promised money and in-kind assistance during Secretary Clinton’s tenure as

Secretary of State with the intent to influence myriad official acts or omissions by Hillary Clinton;

       538.    The Enterprise, through William Clinton, CGI, and CGEP, directly and indirectly,

corruptly gave, offered or promised money and in-kind assistance during Secretary Clinton’s tenure as

Secretary of State, to influence Hillary Clinton to commit or aid in committing, or collude in or allow,

any fraud or make the opportunity for the commission of massive fraud upon the United States

Government;

       539.    The Enterprise, through William Clinton, CGI, and CGEP, directly and indirectly,

corruptly gave, offered or promised money and in-kind assistance during Secretary Clinton’s tenure as

Secretary of State to induce Hillary Clinton to do or omit acts in violation of her lawful duty;

       540.    Secretary Hillary Clinton, being a public official, directly and indirectly, corruptly

demanded, sought, received, accepted or agreed to receive or accept things of value personally or for

William Clinton, CGI, and her daughter, Chelsea Clinton (a fiduciary of the Clinton Foundation), in

return for being influenced in the performance of any official act, being influenced to commit or aid in

committing, or to collude in, or allow, any fraud, or make opportunity for the commission of any fraud,

on the United States, or being induced to do or omit to do any act in violation of her official duty;

       541.    The Enterprise, directly or indirectly, corruptly gave, offered, or promised things of value

to numerous persons – including Hillary Clinton – or offered or promised such persons to give things of

value to any other person or entity, with intent to influence the testimony under oath or affirmation of



                                                    152
            Case 1:18-cv-01422-PLF Document 1 Filed 06/15/18 Page 153 of 210




such first-mentioned person as a witness upon a trial, hearing, or other proceeding, before any court, any

committee of either House or both Houses of Congress, or any agency, commission, or officer

authorized by the laws of the United States to hear evidence or take testimony, or with intent to

influence such person to absent himself therefrom;

       542.    Hillary Clinton, as well as myriad Enterprise surrogates named herein, directly or

indirectly, corruptly demanded, sought, received, accepted or agreed to receive or accept anything of

value personally or for any other person or entity in return for being influenced in testimony under oath

or affirmation as a witness upon any such trial, hearing, or other proceeding, or in return for absenting

himself therefrom;

       543.    Enterprise surrogates Holder, Comey, Mueller, Rosenstein, Lynch, Mills, Abedin,

McCabe, Strzok, Blumenthal, and other government officials so cited (and unknown named) herein, it is

alleged, are responsible as if they were named defendants as they actively participated in and furthered

the objectives and financial gain of the Enterprise, while inalterably injuring Plaintiff in his business

through their participation as surrogates in the Enterprise;

       544.    William and Hillary Clinton, otherwise than as provided by law for discharge of official

duty, and during the time they were “former public officials”, directly or indirectly demanded, sought,

received, accepted or agreed to receive or accept things of value personally for or because of any official

act to be performed by Hillary Clinton were she to be elected President;

       545.    Defendants Brock and the Enterprise, directly or indirectly gave, offered or promised

things of value to Hillary Clinton, as a former public official, for of because of official acts to be

performed by Hillary Clinton were she to be elected President – many such things of value were derived

from other illegal activities of the Enterprise defendants, surrogates, and participants – and in the




                                                     153
           Case 1:18-cv-01422-PLF Document 1 Filed 06/15/18 Page 154 of 210




process conspired to misuse for illicit Enterprise purposes the Democratic Party and by and through its

putative president, Hillary Clinton;

       546.    Defendants Brock and the Enterprise, directly or indirectly, gave, offered or promised

things of value to Hillary Clinton, Cheryl Mills, Huma Abedin, John Podesta and others who have lied

under oath, for or because of their testimony under oath or affirmation given or to be given by such

person as a witness upon a trial, hearing, or other proceeding, before any court, any committee of either

House or both Houses of Congress, or any agency, commission, or officer authorized by the laws of the

United States to hear evidence or take testimony, or for or because of such person’s absence therefrom;

       547.    Hillary Clinton, Cheryl Mills, Huma Abedin, John Podesta and others who have lied

under oath, directly or indirectly, have demanded, sought, received, accepted, or agreed to receive or

accept anything of value personally for or because of their testimony under oath or affirmation given or

to be given by such person as a witness upon any such trial, hearing, or other proceeding, or for or

because of such person’s absence therefrom;

       548.    The Enterprise and Clintons were aided and abetted by the Obama FBI and DoJ in

assisting Russia in obtaining control of the U.S. lethal uranium market, in exchange for a currency

transfer laundered through the Russian SVR/FSB to the Clinton Foundation while Hillary Clinton was

Secretary of State;

       549.    Neither Mueller, Holder nor Rosenstein have ever taken any action to unveil the

Clinton/Enterprise cover-up of Enterprise attempts to provide worldwide control of lethal uranium to

Russia and their known illicit end users;

       550.    William Clinton, on behalf of the Enterprise, and aiding his family and Hillary Clinton’s

presidential aspirations (including revenge against Plaintiff Gary Byrne, his business and life), held

secret talks with Arkady Dvorkovic – a leading consigliere to then-Russian President (and Putin



                                                    154
             Case 1:18-cv-01422-PLF Document 1 Filed 06/15/18 Page 155 of 210




“puppet”) Medvedev, in order to further the seditious Uranium One quid pro quo bribery and subsidize

the Enterprise into perpetuity;

       551.    Enterprise participants and surrogates violating the bribery provisions of federal law did

so knowing and intending to use extortion and obstruction of justice to achieve their illicit goals and thus

formed a conspiracy (often involving Enterprise collaboration in facilitating these threats against those

whose entire careers and lives would be impacted negatively) – this in and of itself constitutes another

vicious form of Enterprise predicate wrongdoing in the form of acts or threats involving extortion;

       552.    The Enterprise principals may be indicted for numerous State offenses, as well, including

acts or threats involving, as alleged here, bribery, extortion, murder – including their attempts,

conspiracies, and solicitations to commit any of these offenses (as is the case with similar Federal

offenses);

       553.    Such Enterprise State statutory offenses may constitute a proper RICO predicate provided

it substantially conforms to the essential elements under the prevailing definition for the offense when

RICO was enacted in 1970 – virtually all Enterprise State offenses meet the essential element threshold

even though the State statute used as a predicate need not use the same labels or titles as the listed

predicate offenses, but still may be an offense as described in Section 1961(1)(A);

       554.    It is alleged here and can easily be proven that for each Federal predicate offense, the

Enterprise has committed myriad counts of State offenses containing the essential elements of the

Federal predicate act;

       555.    The Enterprise has committed thousands of Federal and State predicate acts, and Plaintiff

alleges that this paragraph applies as if incorporated directly therein to each and every other paragraph

and any other section of this complaint;




                                                    155
              Case 1:18-cv-01422-PLF Document 1 Filed 06/15/18 Page 156 of 210




        556.    For purposes of this complaint, it is alleged that each State predicate offense as described

above was committed in each of the fifty United States, and U.S. territories, during the duration of three

national presidential campaigns, and involving use of the mail and wires;

    5. Acts Indictable Relating to Mail Fraud

        557.    Plaintiff repeats and re-alleges each and every allegation of the foregoing paragraphs as if

fully set forth herein;

        558.    Senior leadership of the FBI and DoJ criminally mishandled the content of the “Trump

dossier”, thereby obstructing justice in all manners set forth herein, and engaging in mail and wire fraud,

in all manners set forth herein – in so doing, the Enterprise and its surrogates engaged in a corrupt

conspiracy involving commissioned officers of the United States including the misleading of at least one

Article III federal judge;

        559.    The Defendants will be charged and convicted of multiple related violations of law which

form a pattern and practice and which violations are each potentially punishable as a felony constituting

mail fraud;

        560.    Defendants acted in criminal violation of the federal mail fraud statute under 18 U.S.C. §

1341 which provides “whoever, having devised or intending to devise any scheme or artifice to defraud,

or for obtaining money or property by means of false or fraudulent pretenses, representations or

promises, or to sell, dispose of, loan, exchange, alter, give away, distribute, supply, or furnish or procure

for unlawful use any counterfeit or spurious coin, obligation, security, or other article, or anything

represented to be or intimated or held out to be such counterfeit or spurious article, for the purpose of

executing such scheme or artifice or attempting so to do, places in any post office or authorized

depository for mail matter, any matter or thing whatever to be sent or delivered by the Postal Service, or

deposits or causes to be deposited any matter or thing whatever to be sent or delivered by any private or



                                                    156
           Case 1:18-cv-01422-PLF Document 1 Filed 06/15/18 Page 157 of 210




commercial interstate carrier, or takes receives therefrom, any such matter or thing, or knowingly

causes to be delivered by mail or such carrier according to the direction thereon, or at the place at which

it is directed to be delivered by the person to whom it is addressed, any such matter or thing, shall be

fine under this title or imprisoned not more than 20 years, or both [….];

       561.    There are two essential elements in mail fraud under Section 1341, both of which the

Enterprise has satisfied tens of thousands of times – (1) having devised or intending to devise a scheme

to defraud (or to perform specified fraudulent acts), and (2) use of the “mail” for the purpose of

executing, or attempting to execute, the scheme (or specified fraudulent acts);

       562.    The above-noted co-conspirators further obstructed justice via mail and wire by

instructing Trump dossier author Steele to publicly claim that said Trump dossier established

“collusion” between the campaign of private citizen Donald J. Trump and the “Russian Government” –

these co-conspirators also obstructed justice via mail and wire in furthering collusion between Fusion

GPS and the Russian SVR/FSB;

       563.    Libertarian U.S. Senator Rand Paul has confirmed that this conspiracy by wire and mail

is “worse than Watergate” – citing “high-ranking” Obama officials (and Enterprise surrogates) who

colluded to prevent the election of Donald J. Trump;

       564.    The Enterprise participants often communicated via Federal Express, UPS, and similar

commercial mail delivery carrier, and Enterprise surrogate Strzok arranged to mislead federal judge

Rudolph Contreras by mail, wire and in private settings generally reserved for close, intimate friends;

       565.    Enterprise surrogate Brennan, in order to swing the 2016 election to Hillary Clinton, and

in concert with Clapper, Comey and other surrogates, used the international mails (and wires) to

communicate with co-conspirators in the British intelligence services;




                                                    157
              Case 1:18-cv-01422-PLF Document 1 Filed 06/15/18 Page 158 of 210




       566.     Enterprise surrogates Sally Caroline Yates (former Deputy Attorney General), Loretta

Elizabeth Lynch (former Attorney General) and Samantha Jane Power (former United States

Ambassador to the United Nations) also conspired with senior FBI officials and Enterprise surrogates

Strzok, Comey and McCabe in use of the mails and wires to further a criminal conspiracy to obstruct

justice – Power also utilized Twitter to threaten the President of the United States, Donald John Trump;

       567.     Attorney General Lynch conspired via mail and wire with Enterprise surrogate Comey to

mislead nationwide law enforcement that the espionage investigation of Hillary Clinton was to be

referenced only as a “matter”;

       568.     As is the case with wire fraud, RICO has always had a relaxed standard with respect to

the particularity requirements of Enterprise mail and wire fraud – especially when the Enterprise, as

here, has engaged in a massive cover up (revealed only in small part by “Wikileaks”) and where there

are tens (if not hundreds) of thousands of putative counts of mail fraud by the Enterprise and its

surrogates;

       569.     Relevant Enterprise principals not only can be, but will be, indicted for thousands of

counts of mail fraud;

       570.     Defendants devised or intended to devise a scheme or artifice meant to defraud and/or for

obtaining money or property from illicit payments disguised as “donations”;

       571.     Defendants utilized false or fraudulent pretenses, representations, and/or promises in

order to defraud and/or obtain money from illicit payments disguised as “donations”;

       572.     In order to achieve or attempt to achieve the fraud described in the preceding paragraphs,

Defendant sent correspondence and other documents that were sent or delivered by the Postal Service

and by email (or by private service such as UPS, Federal Express, and the like);




                                                    158
            Case 1:18-cv-01422-PLF Document 1 Filed 06/15/18 Page 159 of 210




        573.    Hillary Clinton and the Enterprise, delivered by mail and wire to the United States Senate

Foreign Relations Committee, the CFIUS, and to the Federal Bureau of Investigation in 2017, as herein

noted and otherwise, make false statements under oath and penalty of perjury, concerning bribery

committed by herself, William Clinton and the Enterprise, concerning companies (foreign and domestic)

and foreign countries with direct connections to the Clinton Foundation, CGI, and CGEP, and in relation

to the corrupt and ongoing Uranium One transactions directly enabled by the Clinton Enterprise bribery,

did thereby obstruct justice as the United States attempted (and attempts) to determine the Enterprise

role in providing U.S. lethal uranium stocks to hostile foreign actors;

        574.    Secretary Clinton withheld vital information for which she was responsible for providing

to the chief law enforcement officer of the United States, President Barack Obama, thereby obstructing

justice, and furthered such obstruction by wire and mail in covering up such malfeasance and

endangering the security of the United States with respect to lethal uranium being provided to hostile

actors in exchange for bribes;

        575.    Each violation of 18 U.S.C. § 1341, as aggravated here, is a felony punishable by 30

years of imprisonment and a fine of $1,000,000 United States dollars;

    6. Acts Indictable Relating to Wire Fraud

        576.    Plaintiff repeats and re-alleges each and every allegation of the foregoing paragraphs as if

fully set forth herein;

        577.    The elements of wire fraud under Section 1343 directly parallel those of the mail fraud

statute, but require the use of an interstate phone call or electronic communication made in furtherance

of the scheme – all of which the Enterprise has satisfied tens (if not hundreds) of thousands of times

during the relevant period;




                                                    159
           Case 1:18-cv-01422-PLF Document 1 Filed 06/15/18 Page 160 of 210




       578.    The elements in this Circuit require proof that the wire fraud (1) involves a scheme to

defraud; and (2) the use of an interstate wire communication to further the scheme;

       579.    Each and every time any member of the Enterprise used any interstate wire

communication in furtherance of their scheme, the statute at issue was violated – and at the core of this

Enterprise operational scheme is collaboration among Enterprise principals and surrogates using the

telephone, emails (millions of which remain to be discovered, according to a subpoena for documents

issued by the United States House of Representatives Committee on the Judiciary to the United States

Department of Justice on or around March 21, 2018), text messages, and similar electronic

communications – there are 2.1 million potentially inculpatory and discoverable communications

currently under subpoena relating to Enterprise principals, surrogates, and participants;

       580.    As is the case with wire fraud, RICO has always had a relaxed standard with respect to

the particularity requirements of Enterprise mail and wire fraud – especially when the Enterprise, as

here, has engaged in a knowing, immense cover-up (revealed only in small part by “Wikileaks” based

upon a “hack” and/or insider theft of the indiscrete, inculpatory emails of Enterprise principal John

Podesta and Enterprise surrogates) and where there are tens (if not hundreds) of thousands of putative

counts of wire fraud by the Enterprise and its surrogates;

       581.    Relevant Enterprise principals not only can be, but will be, indicted for thousands of

counts of wire fraud;

       582.    The Defendants will be charged and convicted of multiple, related violations of law

which form a pattern and practice and which violations are each potentially punishable as a felony

constituting wire fraud;

       583.    Defendants acted in criminal violation of the federal wire fraud statute under 18 U.S.C.

§1343 which provides “whoever, having devised or intending to devise any scheme or artifice to



                                                   160
              Case 1:18-cv-01422-PLF Document 1 Filed 06/15/18 Page 161 of 210




defraud, or for obtaining money or property by means of false or fraudulent pretenses, representations,

or promises, transmits or causes to be transmitted by means of wire, radio, or television communication

in interstate or foreign commerce, any writings, signs, signals, pictures, or sounds for the purpose of

executing such scheme or artifice, shall be fined under this title or imprisoned not more than 20 years, or

both. [….];

        584.      Defendants devised or intended to devise a scheme or artifice meant to defraud and/or

obtain money or property from illicit payments disguised as donations and other forms of gratuities;

        585.      Defendants utilized false or fraudulent pretenses, representations, and/or promises in

order to defraud and/or obtain money from illicit payments disguised as donations and other forms of

gratuities;

        586.      The Enterprise also uses surrogates such as Brennan to openly prevaricate on traditional

and new media platforms: for example, Brennan has openly and repeatedly, at the instruction of the

Enterprise, shown his prejudice toward the current President of the United States through Twitter, such

as the following vitriol on March 17, 2018: “When the full extent of your venality, moral turpitude, and

political corruption becomes known, you will take your rightful place as a disgraced demagogue in the

dustbin of history”, and on March 21, 2018, Brennan implied on MSNBC’s “Morning Joe” that he

(Brennan) has knowledge that the President is being blackmailed by a foreign sovereign – Brennan also

is a paid contributor of MSNBC, raising the plausible inference of Enterprise wire fraud and obstruction

of justice when Enterprise surrogate Brennan knowingly and willfully prevaricates about these and

related topics;

        587.      Brennan has been accused of unconstitutional behavior, and of lying under oath, by

Senate Democratic leadership during the presidency of Barack Obama – entirely undermining the

credibility of Enterprise surrogate John Brennan;



                                                      161
           Case 1:18-cv-01422-PLF Document 1 Filed 06/15/18 Page 162 of 210




       588.    As an example, Brennan’s misleading briefing of then-Senate Minority Leader Harry

Reid (D-NV), on behalf of the Enterprise scheme of undermining Donald J. Trump, Sr. and committing

fraud to the FISC, was contemporaneously portrayed by Reid as Brennan “having an ulterior motive” –

this has led, in turn, to several separate ongoing investigations of Brennan by congressional oversight

committees and the United States Department of Justice (and a great deal of curiosity by the United

States District Court and Court of Appeals for the District of Columbia and District of Columbia Circuit,

respectively, as to Brennan’s Enterprise role in committing fraud upon the FISC);

       589.    Brennan’s misleading briefing of Minority Leader Reid, as the Enterprise intended,

provided cover for Christopher Steele’s false and unconfirmed reporting on Donald J. Trump, Sr. to leak

into public narrative by and through Reid’s demands placed upon Enterprise surrogates Comey, McCabe

and Strzok to investigate, and led separately and directly to the DoJ committing a fraud upon the FISC;

       590.    Enterprise surrogate Brennan, at the instigation of the Enterprise, provided the pretense

predicate for the corrupt investigation when he carried out the above-noted fraud upon all three branches

of government despite his May 23, 2017 testimony, under penalty of perjury, to the House Permanent

Subcommittee on Intelligence that “I don’t know whether such collusion [or any cooperation] existed.”;

       591.    On Tuesday, March 11, 2014, the then-chairwoman of the Senate Select Committee on

Intelligence, Dianne Feinstein (D-CA), accused Brennan and the Central Intelligence Agency of a

catalog of cover-ups, intimidation and smears aimed at investigators probing its role in a “un-American

and brutal” program of post-9/11 detention and interrogation;

       592.    Feinstein, an Obama administration loyalist, accused Brennan and the CIA of violating

the United States Constitution and of criminal activity in its attempts to obstruct her committee’s

investigations into the agency’s use of torture – Feinstein described the Brennan crisis as the “defining

moment” for political oversight of the U.S. intelligence service;



                                                   162
             Case 1:18-cv-01422-PLF Document 1 Filed 06/15/18 Page 163 of 210




          593.   Feinstein’s open public assault on Brennan and the CIA was “unprecedented”, based

upon the unconstitutional and criminal behavior she and myriad Democrats lodged against John Brennan

– who was openly accused of war crimes and surreptitiously spying without a warrant on Members of

Congress and their staff(s);

          594.   Feinstein was supported after her speech by the most senior Democrat and Chair of the

Senate Committee on the Judiciary, Senator Patrick Leahy (D-VT) and Mark Udall (D-CO) – who had

“directly pushed CIA director Brennan” to tell the truth about “misrepresentations about the CIA’s

brutal and ineffective detention and interrogation program”, to no avail;

          595.   Former CIA Chief of Station in Moscow, Daniel Hoffman, believed so strongly in the

corruption of Enterprise surrogate Brennan that Hoffman conceded within Trump antagonist “The

Cipher Brief” (led by CNN and Washington Post veterans) on Thursday, April 5, 2018 that Brennan’s

attempts to undermine the government of Donald J. Trump, Sr. “played right into the hands of an

adversary [Putin]” and that the Enterprise “partisanship [of Brennan] reached a new low … and were

shocking to intelligence officers” and Brennan caused “collateral damage” to the security of the United

States;

          596.   Enterprise surrogate Brennan, in order to swing the 2016 election to Hillary Clinton, and

in concert with Clapper, Comey and other surrogates, used the international mails (and wires) to

communicate with co-conspirators in the British intelligence services;

          597.   Like Enterprise surrogate Brennan, defendants in the immediate matter transmitted or

caused to be transmitted by means of wire, radio, or television communication in interstate or foreign

commerce, writings, signs, signals, pictures, or sounds for the purpose of executing such scheme or

artifice when they transmitted telephone and cellular telephone calls, documents, facsimiles, emails,

instant messages, and other form of communications on behalf of the Enterprise operational scheme;



                                                    163
            Case 1:18-cv-01422-PLF Document 1 Filed 06/15/18 Page 164 of 210




       598.    Hillary Clinton and the Enterprise, by mail and wire to the United States Senate Foreign

Relations Committee, the CFIUS (by commission and omission), and to the Federal Bureau of

Investigation in 2016 and 2017, did as herein noted and otherwise, make false statements under oath and

penalty of perjury (and false statements when improperly not placed by Enterprise surrogate Strzok

under oath concerning her violation of the espionage statutes), concerning bribery committed by herself,

William Clinton and the Enterprise, concerning companies (foreign and domestic) and foreign countries

with direct connections to the CF, CGI, and CGEP, and in relation to the corrupt and ongoing Uranium

One transactions directly enabled by the Clinton Enterprise bribery, did thereby obstruct justice as the

United States attempted (and attempts) to determine the Enterprise role in providing U.S. lethal uranium

stocks to hostile foreign actors;

       599.    The Enterprise also conspired with surrogates Comey, Strzok, McCabe, Page, Brennan

and Clapper, among numerous other unknown named surrogates, to abuse the FISA surreptitious wire

surveillance process to fraudulently deny one political party (the Republican Party, a nonprofit entity)

the honest opportunity to prevail in a structured presidential political contest, and to use that fraud – by

and through the most fraudulent political process on record – to further a significant objective of the

Enterprise, i.e., assure that Hillary Clinton became President of the United States in order to continue

their Enterprise into perpetuity, and to destroy her “enemies” such as Officer Gary Byrne;

       600.    Enterprise surrogate Brennan was particularly illicit in his desire to engage in Enterprise

activity pursuant to the myriad scheme, having been involved in FISA abuse and malfeasance to assist

Enterprise principal Hillary Clinton from the outset;

       601.    A senior Obama State Department official, Victoria Nuland, by her own admission gave

the “green light” to an FBI agent in 2016 to meet with dossier writer Christopher Steele, when the group

met in Steele’s London office, touching off an illicit relationship that would fuel the ongoing



                                                     164
            Case 1:18-cv-01422-PLF Document 1 Filed 06/15/18 Page 165 of 210




investigation into possible Donald Trump-Russia election collusion and intentionally leading to the

Democratic Party-financed dossier to mislead judge into approving a year of counterintelligence,

surreptitious and illegal surveillance in 2016 and 2017 – and to add oxygen to the nascent flames of this

Enterprise treasonous scheme, John O. Brennan, Mr. Obama’s CIA director, worked behind the scenes

before the 2016 presidential election to get his apprehensions about Trump (who was opposing

Brennan’s chosen political candidate) and Russia (which Brennan knew could blackmail Hillary Clinton

for eight years were she to become president) into the news media via illegal leaks;

       602.    These disclosures, including that Victoria Nuland, then at State, started the FBI-Steele

marriage is contained in “Russian Roulette.”

       603.    The FISA abuse set forth herein was illicitly utilized by Enterprise surrogates to obstruct

justice – namely but not exclusively to obstruct the investigations (or refusal to investigate by Enterprise

surrogates) the malfeasance of Hillary Clinton and related Enterprise surrogates (and their operational

schemes) – and is thus alleged and incorporated into all Enterprise acts sounding in obstruction of justice

and related process crimes as noted herein;

       604.    The Enterprise also bribed, or attempted to bribe, by use of mail and wire, members of

the Obama administration utilizing collusion between Hillary Clinton, HFA and the DNC spending in

excess of $10,000,000.00 to influence the 2016 presidential general election by funding the Russian

SVR-sourced dossier that the Obama administration then used to mislead federal judges and

surreptitiously surveil an opposition party and private U.S. citizens:

       605.    Enterprise surrogate Huma Abedin intentionally copied State Department emails to

convicted sex offender Weiner laptop and lied to the FBI about that fact – a significant series of felony

offenses by means of wire to further Enterprise obstruction of justice and related wrongdoing;




                                                    165
            Case 1:18-cv-01422-PLF Document 1 Filed 06/15/18 Page 166 of 210




       606.        On November 17, 2016, National Security Agency Director Mike Rogers, fearing that

Trump Tower has been placed under illicit surreptitious electronic surveillance without a showing of

probable cause (but rather based upon Enterprise fallacious information used to misinform an Article III

federal judge), informed President-elect Donald J. Trump that various methods of such surveillance

were being used by the Obama Intelligence Community upon the instructions of, among others,

Enterprise surrogate James Clapper, against the President-elect;

       607.    On or around March 5, 2017, perjuring himself in order to obstruct justice by means of

wire, Obama DNI James Clapper stated that “he knows of no FISA warrant ever approved of Trump and

his associates”;

       608.    On January 12, 2018, the Uranium One Tenex/Tenem bribery, Fraud and Money

Laundering scheme by mode of wire was finally fully revealed, after being unduly delayed as a result of

nearly eight years of obstruction by Enterprise surrogates Holder, Mueller and Rosenstein and

concomitant illicit pressure on Assistant United States Attorney (and former CIA Officer) David I.

Salem – this obstruction is alleged to be worse than Mueller had employed while earlier protecting

mass-murderer mafia member James “Whitey” Bulger;

       609.    As to all Enterprise principals, surrogates and participants, it is without question that all

of the illicit acts carried out in pursuit of the Enterprise malfeasance were at some juncture carried out

by way of the wires and within the auspices of the federal wire fraud statute – each time they carried out

such covered act(s);

       610.    It is also without question that any Enterprise State or international act or conspiracy,

such as the Hillary Victory Fund kickbacks and/or the Brennan communications with Great Britain,

involved wire fraud and thus must be charged for such against those blameworthy parties;




                                                    166
            Case 1:18-cv-01422-PLF Document 1 Filed 06/15/18 Page 167 of 210




        611.    Each violation of 18 U.S.C. § 1343, as aggravated here, is a felony punishable by

between 20 and 30 years of imprisonment and a fine of $1,000,000 United States Dollars.

    7. Acts Indictable Relating to Obstruction of Justice

        612.    Plaintiff repeats and re-alleges each and every allegation of the foregoing paragraphs as if

fully set forth herein;

        613.    The Enterprise is a virtual obstruction of justice machine, and as part of their mission

have on innumerable occasions “corruptly … influenced, obstructed, or impeded, or endeavored to

influence, obstruct, or impede, the due administration of justice”;

        614.    As relevant here, inter alia, conduct within the purview of the obstruction of justice

statute, as here, also violates the following statutes: 18 U.S.C. § 201(a), (b), and (c) – bribery of Federal

public officials and witnesses (see relevant proscribed acts, herein, for overlap with 18 U.S.C. §§ 1503

and 1505 (public officials) and 18 U.S.C. § 1512 (witness) – although subsection (e) of § 201 provides

that the offenses and penalties are separate from and in addition to those in §§ 1503-1505;

        615.    As relevant here, inter alia, conduct within the purview of the obstruction of justice

statute, as here, also violates the following statute: 18 U.S.C. § 241, a conspiracy to injure or intimidate

any citizen on account of his or her … possibility of exercise of a Federal right, e.g., appropriate

donations under First Amendment rights; one other such right is the right to be a truthful witness in a

Federal court (which, as set forth herein, the Enterprise would not tolerate);

        616.    As relevant here, inter alia, conduct within the purview of the obstruction of justice

statute, as here, also violates the following statutes: 18 U.S.C. § 371 and 372, involving conspiracies to

commit any offense against the United States, or to prevent or retaliate in response to the lawful

discharge of the duties of Federal officers;




                                                    167
            Case 1:18-cv-01422-PLF Document 1 Filed 06/15/18 Page 168 of 210




        617.    As relevant here, inter alia, conduct within the purview of the obstruction of justice

statute also violates the following statute: 18 U.S.C. § 1001, involving false statements and concealment

of material facts before Federal departments and agencies (Justice Department will charge, inter alia, as

overlap with 18 U.S.C. § 1505);

        618.    As relevant here, inter alia, conduct within the purview of the obstruction of justice

statute also violates the following statutes: 18 U.S.C. § 1621-1623, involving perjury, subornation of

perjury, and false declarations before grand juries and courts (Justice Department will charge, inter alia,

as overlap with 18 U.S.C. §§ 1503, 1505, and 1512);

        619.    Further, and as relevant here, evasive testimony, such as a false denial of knowledge or

memory, will be charged on its own and to the omnibus clause of 18 U.S.C. §1503 – and will also be

charged when this proscribed activity interferes with other witnesses or documentary evidence;

        620.    Suborning perjury, 18 U.S.C. § 1622, may also be an 18 U.S.C. § 1503 omnibus clause

offense, even where perjury was in fact not committed, as the predicate of the omnibus clause of 18

U.S.C. §1503 is fully satisfied and will be used to prosecute when attempts to suborn perjury are at

issue, as herein;

        621.    Also, and as prevalent throughout the Brock entities and other nonprofit partisan entities

like them affiliated with the Enterprise, 26 U.S.C. § 7212, directly involving these entities and involving

interference with or endeavoring to interfere with the due administration of the Internal Revenue laws

(Justice Department will charge, inter alia, the overlap with 18 U.S.C. § 1505);

        622.    Upon information and belief, each of the predicate acts – in addition to standing on their

own as part of a pattern of racketeering – were committed with the intent to obstruct justice – with intent

being inferred from the illegal use of a private email server as well as the other methods of obfuscation

used by the Enterprise and its principals and surrogates;



                                                    168
            Case 1:18-cv-01422-PLF Document 1 Filed 06/15/18 Page 169 of 210




         623.   Upon information and belief, the Enterprise has so obstructed justice hundreds of

thousands of times within the relevant statutory period;

         624.   Hillary Clinton and the Enterprise, by mail and wire to the United States Senate Foreign

Relations Committee, the CFIUS (by commission and omission), and to the Federal Bureau of

Investigation in 2017, did as herein noted and otherwise, make false statements under oath and penalty

of perjury, concerning bribery committed by herself, William Clinton and the Enterprise, concerning

companies (foreign and domestic) and foreign countries with direct connections to the CF, CGI, and

CGEP, and in relation to the corrupt and ongoing Uranium One transactions directly enabled by the

Clinton Enterprise bribery, did thereby obstruct justice as the United States attempted (and attempts) to

determine the Enterprise role in providing U.S. lethal uranium stocks to hostile foreign actors;

         625.   President Donald J. Trump, on the other hand, has not only blocked 18 foreign

acquisitions which pose a risk to United States national and economic security, he has worked with

Congress to assist him in this task;

         626.   At the instructions of the Enterprise, Enterprise surrogates Holder and Mueller,

knowingly and contrary to DoJ Guidelines, failed to interview informants regarding their knowledge of

Enterprise criminal collusion with the Russian Federation;

         627.   The Enterprise and Clintons were aided and abetted by the Obama FBI in assisting Russia

in obtaining control of the U.S. lethal uranium market, to this day, in exchange for a currency transfer

laundered through the Russian SVR to the Clinton Foundation while Hillary Clinton was Secretary of

State;

         628.   Just as the Enterprise undermined the truthful disclosures of Officer Byrne, which tended

to infer malfeasance attributable to Hillary Clinton, Enterprise surrogates Comey, Strzok, Lynch, Yates

and their various sycophants conspired with the Enterprise, via wire and mail, to “insure” – including



                                                    169
            Case 1:18-cv-01422-PLF Document 1 Filed 06/15/18 Page 170 of 210




but not limited to knowing obstruction of justice in collusion with the Russian SVR and FSB – that

Donald J. Trump would not prevail in the 2016 presidential election;

        629.    Upon information and belief, on April 9, 2016, senior FBI manager Peter Strzok

interviewed Enterprise surrogate Cheryl Mills and, thereby, by omission and commission, sought to and

did interfere with the investigation into the Enterprise Clinton e-mail servers in exchange for lenient

treatment of Secretary Clinton;

        630.    During the final months of the corrupt Clinton email investigation, FBI

counterintelligence agent Peter Strzok was advised of an irregularity in the metadata of Hillary Clinton’s

server that suggested a possible breach, but intentionally conspired with Clapper, Brennan, McCabe and

Page, as well as unknown named defendants, in failing to follow up in any meaningful way and thus

conspiring to obstruct justice;

        631.    As underlying inference for this conspiracy to obstruct justice, this group of known and

unknown named FBI officers violated the most basic of intelligence community directives, ICD 732, by

which standard damage assessments are required to done “in response to unauthorized disclosure or

compromise of classified national intelligence.”

        632.    ICD 732 is basic, open-source counterintelligence practice, grounded in the National

Security Act of 1947, the Counterintelligence Act of 2002, Executive Order 12333, and related black

letter intelligence law, presidential order, and regulatory dictate in pursuance thereof – each of the co-

conspirators would therefore be charged as if expertise is a presumption underlying individual and

collective intent to obstruct justice;

        633.    Intelligence beyond top secret was identified on the Clinton server. As Secretary of State,

Clinton chose to use a private, non-secure server for government business;




                                                    170
           Case 1:18-cv-01422-PLF Document 1 Filed 06/15/18 Page 171 of 210




       634.    Enterprise surrogate Strzok, who sent anti-Trump text messages that resulted in him

being removed from the ongoing Special Counsel Robert Mueller’s Russia probe, was told about the

metadata anomaly in 2016, but Strzok did not support a formal damage assessment in violation of ICD

732 – raising an inference of intentional misfeasance;

       635.    In December, when the texts between Strzok and FBI lawyer Lisa Page became public,

congressional sources said Strzok was “part of then FBI Director James Comey's inner circle, who

advised and made edits to Comey's July 2016 public statement recommending against criminal charges

in the Clinton probe”;

       636.    The corrupt FBI edits addressed the likelihood the Clinton server had been compromised;

In the initial May 2016 draft, two months before Clinton and more than a dozen key witnesses were

interviewed, Comey said it was “reasonably likely” that “hostile actors” gained access to then-Secretary

of State Hillary Clinton's private email account - that was later changed by the co-conspirators to say the

scenario was merely “possible” (a clear and credible obstruction of justice by the Enterprise actors);

       637.    In his July 5, 2016 statement, on behalf of the Enterprise, Comey said: “With respect to

potential computer intrusion by hostile actors, we did not find direct evidence that Secretary Clinton’s

personal e-mail domain, in its various configurations since 2009, was successfully hacked. But, given

the nature of the system and of the actors potentially involved, we assess that we would be unlikely to

see such direct evidence.”

       638.    Comey said hostile actors got access to private accounts of Clinton’s close contacts. He

also said Clinton’s use of personal email was widely known, her email address was readily apparent and

she used the account while travelling overseas where hostile nations and sophisticated hackers operate.

       639.    “Given that combination of factors, we assess it is possible that hostile actors gained

access to Secretary Clinton’s personal e-mail account,” Comey said at the time;



                                                   171
            Case 1:18-cv-01422-PLF Document 1 Filed 06/15/18 Page 172 of 210




        640.    Another corrupt edit, which intentionally limited Clinton's legal exposure, included

changing the language to describe the former Secretary of State's actions from “grossly negligent” to

“extremely careless.” This is a key legal distinction because, under the federal criminal statute 18 USC

793, the relatively low legal standard that must be proven for an espionage offense by Hillary Clinton

and her Enterprise co-conspirators – including but not limited to Mills, Abedin, Blumenthal, William

Clinton, and numerous unnamed known defendants is mere “gross negligence”;

        641.    Comey conceded that the gross negligence standard was met when he publicly announced

that “110 e-mails in 52 e-mail chains have been determined by the owning agency to contain classified

information at the time they were sent or received,” Comey said in his July 2016 statement about the

Hillary Clinton case. “Eight of those chains contained information that was top secret at the time they

were sent; 36 chains contained secret information at the time; and eight contained confidential

information, which is the lowest level of classification.”

        642.    Comey then corruptly concluded, citing a non-standard, that “no reasonable prosecutor”

would charge the above case as even one count of “gross negligence” espionage under 18 U.S.C. §793 -

perhaps the most duplicitous, asinine statement ever made by an FBI Director in the sordid history of

that institution’s leadership;

        643.    With respect to the foregoing obstruction, Hillary Clinton, on behalf of the Enterprise,

obstructed justice in myriad ways in the context of various State and Federal government investigations,

inter alia, making false statements to Congress and the FBI regarding the Clinton private electronic mail

server, false statements with relation to the ongoing federal probe regarding Uranium One, and

numerous other violations of law;

        644.    The Director of the CIA, Enterprise surrogate Brennan, took it upon himself, in August of

2016, to arrange a series of knowingly-misleading briefings for the so-called Gang of Eight — the



                                                    172
           Case 1:18-cv-01422-PLF Document 1 Filed 06/15/18 Page 173 of 210




Democratic and Republican leaders in both chambers of Congress, and the chairs and ranking minority

members on the Senate and the House intelligence committees – wherein Brennan “instructed” the most

senior lawmakers in the United States that he “had information indicating that Russia was working to

help elect Donald J. Trump president,” a view that was not supported by any intelligence assessment –

thereby obstructing justice by and through the making of numerous false statements to the highest

ranking relevant Members of Congress, and to President Obama;

       645.    As now known, Brennan had conducted his own illicit investigation targeting Trump

(illegal unless approved by President Obama), at home and abroad, in the months leading up to and to

provide a predicate for Operation Crossfire Hurricane;

       646.    Upon instruction by the Enterprise, Congress was then briefed on the contents of the fake

Trump dossier during the campaign by the FBI, not Steele or Fusion GPS, according to a Fusion GPS-

sourced story in September 2016 by known partisan Michael Isikoff for Yahoo! News; as such, the

relationship between the FBI and Steele, based on wholly unverified information, was gravely serious

and integral to the obstruction of an ongoing investigation of Hillary Clinton and equally egregious

obstruction (by planting false information) of any other review;

       647.    With respect to Hillary Clinton’s Enterprise espionage, and obstruction of justice with

respect thereto, on July 23, 2014, the House Select Committee on Benghazi reached agreement with the

State Department to produce Clinton emails relevant to their investigation, and immediately thereafter,

on July 24, 2014, Clinton IT aide and Enterprise surrogate Paul Combetta, using the alias "Stonetear",

requested assistance on “Reddit” (an American social news aggregation and discussion website) for

deleting VIP email addresses with the specific intent to obstruct the House Select Committee on

Benghazi investigation;




                                                   173
           Case 1:18-cv-01422-PLF Document 1 Filed 06/15/18 Page 174 of 210




       648.    On March 3, 2015, Enterprise surrogate Mills called Platte River Networks, which

operated the Clinton Enterprise email server, to confirm all emails were deleted per the Hillary Clinton

2014 order;

       649.    On March 31, 2015, Enterprise/Clinton IT specialist Paul Combetta realized he had not

deleted all of Clinton's emails, and used BleachBit software to intentionally destroy evidence per the

earlier order of Hillary Clinton and Enterprise surrogate Mills;

       650.    Hillary Clinton also obstructed justice by routinely ordering classification markings to be

removed and later claiming she did not intentionally place classified information under subpoena on a

nonsecure private server;

       651.    It is impossible to “paste” a classified document into an unclassified email accidentally,

because the computer systems are physically separate networks, each feeding into an independent hard

drive on the government user’s desk, so when these “unmarked” classified documents were later

discovered in an unclassified email from or to Hillary Clinton, then someone downloaded it onto a

thumb drive and manually uploaded it to the unclassified network — an intentional act;

       652.    Hillary Clinton’s emails suggest that downloading and uploading material in this fashion

was a commonplace activity in her office; in June 2011, a staffer encountered difficulty transmitting a

document to her by means of a classified system and Hillary Clinton simply instructed him in the

following (illegal) way to strip the classified markings from the document and send it on as an

unclassified email - “Turn into nonpaper w no identifying heading and send nonsecure”;

       653.    On May 19, 2015, DOJ official and Enterprise surrogate Peter Kadzik, writing from a

personal email account, emailed Enterprise defendant John Podesta to warn of a House investigation

into Clinton's emails and destruction of evidence – thereby furthering the mass obstruction (deleting

evidence) with a “tip” from the Obama Justice Department to the Hillary Clinton campaign chairman;



                                                   174
           Case 1:18-cv-01422-PLF Document 1 Filed 06/15/18 Page 175 of 210




       654.    On June 24, 2015, the United States Government announced that classified information

and inculpatory information about threats to Clinton “enemies” was illegally placed on Clinton’s private

email server to hide it from disclosure, that the evidence had been illegally destroyed, and that putative

espionage charges have been referred to the FBI;

       655.    Enterprise surrogate Huma Abedin intentionally copied (sent) State Department emails,

some containing confidential information, to later-convicted sex offender Anthony Weiner’s laptop and

lied to the FBI about that fact – the confidential emails may have been accessible by foreign agents

posing as underage girls attempting to entice known pedophile Weiner;

       656.    In early May of 2016, directly contemporaneous with the provision of Enterprise

surrogate Comey’s “coordination” with his top FBI staff in which they concluded that Secretary Clinton

will be exonerated despite having committed espionage, Nellie Ohr, wife of DOJ executive Bruce Ohr,

was hired by Fusion GPS to work on a false Trump "Dossier” – Bruce Ohr did not report this

“employment” as required on ethics forms, thereby filing false statements in order to obstruct justice;

       657.    On January 29, 2016, FBI director James Comey named a knowingly-compromised

Enterprise surrogate Andrew McCabe as deputy director, with responsibility for direct oversight of

Clinton investigation with covert instructions to “spike” the espionage aspects for which Secretary

Clinton was particularly vulnerable;

       658.    Enterprise surrogate McCabe was intentionally placed in charge of obstructing the

Hillary Clinton espionage investigation directly after, on January 15, 2016, John Giacalone, head of the

FBI's National Security Division, retired after observing that the Clinton/Enterprise email probe was

being undermined from within the FBI by Enterprise surrogates Comey and McCabe (with illegal

assistance from Strzok and Page);




                                                    175
            Case 1:18-cv-01422-PLF Document 1 Filed 06/15/18 Page 176 of 210




       659.    On July 2, 2016, Hillary Clinton was interviewed by Enterprise surrogate and FBI senior

official Peter Strzok for 3 hours, yet in another clear attempt to obstruct any material criminal

investigation, Hillary Clinton was not placed under oath nor was the interview of the putative espionage

suspect, Hillary Clinton, even recorded – amazingly, the Enterprise surrogate who passed along Hillary

Clinton’s earlier order to destroy emails, Cheryl Mills, was permitted to attend the interview as Hillary

Clinton’s “attorney”, thus providing to all other witnesses, subjects or targets, e.g., Mills, all of the

information that the FBI was focused upon, in clear and unadulterated obstruction of justice;

       660.    On July 5, 2016, Enterprise surrogate and FBI Director James Comey – no longer a

prosecutor at the time – announced that “no reasonable prosecutor” would bring any charges against

Enterprise principal Hillary Clinton, thereby obstructing justice while knowing that Enterprise surrogate

and Attorney General Loretta Lynch would also obstruct justice by refusing to prosecute Hillary

Clinton;

       661.    On November 17, 2016, National Security Agency Director Mike Rogers, fearing that

Trump Tower has been placed under illicit surreptitious surveillance without a showing of probable

cause (but rather based upon Enterprise fallacious information used to misinform an Article III federal

judge), informed President-elect Donald J. Trump that various methods of such surveillance were being

used by the Obama Intelligence Community upon the instructions of Enterprise surrogate James

Clapper, among others, against the President-elect;

       662.    On or about November 18, 2016, Enterprise surrogate Clapper, among others, and for

reasons relating to NSA Director Rogers attempting to inform his President-elect of the illegal

surveillance, attempted to have Rogers removed as NSA Director and thereby further obstruct justice;

       663.    On or around March 5, 2017, perjuring himself in order to obstruct justice, Obama DNI

James Clapper stated that he knew of no FISA warrant ever approved of Trump and his associates –



                                                      176
           Case 1:18-cv-01422-PLF Document 1 Filed 06/15/18 Page 177 of 210




when Clapper in fact knew that such FISA warrant had been approved and renewed several times and

covered within its scope surreptitious surveillance (against numerous U.S. citizens) regarding past email

traffic among Trump campaign employees and volunteers;

       664.    On or about March 20, 2017, Enterprise surrogate Comey testified under oath that his

FBI secretly investigated Trump-Russia "collusion" starting in June of 2016 yet hid that fact from

Congress – further obstructing any congressional inquiry;

       665.    After being terminated as FBI Director, Enterprise surrogate Comey leaked classified

internal FBI memoranda to an intimate friend across state lines, which represents intentional and

criminal behavior, by means of wires or mail and in order to obstruct justice, by Enterprise surrogate

Comey;

       666.    On or about March 20, 2017, Obama DNI James Clapper, again knowingly and willfully

obstructing justice, denied any abuse of the FISA statute to conduct surveillance of Trump or his

associates – a denial now known to be manifestly false;

       667.    Enterprise surrogate Clapper was also determined by the United States Congress to have

provided inconsistent testimony with respect to unauthorized contacts with the media while in office in

order to further obstruct justice and criminal investigations regarding providing of classified information

to one not authorized to receive it, i.e., espionage – the unauthorized leaks by Clapper potentially

endangered lives and damaged national security, according to findings of the United States Congress;

       668.    On June 8, 2017, Enterprise surrogate Comey testified under oath and penalty of perjury

that he leaked internal FBI memoranda to an intimate friend across state lines, which represents

intentional and criminal behavior, by means of wires or mail and in order to obstruct justice, in order to

spur the naming of a special counsel – thus abusing and obstructing justice by use of mail or wire;




                                                    177
            Case 1:18-cv-01422-PLF Document 1 Filed 06/15/18 Page 178 of 210




       669.    Each of the Enterprise principals and participants, and many (if not all) of their

surrogates, will be indicted for obstruction of justice – an outcome they did not foresee due to their

belief that their numerous crimes/predicate acts would never be discovered were Enterprise principal

Hillary Clinton to become president;

       670.    On June 15, 2017, Obama DHS Secretary Jeh Johnson testified under oath before

Congress that the DNC refused to turn over its server as demanded so the United States Government

could investigate whether Seth Rich may have provided evidence of Enterprise malfeasance to

Wikileaks – thus inferring an improper motive upon his own DNC, at the very least involving

obstructing justice but allowing for other inferences to be drawn from such refusal;

       671.    On or around July 7, 2017, Enterprise surrogate Comey asserted that the "Trump

Dossier" – funded by the Hillary for America presidential campaign and Soros and using information

provided by Russia - was "salacious and unverified";

       672.    On January 12, 2018, the Uranium One Tenex bribery, Fraud and Money Laundering

scheme was finally fully revealed, as a result of nearly eight years of obstruction of justice by Enterprise

surrogates Holder, Mueller and Rosenstein and concomitant illicit pressure on Assistant United States

Attorney (and former CIA Officer) David I. Salem;

       673.    As to the shocking obstruction of justice by the Obama FBI and DoJ to protect Hillary

Clinton and undermine Donald J. Trump, Sr., the DoJ Inspector General (appointed by Obama) found

that Enterprise FBI misconduct is instructive. Following Brennan’s lengthy attempt to undermine

Trump, the lead FBI counterintelligence officer working with the Enterprise against Trump and Byrne

engaged in the following text message exchanges with his paramour, Lisa Page, who also was the legal

counsel to FBI Deputy Director Andrew McCabe (who has been referred for prosecution);




                                                    178
            Case 1:18-cv-01422-PLF Document 1 Filed 06/15/18 Page 179 of 210




        674.    In these exchanges, the examples of bias are astonishing for two senior officials who had

just spiked the Clinton email espionage investigation and, along with Attorney General Loretta Lynch

and her Deputy, Sally Yates, had spiked the Clinton Foundation corruption investigation (thus

obstructing justice in myriad ways, including obstruction of a criminal investigation), while instigating

an official investigation against the Trump campaign (Crossfire Hurricane), Strzok notes that “we can’t

take the risk” of Trump being elected or retained in office, and further noted that the FBI needed to

undermine Trump as an “insurance policy” as a hedge against any possible Trump victory in the 2016

presidential contest. If that were not shocking enough, just one week earlier than the “insurance policy”

text exchange, the following exchange had occurred between Page and Strzok, key officers and lawyers

conducting the Clinton e-mail investigation, the Clinton Foundation Investigation, the misleading of the

FISC, the pre-election surveillance and HCS misuse regarding Trump and Byrne, and Operation

Crossfire Hurricane:

Page: “[Trump’s not ever going to become president, right? Right?! (August 9, 2016)

Strzok: No. No he won’t. We’ll stop it.” This is proof of FBI/Enterprise sedition, as Strzok had just

spiked the Clinton e-mail investigations and McCabe, Yates and Lynch (along with Strzok) had spiked

the Clinton Foundation investigation. This seditious exchange was 9 days after Operation Crossfire

Hurricane started and 6 days before the “insurance policy” text;

    8. Acts Indictable Relating to Obstruction of Criminal Investigations

        675.    Plaintiff repeats and re-alleges each and every allegation of the foregoing paragraphs as if

fully set forth herein;

        676.    Whoever willfully endeavors, as the Enterprise has since its inception, by means of

bribery to obstruct, delay, or prevent the communication of information relating to a violation of any




                                                    179
            Case 1:18-cv-01422-PLF Document 1 Filed 06/15/18 Page 180 of 210




criminal statute of the United States by any person to a criminal investigator is subject, per count, to a

five-year prison sentence and substantial criminal fine;

       677.    Upon information and belief, each of the predicate acts – in addition to standing on their

own as part of a pattern of racketeering – were committed with the intent to obstruct justice and obstruct

criminal investigations – with criminal intent being inferred from the illegal use of a private email

server, admitted destruction of evidence, discussions among surrogates Strzok and Page, John Podesta

admissions, the admissions in Exhibit “A” hereto, as well as the myriad other methods of criminal

obfuscation used by the Enterprise and its principals and surrogates;

       678.    As relevant here, inter alia, conduct within the purview of the obstruction of justice

statute also violates the following statutes: 18 U.S.C. § 371 and 372, involving conspiracies to commit

any offense against the United States, or to prevent or retaliate in response to the lawful discharge of the

duties of Federal officers – thereby aggravating Enterprise wrongdoing significantly;

       679.    As relevant here, inter alia, conduct within the purview of the obstruction of justice

statute, as here, also violates the following statute: 18 U.S.C. § 1001, involving false statements and

concealment of material facts before Federal departments and agencies (Justice Department will charge,

inter alia, as overlap with 18 U.S.C. § 1505) - thereby aggravating Enterprise wrongdoing significantly;

       680.    As relevant here, inter alia, conduct within the purview of the obstruction of justice

statute, as here, also violates the following statutes: 18 U.S.C. § 1621-1623, involving perjury,

subornation of perjury, and false declarations before grand juries and courts (Justice Department will

charge, inter alia, as overlap with 18 U.S.C. §§ 1503, 1505, and 1512) - thereby aggravating Enterprise

wrongdoing significantly;

       681.    Further, and as relevant here, evasive testimony, such as a false denial of knowledge or

memory, will be charged on its own and to the omnibus clause of 18 U.S.C. §1503 – and will also be



                                                    180
           Case 1:18-cv-01422-PLF Document 1 Filed 06/15/18 Page 181 of 210




charged when this proscribed activity interferes with other witnesses or documentary evidence - thereby

aggravating Enterprise wrongdoing significantly;

       682.    Suborning perjury, 18 U.S.C. § 1622, may also be an 18 U.S.C. § 1503 omnibus clause

offense, even where perjury was in fact not committed, as the predicate of the omnibus clause of 18

U.S.C. §1503 is fully satisfied and will be used to prosecute when attempts to suborn perjury are at

issue, as herein - thereby aggravating Enterprise wrongdoing significantly;

       683.    Also, and as prevalent throughout the Brock entities and other nonprofit partisan entities

like them affiliated with the Enterprise, 26 U.S.C. § 7212, directly involving these entities and involving

interference with or endeavoring to interfere with the due administration of the Internal Revenue laws

(Justice Department will charge, inter alia, the overlap with 18 U.S.C. § 1505) - thereby aggravating

Enterprise wrongdoing significantly;

       684.    As noted, upon information and belief, each of the predicate acts – in addition to standing

on their own as part of a pattern of racketeering – were committed with the intent to obstruct justice –

with intent being inferred from the illegal use of a private email server as well as the other methods of

obfuscation used by the Enterprise and its principals and surrogates;

       685.    On January 29, 2016, FBI director James Comey named disgraced and putative felon

Andrew McCabe deputy director, with responsibility for oversight of Clinton investigation with covert

instructions to “spike” the espionage aspects for which Secretary Clinton was particularly vulnerable

after, on January 15, 2016, John Giacalone, head of the FBI's National Security Division, retired after

observing that the Clinton/Enterprise email probe was being undermined from within the FBI by

Enterprise surrogates Comey and McCabe (with illegal assistance from Strzok and Page);

       686.    In early May of 2016, directly contemporaneous with the provision of Enterprise

surrogate Comey’s “coordination” with his top FBI staff that Secretary Clinton would be exonerated



                                                    181
            Case 1:18-cv-01422-PLF Document 1 Filed 06/15/18 Page 182 of 210




despite having committed espionage, Nellie Ohr, wife of DOJ executive Bruce Ohr, was hired by Fusion

GPS to work on Trump "Dossier” – Bruce Ohr’s failure to report this employment on mandatory

government ethics forms represents obstruction of an ongoing criminal investigation and must be

charged, in addition, in conjunction with the obstruction corollary offenses set forth in the preceding

paragraphs of this section;

        687.     On July 2, 2016, Hillary Clinton was interviewed by Enterprise surrogate and FBI senior

official Peter Strzok for 3 hours, yet in another clear attempt to obstruct any material criminal

investigation, Hillary Clinton was not placed under oath nor was the interview of the putative espionage

suspect, Hillary Clinton, even recorded – amazingly, the Enterprise surrogate who passed along Hillary

Clinton’s earlier order to destroy emails, Cheryl Mills, was permitted to attend the interview as Hillary

Clinton’s “attorney”, thus providing to all other witnesses, subjects or targets, e.g., Mills, all of the

information that the FBI was focused upon, in clear and unadulterated obstruction of a criminal

investigation;

        688.     As noted, Enterprise surrogate Huma Abedin intentionally copied/sent State Department

confidential emails to convicted sex offender Anthony Weiner’s laptop and lied to the FBI about that

fact;

        689.     The Enterprise is known widely for utilizing perjury, false statements, and threats in

support of their bribery to keep thousands of violations of federal crimes they have committed from

criminal enforcement agencies and investigator; in fact, many of their surrogates, e.g., Comey, Mueller,

Rosenstein, Holder, Lynch, etc… were the supervisors of criminal investigators from whom such

violations of criminal law were withheld – thus, criminal obstruction was overseen and assured by and

from the highest levels of U.S. enforcement agencies;




                                                      182
            Case 1:18-cv-01422-PLF Document 1 Filed 06/15/18 Page 183 of 210




       690.    Hillary Clinton and the Enterprise, by mail and wire to the United States Senate Foreign

Relations Committee, the CFIUS (by commission and omission), and to the Federal Bureau of

Investigation in 2017, did as herein noted and otherwise, make false statements under oath and penalty

of perjury, concerning bribery committed by herself, William Clinton and the Enterprise, concerning

companies (foreign and domestic) and foreign countries with direct connections to the CF, CGI, and

CGEP, and in relation to the corrupt and ongoing Uranium One transactions directly enabled by the

Clinton Enterprise bribery, did thereby obstruct justice as the United States attempted (and attempts) to

determine the Enterprise role in providing U.S. lethal uranium stocks to hostile foreign actors;

       691.    Hillary Clinton and the Enterprise, by mail and wire to the Federal Bureau of

Investigation in 2016 and 2017, did as herein noted and otherwise, make false statements under oath and

penalty of perjury, and destroy physical evidence related thereto, concerning espionage committed by

Hillary Clinton and numerous Enterprise surrogates, and did thereby obstruct justice as the United States

attempted (and attempts) to determine the Enterprise role in providing classified information stocks to

hostile foreign actors;

       692.    On July 20, 2015, Enterprise surrogate Sally Yates, then Deputy Attorney General,

improperly instructed the DOJ Inspector General that the DoJ National Security Division is not subject

to IG review – yet another example of corrupt actors within the Obama Department of Justice led by

Enterprise surrogate Lynch attempting to obstruct a criminal investigation of the Enterprise participants;

       693.    On October 3, 2015, the FBI seized the Enterprise Platte River Networks server as well

as the "Pagliano" server, which were used to host Clinton email services, but intentionally failed at the

instruction of McCabe to inspect them properly – thereby obstructing a criminal investigation;




                                                    183
            Case 1:18-cv-01422-PLF Document 1 Filed 06/15/18 Page 184 of 210




       694.    The Enterprise use of bribery, and its surrogates to destroy evidence and provide

obstruction, suppressed thousands of charges for violations of criminal law – each representing a

separate count for all responsible parties;

       695.    On or around March 5, 2017, perjuring himself in order to obstruct an ongoing criminal

investigation of Enterprise defendant Clinton Foundation, Obama DNI James Clapper stated that he

knew of no FISA warrant ever approved of Trump and his associates – when Clapper in fact knew that

such FISA warrant had been approved and renewed several times and covered within its scope

surreptitious surveillance (against numerous U.S. citizens) regarding past email traffic among Trump

campaign employees and volunteers;

       696.    Enterprise surrogate Clapper was also determined to have provided inconsistent

testimony with respect to unauthorized contacts with the media while in office in order to further

obstruct justice and criminal investigations regarding providing of classified information to one not

authorized to receive it, i.e., espionage – the unauthorized leaks by Clapper potentially endangered lives

and damaged national security, according to findings of the United States Congress;

       697.    On or about March 20, 2017, Enterprise surrogate Comey testified under oath that his

FBI secretly investigated Trump-Russia "collusion" starting in June of 2016 and hid that fact from

Congress;

       698.    On or about March 20, 2017, Obama DNI James Clapper denied any abuse of FISA to

conduct surveillance of Trump or his associates – a knowing falsehood intended to obstruct a criminal

inquiry;

       699.    On June 8, 2017, Enterprise surrogate Comey testified under oath and penalty of perjury

that he leaked classified records of a conversation with President Donald Trump in order to spur the




                                                   184
           Case 1:18-cv-01422-PLF Document 1 Filed 06/15/18 Page 185 of 210




naming of a special counsel – clearly obstructing the ongoing criminal investigation of the Clinton

Foundation;

       700.    Enterprise surrogate McCabe aggressively pursued criminal charges against Trump

Attorney General Jefferson Sessions and former National Security Advisor Michael Flynn, but

obstructed any DoJ attempt to pursue known perjury and related false statements charges against

Enterprise surrogates Clapper, Brennan, Comey, Mills, Abedin, and Enterprise principal Hillary Clinton;

       701.    On June 15, 2017, Obama DHS Secretary Jeh Johnson testified under oath before

Congress that the DNC refused to turn over its server as demanded so the United States Government

could investigate whether Seth Rich may have provided evidence of Enterprise malfeasance – including

that of the Clinton Foundation - to Wikileaks;

       702.    On January 12, 2018, the Uranium One Tenex bribery, Fraud and Money Laundering

scheme was finally fully revealed, as a result of nearly eight years of obstruction by Enterprise

surrogates Holder, Mueller and Rosenstein and concomitant illicit pressure on Assistant United States

Attorney (and former CIA Officer) David I. Salem – without question, these Enterprise surrogates

sought (and seek) to obstruct the ongoing criminal investigation of the Clinton Foundation, Hillary

Clinton, and William Clinton, and the illicit assistance they have received from George Soros and David

Brock, among numerous others named and unknown named;

       703.    As to the shocking obstruction of justice by the Obama FBI and DoJ to protect Hillary

Clinton and undermine Donald J. Trump, Sr., the DoJ Inspector General (appointed by Obama) found

that Enterprise FBI misconduct is instructive. Following Brennan’s lengthy attempt to undermine

Trump, the lead FBI counterintelligence officer working with the Enterprise against Trump and Byrne

engaged in the following text message exchanges with his paramour, Lisa Page, who also was the legal

counsel to FBI Deputy Director Andrew McCabe (who has been referred for prosecution);



                                                    185
            Case 1:18-cv-01422-PLF Document 1 Filed 06/15/18 Page 186 of 210




        704.    In these exchanges, the examples of bias are astonishing for two senior officials who had

just spiked the Clinton email espionage investigation and, along with Attorney General Loretta Lynch

and her Deputy, Sally Yates, had spiked the Clinton Foundation corruption investigation (thus

obstructing justice in myriad ways, including obstruction of a criminal investigation), while instigating

an official investigation against the Trump campaign (Crossfire Hurricane), Strzok notes that “we can’t

take the risk” of Trump being elected or retained in office, and further noted that the FBI needed to

undermine Trump as an “insurance policy” as a hedge against any possible Trump victory in the 2016

presidential contest. If that were not shocking enough, just one week earlier than the “insurance policy”

text exchange, the following exchange had occurred between Page and Strzok, key officers and lawyers

conducting the Clinton e-mail investigation, the Clinton Foundation Investigation, the misleading of the

FISC, the pre-election surveillance and HCS misuse regarding Trump and Byrne, and Operation

Crossfire Hurricane:

Page: “[Trump’s not ever going to become president, right? Right?! (August 9, 2016)

Strzok: No. No he won’t. We’ll stop it.” This is proof of FBI/Enterprise sedition, as Strzok had just

spiked the Clinton e-mail investigations and McCabe, Yates and Lynch (along with Strzok) had spiked

the Clinton Foundation investigation. This seditious exchange was 9 days after Operation Crossfire

Hurricane started and 6 days before the “insurance policy” text;

    9. Acts Indictable Relating to Obstruction of State Law Enforcement

        705.    Plaintiff repeats and re-alleges each and every allegation of the foregoing paragraphs as if

fully set forth herein;

        706.    With the assistance of Enterprise surrogate Elias, the Clinton presidential campaign and

the Brock entities, on behalf of the Enterprise, took kickbacks from State Democrat parties pursuant to




                                                    186
           Case 1:18-cv-01422-PLF Document 1 Filed 06/15/18 Page 187 of 210




the “rigging” of the Democratic Party primary in favor of Hillary Clinton and without regard to the legal

rights of United States Senator Bernie Sanders (D-VT);

       707.    Brock’s entities, working in conjunction with the 2016 Clinton campaign, bribed women

to claim, prior to the 2016 presidential contest, that these women had sexual relations with candidate

Donald J. Trump, Sr., in violation of, inter alia, certain nondisclosure agreements governed under

relevant State law and/or overseen by the relevant State court;

       708.    The Enterprise, working through the 2016 Clinton campaign and the Democratic National

Committee, used state chapters as strawmen to circumvent campaign donation limits and laundered the

money back to her campaign;

       709.    Further, the Hillary Victory Fund (“HVF”) solicited contributions from big-name donors,

e.g., Calvin Klein, that was sent through state Democrat chapters and back to the DNC before ending up

with the Clinton campaign;

       710.    Analysis of FEC reports show that the HVF either never transferred the money to state

chapters and back to the DNC, or did so without the state chapters having actual control;

       711.    Upon information and belief, $84 million was funneled illegally from the DNC through

state party chapters and back into the accounts of the Clinton campaign;

       712.    Based on publicly available FEC records, repeatedly throughout the 2016 presidential

campaign, HVF would purportedly transfer funds to its constituent political committees, which included

between 34 and 40 state parties … [o]n the very same day each of these transfers supposedly occurred,

or occasionally the very next day, every single one of those state parties purportedly contributed all of

those funds to the DNC.”;

       713.    Donna Brazile, Interim Chair of the DNC, has stated categorically how the laundering

and obstruction of state law enforcement was accomplished: “Individuals who had maxed out their



                                                    187
             Case 1:18-cv-01422-PLF Document 1 Filed 06/15/18 Page 188 of 210




$2,700 contribution limit to the campaign could write an additional check for $353,400 to the Hillary

Victory Fund—that figure represented $10,000 to each of the 32 states’ parties who were part of the

Victory Fund agreement—$320,000—and $33,400 to the DNC”. “The money would be deposited in the

states first, and transferred to the DNC shortly after that. Money in the battleground states usually stayed

in that state, but all the other states funneled that money directly to the DNC, which quickly transferred

the money to [Clinton campaign headquarters in] Brooklyn”;

        714.    On June 15, 2017, Obama DHS Secretary Jeh Johnson testified under oath before

Congress that the DNC refused to turn over its server as demanded so the United States Government

could investigate whether Seth Rich may have provided evidence of Enterprise malfeasance to

Wikileaks;

        715.    In the immediate aftermath of the March 2018 Parkland massacre, Media Matters bribed

a minor, David Hogg, with offer (and acceptance) of in excess of $5000 in cash – in response, Hogg

“repaid” Media Matters by slandering private U.S. citizens, and non-public figures, affiliated with the

longstanding nonprofit organization known as the National Rifle Association;

    10. Acts Indictable Relating to Tampering with a Victim, Witness or Informant

        716.    Plaintiff repeats and re-alleges each and every allegation of the foregoing paragraphs as if

fully set forth herein;

        717.    The Enterprise, and William and Hillary Clinton, John Podesta and David Brock in

particular, caused or induced persons, as part of their pattern of racketeering scheme, to withhold

testimony, or withhold records, documents, or other objects from an official proceeding, concealed

objects with intent to impair the integrity or availability of the object for use in an official proceeding,

evaded legal process summoning persons to appear as a witness, or to produce a record, document, or




                                                     188
            Case 1:18-cv-01422-PLF Document 1 Filed 06/15/18 Page 189 of 210




other object, in an official proceeding; or to be absent from an official proceeding to which those

persons have been summoned by legal process;

       718.    The Enterprise, and William and Hillary Clinton, John Podesta and David Brock in

particular, aided by Enterprise surrogates Strzok, McCabe and Comey, caused or induced persons, as

part of their pattern of racketeering scheme, to hinder delay, or prevent the communication to a law

enforcement officer or judge of the United States of information relating to the commission or possible

commission of a Federal offense;

       719.    The Enterprise, and William and Hillary Clinton, John Podesta and David Brock in

particular, aided by Enterprise surrogates Brennan and Clapper, caused or induced persons, as part of

their pattern of racketeering scheme, knowingly used intimidation, threats, or corruptly persuaded other

persons, or attempted to do so, or engaged in misleading conduct toward another person with intent to

influence, delay, or prevent the testimony of such persons in official proceedings;

       720.    The Enterprise, and William and Hillary Clinton, John Podesta and David Brock, and the

Enterprise surrogates set forth above, in particular, caused or induced persons, as part of their pattern of

racketeering scheme, to withhold testimony, or withhold a record, document, or other object, from an

official proceeding;

       721.    The Enterprise, and William and Hillary Clinton, John Podesta and David Brock in

particular, aided by Enterprise surrogate Cheryl Mills caused or induced persons, as part of their pattern

of racketeering scheme, to alter, destroy, mutilate, or conceal an object with intent to impair the object’s

integrity or availability for use in an official proceeding;

       722.    The Enterprise, and William and Hillary Clinton, John Podesta and David Brock in

particular, aided by Enterprise surrogates McCabe and Mills, caused or induced persons, as part of their

pattern of racketeering scheme, to evade legal process summoning that person to appear as a witness, or



                                                      189
              Case 1:18-cv-01422-PLF Document 1 Filed 06/15/18 Page 190 of 210




to produce a record, document, or other object, in an official proceeding, or be absent from an official

proceeding to which such person has been summoned by legal process;

           723.   It was never the sole intention of the Enterprise, their principals, participants or

surrogates, to encourage, induce, or cause other persons to testify truthfully, and their conduct at issue

did not consist solely of lawful conduct;

           724.   On or about November 18, 2016, Enterprise surrogate Clapper, among others, and for

reasons relating to NSA Director Rogers, a witness or informant who was attempting to protect his

President-elect by alerting Trump that he was being illegally surveilled in Trump Tower by the Obama

Intelligence Community, attempted to have Rogers removed as NSA Director;

           725.   Enterprise surrogates McCabe and Strzok, with the consent of Enterprise surrogate

Comey, allowed Enterprise surrogate Cheryl Mills – a putative target of the same criminal investigation

of Hillary Clinton with respect to espionage and destruction of evidence – to join an interview of

Enterprise principal Hillary Clinton for three hours and thus to glean the focus of the FBI and DoJ

inquiry and thereby to “tip off” numerous other witnesses and to avoid further criminal exposure for

herself;

    11. Acts Indictable Relating to the Laundering of Monetary Instruments

           726.   Plaintiff repeats and re-alleges each and every allegation of the foregoing paragraphs as if

fully set forth herein;

           727.   The Enterprise launders money through a series of nonprofit entities used for purely

partisan purposes, many of which are or were controlled and operated by David Brock and William and

Hillary Clinton;

           728.   Brock, the Clintons and the Enterprise participants knew that the money involved was the

proceeds from massive tax evasion and the filing of false tax returns for and by Brock entities and



                                                       190
            Case 1:18-cv-01422-PLF Document 1 Filed 06/15/18 Page 191 of 210




Clinton Foundation entities and the Enterprise for the past decade – from which the laundered money

was derived;

       729.    Much of the laundered money at issue was provided to the Enterprise participants and

surrogates by Enterprise participant George Soros, knowing of its laundered and purely partisan use;

       730.    The Enterprise, through Brock and William Clinton and their illicit entities, initiated or

concluded, or participated in initiating or concluding, numerous financial transactions – notably pledges,

gifts, transfers, deliveries, and other disposition of money for partisan purposes to the Enterprise and the

various campaign accounts of Hillary Clinton during 2015 and 2016;

       731.    Further, the Enterprise, working through the 2016 Clinton campaign and the Democratic

National Committee, used state chapters of the Democratic Party as “strawmen” to circumvent campaign

donation limits and laundered the money back to her campaign;

       732.    The Hillary Victory Fund (“HVF”) solicited contributions from big-name donors, e.g.,

Calvin Klein, that was sent through state chapters and back to the DNC before ending up with the

Clinton campaign;

       733.    Analysis of FEC reports show that the HVF either never transferred the money to state

chapters and back to the DNC, or did so without the state chapters having actual control of the proceeds;

       734.    $84 million was funneled illegally from the DNC through Democrat state party chapters

and back into the accounts of the Clinton campaign;

       735.    Based on publicly available FEC records, repeatedly throughout the 2016 presidential

campaign, HVF would purportedly transfer funds to its constituent political committees, which included

between 34 and 40 Democrat state parties … [o]n the very same day each of these transfers supposedly

occurred, or occasionally the very next day, every single one of those state parties purportedly

contributed all of those funds to the DNC.”;



                                                    191
           Case 1:18-cv-01422-PLF Document 1 Filed 06/15/18 Page 192 of 210




       736.    Donna Brazile, Interim Chair of the DNC, has stated categorically how the laundering

and obstruction of state law enforcement was accomplished: “Individuals who had maxed out their

$2,700 contribution limit to the campaign could write an additional check for $353,400 to the Hillary

Victory Fund—that figure represented $10,000 to each of the 32 states’ parties who were part of the

Victory Fund agreement—$320,000—and $33,400 to the DNC”. “The money would be deposited in the

states first, and transferred to the DNC shortly after that. Money in the battleground states usually stayed

in that state, but all the other states funneled that money directly to the DNC, which quickly transferred

the money to [Clinton campaign headquarters in] Brooklyn.”

       737.    The DNC concealed their hiring of Fusion GPS by listing – in required United States

Government disclosures - payments to their law firm, Perkins Coie LLP, as being for "legal services"

when they really went to false opposition research, thus engaging, in addition to additional counts of

obstruction in hide its connection to Fusion GPS while laundering proceeds for the purpose of

misleading federal judges – an illegitimate purpose which the Enterprise conspired to conceal;

       738.    The Enterprise laundering technique was also used to bribe DoJ senior official Bruce Ohr

by the payment of such proceeds to his Ohr’s wife, Nellie, who discreetly accepted such proceeds in

order to assist in assembling a false dossier knowing, along with the Enterprise, that such false dossier

would be used by the DoJ/FBI to mislead an Article III federal judge with respect to illegal

surreptitious surveillance of U.S. citizens affiliated with a political campaign opposing Hillary Clinton

(and the Enterprise);

       739.    Inferentially, a similar Enterprise laundering technique was utilized by the Clinton

Foundation and CGI, and directed by William Clinton, with respect to the bribery and sedition of

Secretary of State Hillary Clinton;




                                                    192
            Case 1:18-cv-01422-PLF Document 1 Filed 06/15/18 Page 193 of 210




        740.    The financial transactions described above, by their very nature, affect interstate or

foreign commerce and involve the movement of funds by wire or other means, involve the use of a

monetary instrument, or involve the use of a financial institution which is engaged in, or the activities of

which affect, interstate or foreign commerce;

        741.    The Enterprise, by and through the Brock and Clinton illicit entities, acted with the intent

to promote the carrying on of the unlawful activity specified herein, and the intent to engage in tax

evasion or tax fraud;

        742.    As noted herein, and consistent with Enterprise money laundering methods, on January

12, 2018, the Uranium One Tenex bribery, Fraud and Money Laundering scheme was finally fully

revealed, as a result of nearly eight years of obstruction by Enterprise surrogates Holder, Mueller and

Rosenstein and concomitant illicit pressure on Assistant United States Attorney (and former CIA

Officer) David I. Salem;

        743.    In addition to the criminal penalties involved, Brock, the Clintons and the Enterprise are

liable to the United States Government for all illicit proceeds, which upon information and belief

amount to no less (and plausibly far more) than $5,000,000,000.00 (five billion dollars);

    12. Acts Indictable Relating to Engaging in Monetary Transactions in Property

        744.    Plaintiff repeats and re-alleges each and every allegation of the foregoing paragraphs as if

fully set forth herein;

        745.    With relation to the immediately preceding paragraph, the Enterprise, through the Brock

and Clinton entities, knowingly conducted monetary transactions in criminally derived property in an

amount [far] greater than $10,000, and these were in fact proceeds of a series of specified unlawful

activities relating to violation of the United States tax code;




                                                     193
            Case 1:18-cv-01422-PLF Document 1 Filed 06/15/18 Page 194 of 210




        746.    As described herein, the Enterprise monetary transactions involved deposits, withdrawals,

transfers or exchanges, in or affecting interstate commerce, of funds or a monetary instrument . . . by,

through, or to a financial institution;

        747.    There is no intent requirement for this form of money laundering – only a $10,000

monetary threshold – despite the fact that this form of money laundering carries a penalty of ten years in

prison and, importantly, fines of twice the value of the illegal transactions, which upon information and

belief are believed to be no less than $2,000,000,000 (two billion dollars);

    13. Acts Indictable Relating to Use of Interstate Commerce Facilities in the Commission of
        Murder for Hire

        748.    Plaintiff repeats and re-alleges each and every allegation of the foregoing paragraphs as if

fully set forth herein;

        749.    The Enterprise and its participants caused, upon information and belief, others (including

their intended victims) to travel in interstate commerce, or used or caused another (including their

intended victims) to use the mail or any facility of interstate commerce, with intent that a murder be

committed in violation of the laws of any State or the United States as consideration for the receipt of, or

as consideration for a promise or agreement to pay anything of pecuniary value, and conspired with

others (including Enterprise surrogates and participants) to do so;

        750.    Any use of the mails, including intrastate mailings, will furnish Federal jurisdiction over

the Enterprise, as will a single interstate telephone call or email message or its equivalent;

        751.    As noted by DNC Chairperson Donna Brazile, it is well known that the Clintons and their

Enterprise have caused to be murdered “those who have crossed them”;

        752.    Computer forensics from July 5, 2016 indicate that DNC emails implicating the

Enterprise were copied by an insider via USB and not hacked via external actors; DNC professional staff

member Seth Rich was murdered five days later on July 10, 2016 – whether Rich was involved in the

                                                     194
              Case 1:18-cv-01422-PLF Document 1 Filed 06/15/18 Page 195 of 210




hack or not, he was plausible targeted by the Enterprise due to his disclosures to family, friends and

colleagues;

       753.     In late July of 2016, the FBI announced it would investigate the DNC emails revealed by

Wikileaks, and that Enterprise surrogate Peter Strzok would lead the investigation;

       754.     The DNC refused to comply with Obama administration demands to examine the

“hacked” servers, and Enterprise surrogate Strzok failed to investigate the “crime scene” despite his

ability to obtain compulsory process to do so – thereby inferring that Strzok had no intention of

“crossing” the Enterprise or the Clintons and conducting any investigation of the “hack” or any relation

to the murder of Seth Rich;

       755.     On or around August 15, 2016, FBI investigator and Enterprise surrogate Strzok texted

his paramour, FBI senior lawyer and Enterprise surrogate Lisa Page, about needing an "insurance

policy" against a Trump presidency – it is plausible that the Enterprise planned to further undermine one

or more individuals (including plaintiff Gary Byrne) in order to “insure” that Donald J. Trump would

not become or remain as the nation’s 45th President;

       756.     On June 15, 2017, Obama DHS Secretary Jeh Johnson testified under oath before

Congress that the DNC refused to turn over its server as demanded so the United States Government

could never investigate whether Seth Rich may have provided evidence of Enterprise malfeasance to

Wikileaks;

       757.     Brazile’s recounting of the Clinton Enterprise continuous pattern of murder-for-hire, and

proof thereof, could require that one or more members of the Enterprise, their surrogates, and their

lawyers be subjected to the penalty of death;

VI.    CAUSES OF ACTION

                                     FIRST CAUSE OF ACTION


                                                   195
            Case 1:18-cv-01422-PLF Document 1 Filed 06/15/18 Page 196 of 210




Acquisition and Maintenance of an Interest in and Control of an Enterprise Engaged in a Pattern
                   of Racketeering Activity: 18 U.S.C. §§1961(5), (1962)(b)


        758.    Plaintiff repeats and re-alleges each and every allegation of the foregoing paragraphs as if

fully set forth herein;

        759.    During the ten calendar years preceding June 15, 2018, all Defendants did cooperate

jointly and severally in the commission of two or more of the RICO predicate acts that are itemized in

the RICO statute codified at 18 U.S.C. §§ 1961(1)(A) and (B), and did so in violation of the RICO law

at 18 U.S.C. § 1962(b) (prohibited activities);

        760.    Non-sovereign Defendants are each “persons” within the meaning of the Racketeer

Influenced and Corrupt Organizations Act;

        761.    Defendants operate as an “enterprise” within the meaning of RICO, the activities of

which effect interstate and foreign commerce;

        762.    Defendants, by virtue of the predicate acts described in this Complaint, including but not

limited to: laundering of monetary instruments, engaging in monetary transactions improperly derived

from unlawful activity, transferring, receiving, furthering, and suppling financing and income that was

derived, both directly and indirectly, from a pattern of racketeering activity in which each of them

participated as a principal and used and invested, both directly and indirectly, such income and the

proceeds of such income, in establishing, operating and furthering terrorist and other illegal enterprises

in violation of 18 U.S.C. § 1962(a);.

        763.    As a direct and proximate result of Defendant’s violation of 18 U.S.C. § 1962(a), Plaintiff

suffered the loss of valuable property, financial services and support, and suffered other business and

pecuniary damages;

        764.    Plaintiff further allege that all Defendants did commit two or more of the offenses

itemized above in a manner which they calculated and premeditated intentionally to threaten continuity,

                                                    196
            Case 1:18-cv-01422-PLF Document 1 Filed 06/15/18 Page 197 of 210




i.e., a continuing threat of their respective racketeering activities, also in violation of the RICO law at 18

U.S.C. § 1962(b);

       765.    18 U.S.C. § 1964(c) defines “racketeering activity” as (A) “any act or threat involving

murder, kidnapping, gambling, arson, robbery, bribery, extortion, dealing in obscene matter, or dealing

in a controlled substance or listed chemical […], which is chargeable under State law and punishable by

imprisonment for more than one year; (B) any act which is indictable under any of the following

provisions of title 18, United States Code: Section 201 (relating to bribery), sections 471, 471 and 473

(relating to counterfeiting), section 659 (relating to theft from interstate shipment) if the act indictable

under section 659 is felonious, section 664 (relating to embezzlement from pension and welfare funds),

sections 891-894 (relating to extortionate credit transactions), section 1028 (relating to fraud and related

activity in connection with access devices), section 1084 (relating to the transmission of gambling

information), section 1341 (relating to mail fraud), section 1343 (relating to wire fraud), section 1344

(relating to financial institution fraud), section 1425 (relating to the procurement of citizenship or

naturalization unlawfully), section 1426 (relating to the reproduction of naturalization or citizenship

papers), section 1427 (relating to the sale of naturalization or citizenship papers), section 1503 (relating

to obstruction of justice), section 1510 (relating to obstruction of criminal investigations), section 1511

(relating to the obstruction of State or local law enforcement), section 1512 (relating to tampering with a

witness, victim, or an informant), section 1513 (relating to retaliating against a witness, victim, or an

informant), section1546 (relating to fraud and misuse of visas, permits, and other documents), sections

1581-1592 (relating to peonage, slavery, and trafficking in persons), section 1951 (relating to

interference with commerce, robbery, or extortion), section 1952 (relating to racketeering), section 1956

(relating to the laundering of monetary instruments), section 1957 (relating to engaging in monetary

transactions in property derived from specified unlawful activity), section 1958 (relating to use of



                                                     197
            Case 1:18-cv-01422-PLF Document 1 Filed 06/15/18 Page 198 of 210




interstate commerce facilities in the commission of murder-for-hire), sections 2251, 2251A, 2252, and

2260 (relating to sexual exploitation of children), sections 2314 and 2315 (relating to interstate

transportation of stolen property), section 831 (relating to nuclear materials); or any act which is

indictable under the Immigration and Nationality Act, section 274 (relating to bringing in and harboring

certain aliens), section 277 (relating to aiding or assisting certain aliens to enter the United States), or

section 278 (relating to importation of alien for immoral purpose) if the act indictable under such section

of such Act was committed for the purpose of financial gain;

        766.    Plaintiff demand that judgment be entered against Defendants for no less than

$3,000,000,000, jointly and severally, including an award of trebled damages as consistent with 18

U.S.C. § 1964(c), compensatory and actual damages, reasonable attorneys’ fees, pre-judgment interest,

post-interest costs, and an award that this Court deems just and proper.

                                  SECOND CAUSE OF ACTION
    Conduct and Participation in a RICO Enterprise through a Pattern of Racketeering Activity:
                                   18 U.S.C. §§ 1961(5), 1962(c)

        767.    Plaintiff repeats and re-alleges each and every allegation of the foregoing paragraphs as if

fully set forth herein, and specifically repeat and re-allege the allegations under the First Cause of

Action concerning RICO liability;

        768.    All defendants did associate with a RICO enterprise of individuals who were associated

in fact and who engaged in, and whose activities did affect, interstate and foreign commerce;

        769.    All Defendants did conduct and/or participate, either directly or indirectly, in the conduct

of the affairs of said RICO enterprise through a pattern of racketeering activity, all in violation of 18

U.S.C. §§ 1961(4), (5), (9), and 1962(c);




                                                      198
            Case 1:18-cv-01422-PLF Document 1 Filed 06/15/18 Page 199 of 210




       770.    During the ten calendar years preceding June 15, 2018, all Defendants did cooperate

jointly and severally in the commission of two or more of the RICO predicate acts set forth in the RICO

laws at 18 U.S.C. §§ 1961(1)(A) and (B), and did so in violation of the RICO law at 18 U.S.C. §1962(c);

       771.    Plaintiff further allege that all Defendants did commit two or more of the offenses set

forth above in a manner which they calculated and premeditated intentionally to threaten continuity, i.e.

a continuing threat of their respective racketeering activities, also in violation of the RICO law at 18

U.S.C. § 1962(c);

       772.    Plaintiff demand that judgment be entered against Defendants for no less than

$3,000,000,000, jointly and severally, including an award of trebled damages as consistent with 18

U.S.C. § 1964(c), compensatory and actual damages, reasonable attorneys’ fees, pre-judgment interest,

post-interest costs, and an award that this Court deems just and proper.

                                 THIRD CAUSE OF ACTION
    Conspiracy to Engage in a Pattern of Racketeering Activity: 18 U.S.C. §§ 1961(5), 1962(d)


       773.    Plaintiff repeats and re-alleges each and every allegation of the foregoing paragraphs as if

fully set forth herein, and specifically repeat and re-allege the allegations under the First Cause of

Action concerning RICO liability.

       774.    All defendants conspired to acquire and maintain an interest in a RICO enterprise

engaged in a pattern of racketeering activity, in violation of 18 U.S.C. §§ 1962(b) and (d).

       775.    During the ten calendar years preceding _______ ____, 2018, all Defendants did

cooperate jointly and severally in the commission of two or more of the predicate acts that are set forth

at 18 U.S.C. §§ 1961(1)(A) and (B), in violation of 18 U.S.C. § 1962(d).

       776.    Plaintiff further alleges that all Defendants did commit two or more of the offenses

itemized above in a manner which they calculated and premeditated intentionally to threaten continuity,



                                                     199
              Case 1:18-cv-01422-PLF Document 1 Filed 06/15/18 Page 200 of 210




i.e., a continuing threat of their respective racketeering activities, also in violation of 18 U.S.C. §

1962(d).

        777.    Plaintiff demand that judgment be entered against Defendants for no less than

$3,000,000,000, jointly and severally, including an award of trebled damages as consistent with 18

U.S.C. § 1964(c), compensatory and actual damages, reasonable attorneys’ fees, pre-judgment interest,

post-interest costs, and an award that this Court deems just and proper.

                                  FOURTH CAUSE OF ACTION
                          (Pendant Defamation Claim Under Arkansas Law)


        778.    Plaintiff repeats and re-alleges each and every allegation of the foregoing paragraphs as if

fully set forth herein;

        779.    Plaintiff, and in particular Officer Gary Byrne, were defamed by all defendants under

Arkansas Code, Title 16, Subtitle 5, Chapter 63, Subchapter 2, §16-63-207 – Libel and Slander;

        780.    ARKANSAS CODE §16-63-207(a)(1) (2012) states: “In an action for libel or slander, it

shall not be necessary to state in the complaint any extrinsic facts for the purpose of showing the

application to the plaintiff of the defamatory matter out of which the cause of action arose. It shall be

sufficient to state generally that the defamatory matter was published or spoken concerning the

plaintiff.”

        781.    In Arkansas, the ostensible “home” of the Enterprise wrongdoing, legal precedent

requires only that “a substantial and respectable minority” of the plaintiff’s community would consider

the Enterprise slurs to be defamatory; the so-called “majority sentiment”, a far higher standard, cannot

be considered by either the Arkansas judge or jury;




                                                      200
            Case 1:18-cv-01422-PLF Document 1 Filed 06/15/18 Page 201 of 210




       782.    Byrne was defamed when accused by Correct the Record, on behalf of the Enterprise, of

the commission of a crime (lying under oath before the Starr Grand Jury) – this defamation was repeated

each day since publication as set forth in Exhibit _____;

       783.    Byrne suffered extraordinary reputational injury and, as noted throughout this complaint,

devastating monetary damage to his business as an author and commentator;

       784.    Byrne is not a “public figure”, in any sense of that term of art;

       785.    Printed publications, images and online states, e.g., “Correct the Record FROM THE

DESK OF DAVID BROCK”, all may constitute libel in Arkansas – even if they were repeated millions

of times on social media, weblog commentary, and related defamatory missives;

       786.    Slander, which occurred repeatedly in this case, is spoken or transitory defamation; Byrne

and Crisis were slandered repeatedly by Gilhooly and Wackrow on CNN;

       787.    In several separate appearances on CNN, Gilhooly and Wackrow both provided wholly

and intentionally false renditions, set forth as fact, of Byrne’s job responsibilities and access to President

and Hillary Clinton, in an attempt to discredit Byrne’s observations set forth in Crisis;

       788.    All defendants, individually and collectively, attempted to destroy the reputation and

business of Byrne and other Plaintiff with false statements in writing and on television.

       789.    Hillary Clinton and David Brock ordered that Byrne be defamed and destroyed, because

Plaintiff told the truth about Hillary Clinton in Crisis, and because Crisis became an immediate

bestseller on the New York Times list for nonfiction;

       790.    The Enterprise used the same corrupt intimidation tactics, including surveillance and

illegal leaks, against Byrne that they are now using against President Donald J. Trump;

       791.    As a result of defendant’s defamation, Plaintiff is entitled to $50.5 million in damages;




                                                     201
            Case 1:18-cv-01422-PLF Document 1 Filed 06/15/18 Page 202 of 210




       792.    Plaintiff will prevail as a matter of law, as the Defendant’s libel and slander was entirely

and intentionally false and made with the purpose of damaging Plaintiff, who must be awarded treble

damages of $151.5 million, jointly and severally;

VII.   CONCLUSION

       793.    In anticipation of filing this complaint, it is imperative to point out that several Enterprise

schemes involving numerous criminal acts, and what appears to be a significant “cover up” within the

holdover (legacy) FBI and DoJ, have only recently come to light and continue to be exposed – discovery

in this case will inevitably include significant additional inculpatory evidence concerning the Enterprise

operational schemes at issue in this lawsuit;

       794.    It is clear that these Enterprise participants, including but not limited to its surrogates and

collaborators, have misled their Article III counterparts, i.e., whatever federal judge was/is assigned to

the relevant FISA matter;

       795.    Abuse of the FISC process is not only illegal and a threat to our structural constitutional

form of government under which FISA operates, it is a direct affront (and a slap in the face) to the Chief

Judge of this honorable district court, the Chief Judge of the FISC, and the Chief Justice of the United

States Supreme Court who appoints the life-tenured judges who “dual hat” as FISA/FISC judges;

       796.    The Department of Justice has now allowed all members (and/or designees) of the House

and Senate Intelligence Committees to review significant material with direct relation to the issues in

this lawsuit - this will represent an opportunity for this Court (in determining the (non)credibility of the

Enterprise defendants and surrogates and drawing appropriate inferences of corrupt Enterprise intent) to

be shown the Enterprise scheme to illegally undertake a fraud on the FISC in pursuit of their

surreptitious surveillance of Trump campaign officials based upon a standard far lower than that set

forth in the Fourth Amendment to our Constitution;



                                                     202
             Case 1:18-cv-01422-PLF Document 1 Filed 06/15/18 Page 203 of 210




        797.    The Enterprise malfeasance, including, inter alia, misleading the Article III FISA

judge(s) in an attempt to win an election and using FISA as a tool to damage the lives, businesses and

employment of political enemies, also destroys the delicate balance forged in 1978 between the

Executive (who ceded power) and the Legislative (which on balance gained oversight authority) – but

that thoughtful structure is now at grave risk;

        798.    And it is certainly not lost on this court that what the Enterprise has done – both to Gary

Byrne and to another private citizen who now is our President – is the utilization of FISA (and abuse of

the trust inherent in the delicate balance therein) and other counterintelligence authorities such as human

confidential sources to defeat a political opponent - in the fashion intended to be utilized to defeat, inter

alia, international terrorists;

        799.    In a deep departure from United States law and our constitutional norms, the Obama

Justice Department (as set forth herein), misled at least one Article III federal judge (sitting as a FISA

judge(s)) in seeking a surveillance order, or “warrant”, for surveilling a United States citizen, that they

were presumptively relying upon a fake dossier (based upon knowing disinformation provided by the

Russian SVR and financed by the DNC and Hillary Clinton campaign for President - knowingly relying

upon said Russian SVR disinformation and compiled by a foreign person, Steele, who concedes openly

that he sought to defeat Donald J. Trump and elect Hillary Clinton as the 45th president;

        800.    Enterprise principals and surrogates lied to the FBI and obstructed justice in order to

illegally mislead Article III federal judges into approving a FISA warrant to surreptitiously surveil

United States citizens;

        801.    The FBI used robust counterintelligence techniques without adequate cause against a

political candidate they disfavored, and against those like Plaintiff they feared would harm their favored

candidate;



                                                     203
            Case 1:18-cv-01422-PLF Document 1 Filed 06/15/18 Page 204 of 210




       802.    Several months after Steele signed a contract with Fusion GPS to create a dossier on

private citizen Donald John Trump, Sr., Steele discovered his research was being subsidized by the

Hillary Clinton for President campaign and the Democratic National Committee; despite this conceded

knowledge and Steele’s admission that he wanted to see Trump defeated, the DoJ/FBI FISA warrant

application said Steele didn't know who was funding him;

       803.    The abuse of the FISC is the worst violation of the FISA statute in its history, and

together with the use of other counterintelligence authorities to run HCSs and lures against political

opponents constitutes yet another form of Enterprise sedition in attempting to misuse the FISC and

counterintelligence process to undermine a duly certified and inaugurated president – at the very least,

any FISC judge, had they granted the application and then subsequently learned (as the DoJ was

responsible to inform them) that the information was sourced (notwithstanding that it was financed) to

the DNC and the Clinton Campaign, would have rescinded the authorization and issued a show-cause

order to the Government to explain who and why this sourcing was not made known to the court;

       804.    The FISC and this court were not properly informed of the counterintelligence abuse;

       805.    The fact that the Justice Department told the FISC that it was a political source, but did

not identify who, in this particular instance, is highly probative that the Government purposely misled

the court – which is also facing scrutiny due to the friendship with FBI Enterprise surrogate Strzok and

failure to recuse by a FISC judge;

       806.    By and in relation to every crime and predicate act herein, directly in support of the

predicate thereof, tens of thousands of text messages between FBI colleague Strzok and Page

constituting wire fraud have established (those released thus far) and will further establish (those

withheld thus far) the Enterprise wrongdoing from the highest levels of the FBI and DoJ




                                                    204
             Case 1:18-cv-01422-PLF Document 1 Filed 06/15/18 Page 205 of 210




       807.    On or around the time of the filing of this complaint, the Department of Justice Inspector

General will issue one of several ongoing reports relevant to this RICO matter, in addition to the

testimony that Strzok and Page will be required to provide about their discussions that were not captured

in the tens of thousands of probative text message exchanges – in short, there is much more to come

establishing the depth and breadth of the Enterprise, and more specific dates, names and clear intentions

of preventing an electoral outcome and, failing that, removing a duly-certified President and

undermining their own government;

       808.    The DoJ Inspector General has within its possession and upon the issuance of its report

addressing the Strzok-Page wrongdoing (and the Hillary Clinton e-mail espionage), will release

evidence further proving the Enterprise wrongdoing set forth herein;

       809.    Although espionage, bribery and sedition (among many others) may be inherent in

Secretary Clinton’s acts on behalf of the Enterprise, the use of the DoJ, FBI, NSA (who must run,

maintain, and otherwise “weaponize” the electronic surveillance), the wrongdoing committed by the

Enterprise and its surrogates and collaborators in this case is immeasurable in its danger and simply

without comparison in the annals of counterintelligence abuse to destroy political enemies – pre- or

post-FISA;

       810.    By way of recent example, defendant John Podesta, working with the Enterprise and the

Center for American Progress (a nonprofit partisan entity he founded), is engaged in an intentional

disinformation campaign meant to discredit current investigators in Congress and further undermine the

U.S. government using taxpayer funds – primarily through a wholly partisan CAP undertaking known as

the “Moscow Project”;




                                                   205
           Case 1:18-cv-01422-PLF Document 1 Filed 06/15/18 Page 206 of 210




       811.    The “Moscow Project,” in turn, coordinates its work with Enterprise surrogate Jones and

the group of mega-funders led by defendant Soros, who have engaged Enterprise surrogate Fusion GPS

to further undermine the U.S. Government;

       812.    The Center for American Progress, as noted a wholly partisan “non-profit organization”

founded by former White House Chief of Staff John Podesta, has for over five years been lobbying

(without registering such lobbying under FARA) on behalf of foreign governments;

       813.    In addition to espionage and sedition, the Enterprise utilized prototypical crime syndicate

tactics such as attempting to tamper with the “Special Counsel” investigation of Enterprise surrogate

Robert S. Mueller;

       814.    On Enterprise instructions, Enterprise surrogates Strzok and Page have also destroyed the

capability of certain DoJ/FBI hard drives containing inculpatory evidence against the Enterprise;

       815.    Without the knowledge of their current Director, the FBI on behalf of the Enterprise

provided materially false statements to the Senate Judiciary Committee, based in turn upon illegal false

statements provided to the FBI by Steele which the FBI knew to be false – and the referral of Steele for

prosecution (corroborating the allegations of the HPSCI concerning what is described herein as

Enterprise wrongdoing) further implicates the FBI as Steele’s handler (knowing of his HFA funding);

       816.    In a statement provided on January 23, 2018, by United States Senator Ronald Johnson

(R-WI), the Chairman of the Senate Homeland Security and Government Affairs Committee, Senator

Johnson revealed that Enterprise surrogates Strzok and Page conspired routinely directly after the 2016

election with a group of Clinton/Enterprise loyalists within the DoJ/FBI to undermine the Trump

presidency, and were planning yet another cover-up of their criminal activity involving inculpatory text

messages between them – joining the principals of the Enterprise set forth in Exhibit “A” hereto with the

DoJ/FBI participants affiliated with the Ohr Enterprise surrogates, Fusion GPS, and numerous named



                                                   206
             Case 1:18-cv-01422-PLF Document 1 Filed 06/15/18 Page 207 of 210




unknowns who have - if the accusation by Senator Johnson is confirmed following (yet another)

investigation - chosen to undermine their own government and expose themselves to continuing criminal

liability in conjunction with the Enterprise;

          817.   The Chairman of the United States House Permanent Subcommittee on Intelligence

(“HPSCI”), after conducting a lengthy investigation of Hillary Clinton/Enterprise tactics, stated that

““We have a clear [Clinton] link to Russia — you have a campaign who hired a law firm, who hired

Fusion GPS, who hired a foreign agent, who then got information from the Russians on the other

campaign” …“…. the counterintelligence investigation should have been opened up against the Hillary

[Clinton] campaign when they got ahold of the dossier. But that didn't happen, either”;

          818.   The Chairman of HPSCI, Devin Nunes (R-CA), also is on record as concluding the

massive FISA and other (HCS) counterintelligence abuse of the responsible Enterprise actors noted

herein;

          819.   As Congress and the Executive Branch continues to expose Enterprise crimes, Members

of the HPSCI and the Senate Committee on the Judiciary have also uncovered the 2016 involvement of

the Obama Department of State in assisting the Enterprise in attempting to swing the election for Hillary

Clinton – according to these Members, Enterprise surrogates Sidney Blumenthal, Cody Shearer and

State Department official Jonathan Winer engaged in analogous Enterprise tactics in assembling yet

another anti-Trump “dossier” using Fusion GPS to “[pay] Steele to put together the dossier and

[instructing] him what to [include]”;

          820.   Brennan, Clapper and other Enterprise surrogates must also answer under oath – during

the pendency of this litigation and before a putative Grand Jury – concerning, inter alia, their role in the

inexcusable collusion with Hannigan, investigatory abuse prior to and after Operation Crossfire




                                                    207
            Case 1:18-cv-01422-PLF Document 1 Filed 06/15/18 Page 208 of 210




Hurricane, FISA abuse, and HCS abuse while they attempted to deliver the presidency to Hillary

Clinton;

       821.    On March 29, 2018, the Attorney General of the United States announced he had

assigned the Department of Justice Inspector General to “investigate alleged violations of criminal and

civil laws by Department [of Justice] employees, including actions taken by former employees after they

have left government service – that role of the DoJ IG has grown exponentially and has resulted in

criminal referrals of several of the most senior DoJ/FBI officials for prosecution;

       822.    As part of the March 29th announcement by the Attorney General of the United States,

Attorney General Sessions emphasized that he has assigned the United States Attorney for the District of

Utah, John Huber (originally commissioned by the Obama administration but renominated by President

Trump in 2017 for an additional four-year term) to both investigate (concomitant and consistent with,

inter alia, the DoJ IG and Congress) wrongdoing by those actions undertaken by the Enterprise and

described herein, and the DoJ IG will, if/when the IG “finds evidence of criminal wrongdoing, [the DoJ

IG] may refer that criminal malfeasance to Huber (or another United States attorney) who can then

convene a Grand Jury or take other appropriate actions”;

       823.    Because the findings of current and numerous parallel investigations, including but not

limited to the ongoing matter with relation to United States Attorney Huber and the DoJ IG, it is

anticipated that another significant trove of evidence will be available in the near future for

consolidation into and use during this lawsuit;

       824.    It is also anticipated that, if significant wrongdoing with respect to the Obama Justice

Department and FBI is uncovered, it will be referred for prosecution and either a(nother) Special

Counsel will be appointed or another United States Attorney assigned with broad scope (including




                                                    208
            Case 1:18-cv-01422-PLF Document 1 Filed 06/15/18 Page 209 of 210




“investigating of the (Mueller) investigators” – thereby providing additional evidence for the instant

cause of action;

       825.    It is not only plausible but conclusive that the defamatory attacks against Plaintiff Gary

Byrne were inextricably intertwined with the counterintelligence abuses brought to bear against those

who were considered “enemies” of the Enterprise;

       826.    What began as an Enterprise operational scheme to place a second Clinton in the Oval

Office has now been discovered to be – based not only upon information and belief but informants’

testimony to Congress and the Department of Justice – the destruction of Enterprise “enemy” Gary

Byrne and a constitutional crisis created by Enterprise surrogates among high-level Obama

administration FBI and DoJ officials;

       827.    It is incumbent upon this (and any other) Article III court to end the Enterprise

operational scheme that has destroyed any professional prospects for Officer Gary Byrne and, working

together, carried out their operational scheme in secret to destabilize the United States Government and

the 45th President of the United States – even going so far as to instruct Strzok to initiate within the FBI

“an investigation leading to impeachment” just prior to Strzok being placed in the upper echelon of the

Mueller Special Counsel team – despite Strzok’s admission that the Mueller Special Counsel

investigation involved pursuing a sitting President and numerous other United States citizens when

nothing of particular consequence is at issue, i.e., “no big there” (May 19, 2017 text message from

Strzok to Page);

       828.    The Enterprise was, and is, a dangerous organized criminal association – threatening both

our nation and those individuals who, in the words of Donna Lease Brazile, dare to “cross them”;

       829.    To Plaintiff Officer Gary Byrne, who apparently has “crossed” the Clintons and their

affiliated Enterprise, life is quite perilous and precarious – we ask this honorable court to intervene and



                                                    209
            Case 1:18-cv-01422-PLF Document 1 Filed 06/15/18 Page 210 of 210




provide the ability, even if the jury does not return all that is asked, to prevent the Enterprise, as they are

wont, from murdering Officer Byrne and his family.




Plaintiff demands trial by jury on all claims and issues so triable.



DATED: June xx, 2018                                   /s/ Mark R. Heilbrun_
                                                       MARK R. HEILBRUN
                                                       Counsel of Record
                                                       (D.C. Bar No. 434681)
                                                       Reagan International Trade Center
                                                       1300 Pennsylvania Avenue, N.W.
                                                       Suite 190, #414
                                                       Washington, D.C. 20004
                                                       (202) 577-9178
                                                       mh@harlanbradleyllp.com

                                                       Counsel for Plaintiff




                                                      210
